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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF NEBRASKA

                                                                             )
In re:                                                                       ) Chapter 11
                                                                             )
SPECIALTY RETAIL SHOPS HOLDING CORP., et al., 1                              ) Case No. 19-80064-TLS
                                                                             )
                             Debtors.                                        ) (Jointly Administered)
                                                                             )

                       MONTHLY FEE STATEMENT OF
      KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS INTERNATIONAL LLP
               FOR ALLOWANCE OF AN ADMINISTRATIVE CLAIM
                FOR COMPENSATION AND REIMBURSEMENT OF
     EXPENSES INCURRED FROM JANUARY 16, 2019 THROUGH JANUARY 31, 2019

 Name of Applicant:                                     Kirkland & Ellis LLP and
                                                        Kirkland & Ellis International LLP

 Authorized to provide                                  Specialty Retail Shops Holding Corp., et al.
 professional services to:                              Debtors and Debtors in Possession

                                                        January 25, 2019, nunc pro tunc to January 16, 2019
 Date of retention order:
                                                        [Docket No. 176]

 Period for which compensation
                                                        January 16, 2019 Through January 31, 2019
 and reimbursement are sought:

 Compensation sought as
                                                        $1,263,553.60 (80% of $1,579,442.00)
 actual, reasonable, and necessary:

 Expense reimbursement sought as
                                                        $11,637.89
 actual, reasonable, and necessary:

 Type of fee statement or application:                  Monthly Fee Statement 2

 1
         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
         number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida
         Transportation, LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526); Retained
         R/E SPE, LLC (6679); Shopko Finance, LLC (1152); Shopko Gift Card Co., LLC (2161); ShopKo Holding
         Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical Manufacturing,
         LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS Trucking, LLC
         (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin 54304.

 2
         Notice of this Monthly Fee Statement shall be served in accordance with the Interim Compensation Order
         (as defined herein) and objections to payment of the amounts described in this Monthly Fee Statement shall be
         addressed in accordance with the Interim Compensation Order.



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       Pursuant to sections 327, 330, and 331 of title 11 of the United States Code,

(the “Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), the Order Granting Application to Employ Patrick J. Nash, Jr. and

Kirkland & Ellis, LLP as Counsel to Debtors Filed by Debtor Specialty Retail Shops Holding

Corp. entered January 25, 2019 [Docket No. 176] (the “Retention Order”), the Order

(I) Establishing Procedures for Interim Compensation and Reimbursement of Expenses for

Retained Professionals, and (II) Granting Related Relief, dated February 21, 2019

[Docket No. 473] (the “Interim Compensation Order”), and the Nebraska Rules of Bankruptcy

Procedure of the United States Bankruptcy Court for the District of Nebraska (the “Local

Rules”), the law firm of Kirkland & Ellis LLP and Kirkland & Ellis International LLP

(“Kirkland”), counsel for Specialty Retail Shops Holding Corp. and its affiliates, as debtors and

debtors in possession (collectively, the “Debtors”), hereby submits this monthly fee statement

(the “Monthly Fee Statement”) for the allowance of compensation for the reasonable and

necessary legal services rendered by Kirkland for the period from January 16, 2019 through

January 31, 2019 (the “Fee Period”) and reimbursement of the actual and necessary expenses

that Kirkland incurred during the Fee Period. By this Monthly Fee Statement, Kirkland seeks

allowance of compensation for services rendered in the amount of $1,579,442.00 and payment in

the amount of $1,263,553.60 (which equals 80% of the compensation sought herein). Kirkland

also seeks allowance and reimbursement of actual and necessary expenses in the amount of

$11,637.89.

               Itemization of Services Rendered and Disbursements Incurred

       1.     In support of this Monthly Fee Statement, Kirkland has attached the following:

       •      Exhibit A is a summary of the number of hours expended and fees
              incurred (on an aggregate basis) by Kirkland partners, of counsel,
              associates, and paraprofessionals during the Fee Period with respect to
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                   each of the subject matter categories that Kirkland established in
                   accordance with its internal billing procedures. Kirkland incurred
                   $1,579,442.00 in fees during the Fee Period. Pursuant to this Monthly Fee
                   Statement, Kirkland seeks reimbursement for 80% of such fees
                   ($1,263,553.60 in the aggregate).

          •        Exhibit B is a summary providing certain information regarding the
                   Kirkland attorneys and paraprofessionals for whose work on these
                   chapter 11 cases compensation is sought in this Monthly Fee Statement.
                   Kirkland’s attorneys and paraprofessionals expended a total of 1,880 hours
                   in connection with these chapter 11 cases during the Fee Period.

          •        Exhibit C is a summary of the expenses incurred by Kirkland during the
                   Fee Period that sets forth the total amount of reimbursement sought with
                   respect to each type of expense for which Kirkland is seeking
                   reimbursement in this Monthly Fee Statement. These disbursements
                   comprise the requested sum for Kirkland’s out-of-pocket expenses.

          •        Exhibit D is a true and correct copy of Kirkland’s invoice for the Fee
                   Period, which reflects the fees and expenses sought in this Monthly Fee
                   Statement.

                                           Representations

          2.       Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. Kirkland reserves the right

to make further application to this Court for allowance of such fees and expenses not included

herein.        Subsequent fee statements and applications will be filed in accordance with the

Bankruptcy Code, Bankruptcy Rules, Local Rules, and Interim Compensation Order.




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                                              Notice

       3.      The Debtors have provided notice of this Motion to the following parties or their

respective counsel: (a) the office of the U.S. Trustee for the District of Nebraska; (b) counsel to

the Committee; (c) the agents under the Debtors’ prepetition asset-based facility; (d) the agents

under the proposed DIP Facility; (e) the agents under the Debtors’ prepetition term loan facility;

(f) the Internal Revenue Service; (g) the United States Securities and Exchange Commission;

(h) the office of the attorneys general for the states in which the Debtors operate; (i) the United

States Attorney’s Office for the District of Nebraska; and (j) any party that has requested notice

pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief

requested, no other or further notice need be given.


                           [Remainder of page intentionally left blank]
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       WHEREFORE, Kirkland respectfully requests that an allowance be made to Kirkland for

100% of its fees of $1,579,442.00 and 100% of its expenses of $11,637.89 incurred during the

Fee Period.   Kirkland also respectfully requests payment by the Debtors of $1,275,191.49

representing the sum of 80% of its fees requested herein plus 100% of the expense

reimbursement requested herein.

Dated: February 28, 2019          /s/ Steven Serajeddini
 Omaha, Nebraska                  Steven Serajeddini (admitted pro hac vice)
                                  Daniel Rudewicz (admitted pro hac vice)
                                  KIRKLAND & ELLIS LLP
                                  KIRKLAND & ELLIS INTERNATIONAL LLP
                                  601 Lexington Avenue
                                  New York, New York 10022
                                  Telephone:     (212) 446-4800
                                  Facsimile:     (212) 446-4900
                                  Email:         steven.serajeddini@kirkland.com

                                  -and-

                                  James H.M. Sprayregen, P.C.
                                  Patrick J. Nash, Jr., P.C. (admitted pro hac vice)
                                  Travis M. Bayer (admitted pro hac vice)
                                  KIRKLAND & ELLIS LLP
                                  KIRKLAND & ELLIS INTERNATIONAL LLP
                                  300 North LaSalle
                                  Chicago, Illinois 60654
                                  Telephone:     (312) 862-2000
                                  Facsimile:     (312) 862-2200
                                  Email:         james.sprayregen@kirkland.com
                                  patrick.nash@kirkland.com
                                  travis.bayer@kirkland.com
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                                    EXHIBIT A

              Statement of Fees by Subject Matter during the Fee Period

                                                              Total
   Matter                                                                 Total Fees
                           Matter Description                 Billed
   Number                                                                 Requested
                                                              Hours
          7    Chapter 11 Filing                                132.90       $98,381.50
          8    Adversary Proceedings, Contested Matters         339.10      $280,280.00
          9    Automatic Stay Issues                               3.20       $2,595.50
         10    Business Operations & Vendor Issues              125.90      $101,172.50
         11    Case Administration                              108.10       $80,529.50
         12    Cash Collateral, DIP Financing                   119.20      $117,000.50
         14    Claims Administration & Objections                12.50        $9,377.00
         15    Corporate & Governance Matters                    17.10       $13,712.50
         16    Customer, Creditor Communications                 37.50       $35,832.50
         17    Disclosure Statement/Plan/Confirmation            42.70       $38,000.00
         18    Employee Issues                                     6.90       $6,590.00
         19    Executory Contracts, Unexpired Leases             38.60       $30,060.00
         20    Hearings                                          96.20       $79,296.50
         21    Insurance                                         37.90       $27,635.50
         22    Retention and Fee Applications-K&E               142.90       $86,282.50
         23    Retention and Fee Applications-Non-K&E            60.20       $47,547.00
         24    Schedules, SOFAs & MORs                             2.70       $2,038.50
         25    Tax Issues                                          7.60       $9,238.00
         26    Non-Working Travel Time                           38.40       $31,424.50
         27    U.S. Trustee Issues                                 7.50       $7,842.50
         28    Use, Sale & Disposition of Property              499.80      $472,110.00
         29    Utilities                                           3.10       $2,495.50
Totals                                                        1,880.00    $1,579,442.00




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                                             EXHIBIT B

                     Professionals Rendering Services during the Fee Period

        The Kirkland attorneys who rendered professional services in these cases during the Fee

Period include:

                                                              Hourly      Total
                                   Year                                                  Total
    Attorney          Position                Department      Billing     Billed
                                  Admitted                                            Compensation
                                                               Rate       Hours
Davion Chism          Associate   Pending     Restructuring    $705.00      106.20       $74,871.00
James B. Dickson      Associate    2013        Corporate       $920.00        19.90      $18,308.00
Kyle P. Elder         Associate    2013        Corporate      $1,045.00       53.30      $55,698.50
Shanan Terale
                      Associate     2018      Restructuring    $705.00       76.60       $54,003.00
Essick
Whitney Fogelberg     Associate     2012      Restructuring    $995.00      138.70      $138,006.50
Shannon L.
                      Associate     2018       Litigation      $595.00       33.60       $19,992.00
Gonyou
Cole Wesley
                      Associate     2018      Restructuring    $705.00       77.60       $54,708.00
Harlan
Sarah E. Loiselle     Associate     2018       Corporate       $595.00       15.20        $9,044.00
Tiffany T. Mason      Associate     2016       Corporate       $805.00       15.60       $12,558.00
Kevin Scott
                      Associate     2016      Restructuring    $805.00       87.60       $70,518.00
McClelland
Robert McLellarn      Associate     2014      Restructuring    $805.00       97.20       $78,246.00
Jack Murray           Associate     2016      Restructuring    $595.00       97.80       $58,191.00
Jamie Rose Netznik    Associate     2013      Restructuring   $1,045.00      16.40       $17,138.00
Kimberly Pageau       Associate     2017      Restructuring    $595.00      112.40       $66,878.00
Madeleine C.
                      Associate   Pending     Restructuring    $705.00       35.90       $25,309.50
Parish
Daniel Rudewicz       Associate     2016      Restructuring    $920.00      134.00      $123,280.00
Alison Ann Skaife     Associate     2013        Taxation      $1,125.00       2.40        $2,700.00
Jenna Marie Stupar    Associate     2015       Litigation      $885.00      103.50       $91,597.50
Jordan Turban         Associate     2017       Corporate       $805.00       13.20       $10,626.00
Matthew S.
                       Partner      2008       Corporate      $1,195.00      38.90       $46,485.50
Arenson, P.C.
Travis M. Bayer        Partner      2012      Restructuring   $1,090.00     107.60      $117,284.00
Thad W. Davis,
                       Partner      2005        Taxation      $1,295.00       0.30          $388.50
P.C.
Chad D.
                       Partner      2008       Corporate      $1,135.00       0.80          $908.00
Ehrenkranz
Corey D. Fox, P.C.     Partner      2004       Corporate      $1,395.00       0.50          $697.50
Douglas C.
                       Partner      1989       Corporate      $1,595.00       4.80        $7,656.00
Gessner, P.C.
Susan D. Golden        Partner      1988      Restructuring   $1,135.00       2.50        $2,837.50
Stephen C.
                       Partner      1997       Litigation     $1,465.00      26.50       $38,822.50
Hackney, P.C.
Edward                                         Labor &
                       Partner      2001                      $1,150.00       2.90        $3,335.00
Holzwanger                                    Employment
Chad J. Husnick,
                       Partner      2004      Restructuring   $1,515.00       2.30        $3,484.50
P.C.
Andrew Idrizovic       Partner      2009       Corporate      $1,155.00       7.00        $8,085.00
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                                                                           Hourly         Total
                                       Year                                                              Total
     Attorney          Position                      Department            Billing        Billed
                                      Admitted                                                        Compensation
                                                                            Rate          Hours
Jeremy S. Liss,
                       Partner          1999          Corporate            $1,525.00           3.30        $5,032.50
P.C.
Jeffery Lula           Partner          2010           Litigation          $1,095.00          82.30       $90,118.50
Patrick J. Nash Jr.,
                       Partner          1996         Restructuring         $1,565.00           7.30       $11,424.50
P.C.
                                                     Executive
Jennifer Pepin         Partner          2009                               $1,175.00           1.00        $1,175.00
                                                    Compensation
William T. Pruitt      Partner          2004         Litigation            $1,160.00           0.50         $580.00
Angela Rohman
                       Partner          2005           Taxation            $1,255.00           4.90        $6,149.50
Russo
Steven N.
                       Partner          2010         Restructuring         $1,255.00        124.00       $155,620.00
Serajeddini
Dennis Williams        Partner          2008          Corporate            $1,185.00         25.70        $30,454.50
Wayne E. Williams      Partner          2006          Corporate            $1,295.00          2.20         $2,849.00
Totals                                                                                    1,682.40     $1,515,060.50

         The Kirkland paraprofessionals who rendered professionals services in these cases during

the Fee Period include:

                                                                      Hourly         Total Billed        Total
  Paraprofessional         Position            Department
                                                                    Billing Rate       Hours          Compensation
Katie Kane              Junior Paralegal       Restructuring             $265.00               0.90         $238.50
Dan Varn                Junior Paralegal       Restructuring             $265.00             29.10        $7,711.50
Ryan Besaw                 Paralegal           Restructuring             $325.00             24.30        $7,897.50
Uzo Dike                   Paralegal            Litigation               $400.00             37.00       $14,800.00
Julia R. Foster            Paralegal           Restructuring             $325.00             11.40        $3,705.00
Amanda Mitchell            Paralegal            Litigation               $360.00             14.00        $5,040.00
Carrie Therese
                           Paralegal           Restructuring            $430.00               1.60          $688.00
Oppenheim
Laura Saal                 Paralegal           Restructuring            $430.00              17.30         $7,439.00
Nicole Saucedo             Paralegal            Corporate               $430.00               0.60          $258.00
Amanda Solis               Paralegal           Restructuring            $325.00               5.00         $1,625.00
                                                 Conflicts
Alli Beckett           Conflicts Analyst                                $295.00               6.40         $1,888.00
                                                 Analysis
                       Litigation Support
Megan Buenviaje                                  Litigation             $380.00               0.60          $228.00
                            Specialist
                                                 Conflicts
Michael Y. Chan        Conflicts Analyst                                $255.00              31.50         $8,032.50
                                                 Analysis
Library Factual            Research            Administrative
                                                                        $360.00               3.70         $1,332.00
Research                   Specialist            Services
                                                 Conflicts
Samuel Miller          Conflicts Analyst                                $230.00               7.00         $1,610.00
                                                 Analysis
                                                 Conflicts
Eric Nyberg            Conflicts Analyst                                $255.00               6.50         $1,657.50
                                                 Analysis
                       Litigation Support
Jeremy Alan Piniak                               Litigation             $380.00               0.20           $76.00
                            Specialist
                       Litigation Support
Olivia Weyers                                    Litigation             $310.00               0.50          $155.00
                            Specialist
Totals                                                                                      197.60        $64,381.50

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                                        EXHIBIT C

                  Summary of Expenses Incurred during the Fee Period

                        Service Description                            Amount
Third Party Telephone Charges                                                   $16.07
Standard Copies or Prints                                                    $1,034.08
Binding                                                                          $2.80
Tabs/Indexes/Dividers                                                            $5.59
Color Copies or Prints                                                       $1,069.20
Scanned Images                                                                   $8.64
Closing/Mini Books                                                             $216.00
Local Transportation                                                            $51.22
Travel Expense                                                               $1,534.26
Airfare                                                                        $182.75
Transportation to/from airport                                               $1,574.13
Travel Meals                                                                   $350.49
Other Travel Expenses                                                            $0.00
Filing Fees                                                                    $800.00
Other Court Costs and Fees                                                   $2,210.00
Outside Retrieval Service                                                    $2,432.00
Overtime Transportation                                                        $110.66
Overtime Meals - Attorney                                                       $40.00
Total                                                                       $11,637.89
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                                  EXHIBIT D

                            Invoice for the Fee Period
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                                                                  300 North LaSalle
                                                                  Chicago, IL 60654

                                                                   FEIN XX-XXXXXXX




February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025819
                                                                                         Client Matter: 26313-7

In the Matter of Chapter 11 Filing




For legal services rendered through January 31, 2019
(see attached Description of Legal Services for detail)                                                                        $ 98,381.50
Total legal services rendered                                                                                                  $ 98,381.50




  Beijing   Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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Legal Services for the Period Ending January 31, 2019                Invoice Number: 1010025819
Specialty Retail Shops Holding Corp.                                  Matter Number:    26313-7
Chapter 11 Filing




                                      Summary of Hours Billed

Name                                                      Hours      Rate           Amount
Travis M. Bayer                                             6.80 1,090.00           7,412.00
Ryan Besaw                                                  6.80 325.00             2,210.00
Davion Chism                                               17.50 705.00            12,337.50
Uzo Dike                                                    2.50 400.00             1,000.00
Shanan Terale Essick                                       12.70 705.00             8,953.50
Kevin Scott McClelland                                      9.70 805.00             7,808.50
Robert McLellarn                                            9.00 805.00             7,245.00
Jack Murray                                                11.50 595.00             6,842.50
Jamie Rose Netznik                                          8.30 1,045.00           8,673.50
Kimberly Pageau                                             7.20 595.00             4,284.00
Madeleine C. Parish                                        12.20 705.00             8,601.00
Daniel Rudewicz                                            10.50 920.00             9,660.00
Laura Saal                                                  2.00 430.00               860.00
Steven N. Serajeddini                                       3.90 1,255.00           4,894.50
Jenna Marie Stupar                                          7.00 885.00             6,195.00
Dan Varn                                                    5.30 265.00             1,404.50

TOTALS                                                    132.90                 $ 98,381.50




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Legal Services for the Period Ending January 31, 2019                Invoice Number: 1010025819
Specialty Retail Shops Holding Corp.                                  Matter Number:    26313-7
Chapter 11 Filing



                                    Description of Legal Services

Date     Name                              Hours Description
01/16/19 Travis M. Bayer                     6.80 Review and revise pleadings re filing (5.6);
                                                  office conferences with K&E team re same
                                                  (1.2).
01/16/19 Ryan Besaw                          6.80 Review, revise first day pleadings (4.1);
                                                  revise, file motions for admission pro hac vice
                                                  (1.1); research re filing procedures re same
                                                  (1.2); correspond with clerk of Bankruptcy
                                                  Court re same (.4).
01/16/19 Davion Chism                       11.50 Draft and revise insurance motion (1.5); draft
                                                  and revise talking points re same (.5); draft
                                                  and revise taxes motion (1.5); draft talking
                                                  points re same (.5); draft and revise contract
                                                  procedures motion (2.5); draft talking points
                                                  re same (.5); review and revise various first
                                                  day pleadings, and talking points (3.5); revise
                                                  orders incorporating revisions from first day
                                                  hearing (1.0).
01/16/19 Uzo Dike                            2.50 Prepare materials for use with potential
                                                  witnesses at first day hearing.
01/16/19 Shanan Terale Essick               12.70 Draft and revise lien claimants motion (2.7);
                                                  draft talking points re same (.8); review and
                                                  revise finalize first day filings (.9);
                                                  correspond with K&E team re same (.1);
                                                  correspond with L. Goodman and M.
                                                  Eversden re first day filings (.5); draft and
                                                  revise utilities motion (.5); draft talking points
                                                  re same (.5); draft and revise store closing
                                                  motion (2.7); draft talking points re same (.8);
                                                  draft and revise customer programs motion
                                                  (1.0); draft talking points re same (.6);
                                                  correspond with K&E team re first day
                                                  hearing orders (.3); review and revise first day
                                                  hearing orders (1.3).
01/16/19 Kevin Scott McClelland              9.70 Review and revise cash management motion
                                                  (2.2); review and revise wages motion (1.7);
                                                  review and revise talking points re first day
                                                  motions (2.9); prepare for first day hearing
                                                  (2.9).




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Legal Services for the Period Ending January 31, 2019                Invoice Number: 1010025819
Specialty Retail Shops Holding Corp.                                  Matter Number:    26313-7
Chapter 11 Filing

Date     Name                              Hours Description
01/16/19 Robert McLellarn                    9.00 Review and revise taxes motion (.5); review
                                                  and revise talking points re same (.5) review
                                                  and revise utilities motion (.5); review and
                                                  revise review and revise customer programs
                                                  motion (.7); review and revise talking points
                                                  re same (.5); review first day pleadings (3.0);
                                                  review talking points re first day pleadings
                                                  (1.3); review and revise interim orders for
                                                  filing (2.0).
01/16/19 Jack Murray                        11.50 Review and revise first day pleadings (10.5);
                                                  draft and revise orders re assumption and
                                                  rejection of contracts motion (1.0).
01/16/19 Jamie Rose Netznik                  8.30 Prepare for and file chapter 11 petitions,
                                                  pleadings (6.3); review, revise same prior to
                                                  filing (2.0).
01/16/19 Kimberly Pageau                     7.20 Review and revise pharmacy bid procedures
                                                  motion (3.0); draft talking points re same (.9);
                                                  prepare for first day hearing (1.2); review and
                                                  revise first day orders (2.1).
01/16/19 Madeleine C. Parish                12.20 Draft and revise wages and benefits motion
                                                  (1.4); draft talking points re same (.3); review
                                                  and revise pharmacy bid procedures motion
                                                  (3.0); draft and revise talking points re same
                                                  (1.0); review and revise first day pleadings for
                                                  filing (6.5).
01/16/19 Daniel Rudewicz                    10.50 Review and revise plan (2.8); review and
                                                  revise pharmacy bidding procedures (3.0);
                                                  review and revise first day pleadings (2.0);
                                                  review and revise orders (2.2); office
                                                  conferences with K&E team re same (.5).
01/16/19 Laura Saal                          2.00 Create filing versions of petitions.
01/16/19 Steven N. Serajeddini               3.90 Correspond and conference with K&E team,
                                                  Company re chapter 11 filing (2.4); review
                                                  and revise documents re same (1.5).
01/16/19 Jenna Marie Stupar                  7.00 Prepare for first day hearing, including
                                                  witness preparation, draft direct examination
                                                  outlines (5.2); research and analyze pertinent
                                                  law re McKesson’s objections (1.8).
01/16/19 Dan Varn                            5.30 Review and update first day pleadings and
                                                  assist with filings (3.0); prepare materials for
                                                  first day hearing (2.3).




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Specialty Retail Shops Holding Corp.                                  Matter Number:    26313-7
Chapter 11 Filing

Date     Name                              Hours Description
01/17/19 Davion Chism                       6.00 Revise proposed orders for SOFA extension
                                                 motion, creditor’s motion, insurance/surety
                                                 bond motion, and taxes motion (5.0);
                                                 conference with K&E team re outstanding
                                                 proposed orders and requests for information
                                                 (1.0).

Total                                      132.90




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                                                                  300 North LaSalle
                                                                  Chicago, IL 60654

                                                                   FEIN XX-XXXXXXX




February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025818
                                                                                         Client Matter: 26313-8

In the Matter of Adversary Proceedings, Contested Matters




For legal services rendered through January 31, 2019
(see attached Description of Legal Services for detail)                                                                      $ 280,280.00
Total legal services rendered                                                                                                $ 280,280.00




  Beijing   Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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Adversary Proceedings, Contested Matters




                                      Summary of Hours Billed

Name                                                      Hours        Rate         Amount
Travis M. Bayer                                            10.00   1,090.00        10,900.00
Ryan Besaw                                                  0.40     325.00           130.00
Megan Buenviaje                                             0.60     380.00           228.00
Davion Chism                                                6.20     705.00         4,371.00
Uzo Dike                                                   28.20     400.00        11,280.00
Shanan Terale Essick                                       18.60     705.00        13,113.00
Whitney Fogelberg                                          27.30     995.00        27,163.50
Shannon L. Gonyou                                          31.50     595.00        18,742.50
Stephen C. Hackney, P.C.                                    9.50   1,465.00        13,917.50
Library Factual Research                                    3.00     360.00         1,080.00
Jeffery Lula                                               62.50   1,095.00        68,437.50
Kevin Scott McClelland                                     10.20     805.00         8,211.00
Robert McLellarn                                           21.00     805.00        16,905.00
Amanda Mitchell                                            13.70     360.00         4,932.00
Jack Murray                                                11.90     595.00         7,080.50
Patrick J. Nash Jr., P.C.                                   1.20   1,565.00         1,878.00
Kimberly Pageau                                             0.90     595.00           535.50
Jeremy Alan Piniak                                          0.20     380.00            76.00
Daniel Rudewicz                                             0.50     920.00           460.00
Jenna Marie Stupar                                         79.30     885.00        70,180.50
Dan Varn                                                    1.90     265.00           503.50
Olivia Weyers                                               0.50     310.00           155.00

TOTALS                                                    339.10                $ 280,280.00




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Adversary Proceedings, Contested Matters



                                    Description of Legal Services

Date     Name                              Hours Description
01/17/19 Travis M. Bayer                    1.60 Conferences with K&E team re litigation
                                                 issues (.4); review and analyze same (.8);
                                                 research re same (.4).
01/17/19 Uzo Dike                           2.20 Telephone conference with K&E team re first
                                                 day hearing orders, assembly of Shopko board
                                                 minutes and other litigation issues (.5); review
                                                 and analyze updated workstream tracker re
                                                 same (.2); telephone conference with K&E
                                                 team re potential vendor settlement and
                                                 related issues (.3); telephone conference with
                                                 L. Goodman re questions re rule 2004 and
                                                 protective order issues (.2); telephone
                                                 conference with J. Stupar re same (.2); review
                                                 and revise draft rule 2004 discovery materials
                                                 (.8).
01/17/19 Whitney Fogelberg                  2.30 Telephone conferences with K&E team re
                                                 venue motion and reclamation/marshaling
                                                 research (1.0); review and analyze venue
                                                 motion (.8); review and revise form
                                                 suggestion of bankruptcy (.5).
01/17/19 Shannon L. Gonyou                  1.00 Research principal assets re venue response.
01/17/19 Shannon L. Gonyou                  0.50 Participate in telephone conference with K&E
                                                 team re update on bankruptcy filing.
01/17/19 Shannon L. Gonyou                  2.80 Draft opposition to McKesson's motion to
                                                 transfer venue.
01/17/19 Shannon L. Gonyou                  0.50 Telephone conference with K&E team re
                                                 update re choice of venue case law.
01/17/19 Shannon L. Gonyou                  2.00 Research and summarize bankruptcy venue
                                                 and venue transfer law.
01/17/19 Kevin Scott McClelland             3.20 Research precedent re change of venue issues.
01/17/19 Daniel Rudewicz                    0.50 Telephone conference with K&E team re
                                                 venue issues.
01/17/19 Jenna Marie Stupar                 8.50 Research and analyze issues re anticipated
                                                 motion to transfer venue (4.0); telephone
                                                 conference with K&E team re same and other
                                                 litigation issues (1.0); research and analyze
                                                 approaches used to file rule 2004 discovery
                                                 (1.4); correspond with local counsel re same
                                                 (.3); draft protective order (1.0); analyze
                                                 issues re rule 2004 discovery (.8).
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Adversary Proceedings, Contested Matters

Date     Name                              Hours Description
01/17/19 Dan Varn                           1.20 Compile and circulate motion to transfer
                                                 venue precedent.
01/18/19 Travis M. Bayer                    1.90 Review and analyze venue motion, and
                                                 declaration in support (.4); research re same
                                                 (.3); correspond with K&E team re same (.1);
                                                 review and analyze precedent re same (.3);
                                                 telephone conferences with K&E team re
                                                 litigation issues (.8).
01/18/19 Uzo Dike                           2.10 Conference with Willkie Farr re Special
                                                 Committee investigation (.3); conference with
                                                 Sandline re same (.5); correspond with R.
                                                 Petersen and P. Brodin re same (.4);
                                                 coordinate preparation of template pleadings,
                                                 proper case caption and signature block (.4);
                                                 conference with R. Besaw and K. Arens re
                                                 same (.2); conference with Sandline re
                                                 investigation procedures (.3).
01/18/19 Shanan Terale Essick               2.30 Prepare notice of suggestion of bankruptcy
                                                 (2.1); correspond with K&E team re same
                                                 (.2).
01/18/19 Shannon L. Gonyou                  1.30 Review and revise opposition to venue
                                                 transfer.
01/18/19 Shannon L. Gonyou                  0.80 Research sale of asset requirements under
                                                 section 363.
01/18/19 Shannon L. Gonyou                  0.80 Research affidavits of inconvenience.
01/18/19 Shannon L. Gonyou                  0.50 Telephone conference with K&E team re
                                                 marshalling research and reclamation
                                                 research.
01/18/19 Shannon L. Gonyou                  1.00 Telephone conference with EY auditor (.4);
                                                 telephone conference with K&E team re
                                                 litigation workstreams (.6).
01/18/19 Library Factual Research           1.00 Research re venue motion.
01/18/19 Jeffery Lula                       1.80 Review and analyze Shopko documents and
                                                 draft discovery requests.
01/18/19 Jeffery Lula                       1.30 Review and draft 2004 examination motions.
01/18/19 Jeffery Lula                       0.80 Prepare for and telephone conference with
                                                 K&E team re sales process, litigation issues.
01/18/19 Jeffery Lula                       1.60 Research and summarize case law re
                                                 reclamation and marshalling.
01/18/19 Jeffery Lula                       0.80 Conference with K&E team re case updates
                                                 and strategy.


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Specialty Retail Shops Holding Corp.                                  Matter Number:    26313-8
Adversary Proceedings, Contested Matters

Date     Name                              Hours Description
01/18/19 Robert McLellarn                    6.00 Review, revise motion to oppose venue
                                                  transfer (2.5); review and analyze motion to
                                                  transfer venue (2.0); telephone conference
                                                  and correspond with local counsel re first day
                                                  orders (1.5).
01/18/19 Kimberly Pageau                     0.90 Draft motion to extend time to remove
                                                  actions.
01/18/19 Jenna Marie Stupar                 10.00 Draft and revise response to motion to
                                                  transfer venue (3.6); telephone conferences
                                                  with K&E team re outstanding litigation
                                                  projects (2.9); draft rule 2004 motion and
                                                  exhibits (3.0); telephone conference with EY
                                                  auditor (.5).
01/18/19 Dan Varn                            0.70 Draft and circulate removal extension motion
                                                  and order for attorney review.
01/19/19 Travis M. Bayer                     3.20 Telephone conferences with K&E team re
                                                  litigation issues (1.2); review and analyze
                                                  materials re litigation issues (.6); correspond
                                                  with K&E team re same (.3); review and
                                                  analyze venue motion (.5); review and
                                                  analyze precedent re same (.6).
01/19/19 Shanan Terale Essick                4.20 Research and analyze venue precedent (.6);
                                                  research and analyze precedent re reclamation
                                                  (3.0); summarize research re same (.6).
01/19/19 Whitney Fogelberg                   1.90 Telephone conferences with K&E team re
                                                  venue motion (1.1); draft outline re same (.3);
                                                  correspond with T. Bayer and S. Serajeddini
                                                  re same (.5).
01/19/19 Shannon L. Gonyou                   1.50 Research reclamation issues.
01/19/19 Shannon L. Gonyou                   1.50 Prepare for and telephone conference with
                                                  K&E team re discovery plan and venue
                                                  motion.
01/19/19 Jeffery Lula                        1.70 Prepare for and telephone conference with
                                                  K&E team re upcoming deadlines and
                                                  delegating assignments.
01/19/19 Jeffery Lula                        0.50 Telephone conferences with J. Stupar and S.
                                                  Gonyou re status.
01/19/19 Jeffery Lula                        1.40 Research and draft outline re response to
                                                  venue motion.
01/19/19 Jeffery Lula                        2.60 Coordinate and respond to requests re
                                                  discovery motion.
01/19/19 Kevin Scott McClelland              1.50 Telephone conference with K&E team re
                                                  litigation strategy.
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Adversary Proceedings, Contested Matters

Date     Name                              Hours Description
01/19/19 Robert McLellarn                   2.50 Research potential issues re marshaling and
                                                 reclamation (1.0); telephone conference with
                                                 K&E team re same (1.5).
01/19/19 Jack Murray                        4.50 Review motion to transfer venue (.5); review
                                                 cases cited therein (2.0); draft memorandum
                                                 re same (1.5); correspond with S. Essick re
                                                 same (.5).
01/19/19 Patrick J. Nash Jr., P.C.          0.40 Review and analyze issues re venue
                                                 challenge.
01/19/19 Jenna Marie Stupar                 6.00 Participate in telephone conferences re
                                                 litigation projects (.8); draft rule 2004 motion
                                                 (3.0); draft exhibits re rule 2004 motion (2.2).
01/20/19 Travis M. Bayer                    0.80 Telephone conference with working group re
                                                 litigation issues (.3); correspond with K&E
                                                 team re same (.2); review and revise 2004
                                                 motion (.2); correspond with K&E team re
                                                 same (.1).
01/20/19 Uzo Dike                           2.60 Prepare and revise rule 2004 discovery
                                                 motion (.8); prepare and revise draft
                                                 deposition subpoena and notice (.6);
                                                 correspond with J. Stupar and S. Gonyou re
                                                 same (.2); prepare draft notices of motion re
                                                 potential rule 2004 discovery (.6); conference
                                                 with J. Lula, J. Stupar and S. Gonyou re status
                                                 of various litigation issues (.4).
01/20/19 Whitney Fogelberg                  2.70 Research and analyze issues re change of
                                                 venue (2.3); correspond with T. Bayer re
                                                 same (.4).
01/20/19 Shannon L. Gonyou                  1.50 Draft affidavit in support of motion to oppose
                                                 venue transfer.
01/20/19 Shannon L. Gonyou                  0.70 Research government shutdowns and venue.
01/20/19 Shannon L. Gonyou                  0.70 Revise motion in opposition to venue transfer.
01/20/19 Shannon L. Gonyou                  0.40 Telephone conference with Company re
                                                 discovery plan.
01/20/19 Jeffery Lula                       0.60 Telephone conference with Company and
                                                 K&E re discovery and auction.
01/20/19 Jeffery Lula                       3.50 Review and revise filings re discovery
                                                 requests.
01/20/19 Jeffery Lula                       0.70 Draft potential discovery requests re venue
                                                 motion.
01/20/19 Jeffery Lula                       1.80 Analyze supply agreements and summarize re
                                                 internal investigations.

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Adversary Proceedings, Contested Matters

Date     Name                              Hours Description
01/20/19 Jeffery Lula                       1.90 Coordinate response re venue motion and
                                                 upcoming hearing.
01/20/19 Jack Murray                        0.40 Review and analyze memorandum re
                                                 litigation issues (.3); correspond with W.
                                                 Fogelberg re same (.1).
01/20/19 Jack Murray                        4.00 Review and analyze precedent re venue issues
                                                 (3.0); summarize research and draft
                                                 memorandum re same (1.0).
01/20/19 Jenna Marie Stupar                 8.00 Review and revise rule 2004 motion (4.5);
                                                 correspond with Company re same (.6);
                                                 correspond with BRG re motion to transfer
                                                 venue (.5); draft declaration re same (.4); draft
                                                 proposed order rule 2004 motion (.8);
                                                 correspond with paralegals re various filings
                                                 and affidavits (.7); revise drafts re same (.5).
01/21/19 Uzo Dike                           4.30 Review and revise rule 2004 discovery
                                                 documents and deposition subpoenas re
                                                 attorney review prior to service (.6);
                                                 telephone conferences with K&E team re
                                                 pharmacy sale, venue motion and hearings re
                                                 same (.5); review and analyze precedent cited
                                                 in venue motion (1.3); telephone conferences
                                                 with K&E Library staff re research materials
                                                 (.6); research re background information on
                                                 subsidiary (.9); conference with Library staff
                                                 re same (.4).
01/21/19 Shanan Terale Essick               6.50 Research and analyze precedent re
                                                 reclamation rights (3.1); summarize research
                                                 re same (1.0); draft memorandum re same
                                                 (2.4).
01/21/19 Shannon L. Gonyou                  0.50 Telephone conferences with K&E team re
                                                 litigation workstreams.
01/21/19 Shannon L. Gonyou                  3.30 Review venue motion and revise motion in
                                                 opposition.
01/21/19 Shannon L. Gonyou                  0.50 Telephone conference with BRG re venue
                                                 motion.
01/21/19 Shannon L. Gonyou                  0.50 Telephone conference with Company re
                                                 contested issues.
01/21/19 Jeffery Lula                       1.00 Telephone conference with K&E team re
                                                 litigation updates and strategy.
01/21/19 Jeffery Lula                       2.90 Coordinate response re venue motion and
                                                 strategy for upcoming hearing.


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Adversary Proceedings, Contested Matters

Date     Name                              Hours Description
01/21/19 Jeffery Lula                       1.20 Review and revise filings re discovery
                                                 requests.
01/21/19 Robert McLellarn                   2.00 Research reclamation and marshaling issues.
01/21/19 Amanda Mitchell                    0.30 Telephone conference with K&E team re
                                                 venue transfer hearing.
01/21/19 Jenna Marie Stupar                 5.50 Telephone conferences with K&E team re
                                                 motion to transfer venue and rule 2004
                                                 motions (2.0); draft and revise rule 2004
                                                 motion (3.5).
01/22/19 Travis M. Bayer                    0.20 Telephone conference with Willkie re
                                                 investigation status.
01/22/19 Megan Buenviaje                    0.60 Prepare and transfer Company documents to
                                                 vendor for processing.
01/22/19 Davion Chism                       2.70 Research re reclamation claims and claim
                                                 priority level.
01/22/19 Uzo Dike                           1.00 Correspond with Willkie re investigation
                                                 diligence materials (.3); conference with
                                                 Sandline re same (.2); correspond with K&E
                                                 team re same (.1); correspond with J. Fick re
                                                 transmittal of January 7th TRO hearing
                                                 transcript (.2); conference with M. Buenviaje
                                                 re investigation diligence materials (.2).
01/22/19 Shanan Terale Essick               5.60 Review and analyze precedent re reclamation
                                                 issues (2.6); draft and revise analysis re same
                                                 (3.0).
01/22/19 Whitney Fogelberg                  2.70 Conferences with S. Serajeddini and T. Bayer
                                                 re vendor settlement (.6); draft 9019 motion
                                                 re same (2.1).
01/22/19 Shannon L. Gonyou                  3.30 Conference with R. Steinhorst and S. Buckna
                                                 re contested issues (.7); telephone conferences
                                                 re venue motion and discovery (.8); research
                                                 authentication of document requirements in
                                                 Eighth Circuit (1.8).
01/22/19 Library Factual Research           2.00 Research re venue motion precedent.
01/22/19 Jeffery Lula                       1.90 Coordinate response re venue motion and
                                                 strategy for upcoming hearing.
01/22/19 Jeffery Lula                       0.90 Telephone conference with R. Steinhorst re
                                                 financial documents.
01/22/19 Robert McLellarn                   7.00 Review and analyze precedent re marshaling
                                                 and reclamation rights (2.7); review and
                                                 analyze materials re same (1.2); conferences
                                                 with K&E team re same (3.1).

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Adversary Proceedings, Contested Matters

Date     Name                              Hours Description
01/22/19 Amanda Mitchell                    1.80 Cite check draft rule 2004 motion (.3);
                                                 conference with K&E team re opposition to
                                                 venue transfer (.2); download documents
                                                 from Company re attorney review (1.3).
01/22/19 Jack Murray                        3.00 Research and review precedent re creditor
                                                 objections (2.5); draft memorandum re same
                                                 (.5).
01/22/19 Patrick J. Nash Jr., P.C.          0.50 Review motion to transfer venue.
01/22/19 Jenna Marie Stupar                 9.00 Draft and revise opposition to venue motion
                                                 (3.2); correspond with local counsel re request
                                                 to present live testimony and develop strategy
                                                 re same (.5); review and revise rule 2004
                                                 motion (.8); participate in telephone
                                                 conferences with K&E team and AT Kearney
                                                 re previous audit (1.5); draft rule 2004 motion
                                                 and exhibit (2.0); review and analyze TRO
                                                 hearing transcript (1.0).
01/23/19 Davion Chism                       3.50 Research re reclamation claims and claim
                                                 priority level (2.7); summarize research re
                                                 same (.8).
01/23/19 Uzo Dike                           1.30 Research re change of venue-related filings
                                                 and hearing transcripts in Caesars bankruptcy
                                                 (.9); correspond with J. Stupar re same (.1);
                                                 review and analyze analysis re pharmacy
                                                 asset sales (.3).
01/23/19 Whitney Fogelberg                  7.20 Review and revise vendor stipulation and
                                                 settlement agreement (4.6); telephone
                                                 conferences with counsel to vendor re same
                                                 (1.2); correspond with T. Bayer and S.
                                                 Serajeddini re same (1.4).
01/23/19 Shannon L. Gonyou                  0.40 Review and analyze venue transfer
                                                 opposition.
01/23/19 Shannon L. Gonyou                  0.70 Review updated venue motion and draft B.
                                                 Duffy declaration.
01/23/19 Shannon L. Gonyou                  0.60 Review and analyze precedent venue
                                                 pleadings.
01/23/19 Shannon L. Gonyou                  0.50 Update diligence tracker.
01/23/19 Jeffery Lula                       4.40 Review and analyze response to venue motion
                                                 (1.2); review and revise same (3.2).
01/23/19 Jeffery Lula                       2.60 Draft and revise rule 2004 motion.
01/23/19 Jeffery Lula                       0.60 Revise filings re request for live testimony.



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Date     Name                              Hours Description
01/23/19 Jeffery Lula                       1.80 Review and analyze documents and revise
                                                 affidavit in support of response to venue
                                                 motion.
01/23/19 Jeffery Lula                       1.40 Conference with K&E team re status of
                                                 auction and potential issues.
01/23/19 Robert McLellarn                   2.80 Draft reply brief re reclamation and
                                                 marshaling issues.
01/23/19 Amanda Mitchell                    2.70 Coordinate litigation support (1.0); cite and
                                                 fact check opposition to venue transfer (1.7).
01/23/19 Jeremy Alan Piniak                 0.20 Coordinate litigation support.
01/23/19 Jenna Marie Stupar                 7.00 Draft rule 2004 motion and exhibit (1.4);
                                                 revise opposition to venue motion (3.5);
                                                 review and analyze various recommendations
                                                 re expert response to potential vendor claims
                                                 (.8); review and analyze various vendor
                                                 contracts (1.3).
01/23/19 Olivia Weyers                      0.50 Coordinate litigation support.
01/24/19 Uzo Dike                           6.40 Research re venue-related filings and hearing
                                                 transcripts in EFH bankruptcy (1.4); research
                                                 re prior vendor involvement in retail store
                                                 bankruptcies (1.6); telephone conference with
                                                 working group re pharmacy auction, vendor
                                                 stipulation and other litigation developments
                                                 (.6); telephone conference with Sandline re
                                                 ECA processing database (.4); conference
                                                 with A. Mitchell re case status and
                                                 assignments (.4); analyze and proofread
                                                 opposition to venue transfer motion (.8);
                                                 prepare set of venue transfer filings (.4);
                                                 collect and organize Shopko financial
                                                 information received from BRG prior to
                                                 attorney review (.8).
01/24/19 Whitney Fogelberg                  4.10 Review and revise vendor stipulation and
                                                 settlement agreement (2.8); conferences and
                                                 correspond with counsel to vendor re same
                                                 (.7); correspond with T. Bayer and S.
                                                 Serajeddini re same (.6).
01/24/19 Shannon L. Gonyou                  1.90 Review and analyze precedent re bad faith
                                                 filings.
01/24/19 Stephen C. Hackney, P.C.           4.50 Review and revise venue motion (2.0);
                                                 conferences with S. Serajedinni and J. Lula re
                                                 same (2.5).



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Adversary Proceedings, Contested Matters

Date     Name                              Hours Description
01/24/19 Jeffery Lula                       3.10 Coordinate and revise response re venue
                                                 motion.
01/24/19 Jeffery Lula                       0.50 Telephone conference with consultants re
                                                 upcoming disputes.
01/24/19 Robert McLellarn                   0.70 Review demand letters.
01/24/19 Jenna Marie Stupar                 6.50 Draft and revise opposition to venue motion
                                                 (3.5); correspond with BRG to develop
                                                 declaration to file with response to venue
                                                 motion (3.0).
01/25/19 Travis M. Bayer                    0.40 Telephone conference with vendor re venue
                                                 motion (.1); correspond with K&E team re
                                                 same (.2); review and analyze objection re
                                                 same (.1).
01/25/19 Travis M. Bayer                    0.60 Review and revise 9019 motion (.3);
                                                 correspond with Company re same (.1);
                                                 telephone conferences with W. Fogelberg re
                                                 same (.2).
01/25/19 Uzo Dike                           2.00 Conference with A. Mitchell and local
                                                 counsel re template hearing witness and
                                                 exhibit lists (.4); conference with J. Stupar
                                                 and A. Mitchell re potential exhibits for use at
                                                 venue transfer hearing (.3); assess and
                                                 proofread opposition to venue transfer motion
                                                 (.5); assess and organize additional Shopko
                                                 financial documents received from BRG for
                                                 attorney review (.8).
01/25/19 Whitney Fogelberg                  6.40 Draft and revise vendor stipulation and
                                                 settlement agreement (3.0); incorporate
                                                 comments re same (1.5); conferences with
                                                 counsel to vendor re same (.8); correspond
                                                 with T. Bayer and S. Serajeddini re same (.9);
                                                 telephone conferences with T. Bayer re same
                                                 (.2).
01/25/19 Stephen C. Hackney, P.C.           5.00 Prepare for sale hearing including review of
                                                 vendor stipulation (2.0); conferences with T.
                                                 Bayer re auction (1.5); conference with J.
                                                 Lula and J. Stupar re same (1.5).
01/25/19 Jeffery Lula                       1.20 Review and revise declaration re proposed
                                                 auction order.
01/25/19 Jeffery Lula                       2.60 Review and revise declaration re venue
                                                 motion.
01/25/19 Jeffery Lula                       2.10 Revise and finalize response to venue motion.


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Specialty Retail Shops Holding Corp.                                  Matter Number:    26313-8
Adversary Proceedings, Contested Matters

Date     Name                              Hours Description
01/25/19 Amanda Mitchell                    8.90 Conference with K&E team re opposition to
                                                 venue transfer (1.8); review and compile
                                                 documents cited in affidavit in support or
                                                 opposition to venue transfer (.8); cite and fact
                                                 check draft opposition to venue transfer (2.7);
                                                 update affidavit citations in opposition to
                                                 venue transfer (1.3); draft exhibit list in
                                                 preparation for hearing on venue transfer
                                                 hearing (1.1); review and compile exhibits in
                                                 preparation for hearing on venue transfer
                                                 hearing (.7); conference with K&E team re
                                                 exhibit list for hearing on venue transfer
                                                 hearing (.5).
01/25/19 Patrick J. Nash Jr., P.C.          0.30 Review and analyze vendor stipulation.
01/25/19 Jenna Marie Stupar                 8.00 Revise opposition to McKesson venue motion
                                                 (3.0); correspond with BRG re declaration in
                                                 response to McKesson venue motion (2.4);
                                                 correspond with paralegals re exhibits (1.8);
                                                 review and revise Spencer declaration (.8).
01/26/19 Jeffery Lula                       1.90 Draft outline re sale reply and prepare re
                                                 upcoming hearing.
01/26/19   Jeffery Lula                     1.40 Review and revise declarations and flings.
01/26/19   Jeffery Lula                     0.40 Coordinate with K&E re upcoming deadlines.
01/26/19   Jenna Marie Stupar               1.00 Review Spencer declaration re sale reply.
01/27/19   Jeffery Lula                     2.10 Review filings and prepare for hearing.
01/27/19   Jeffery Lula                     0.70 Review and revise settlement documents with
                                                 McKesson.
01/28/19 Travis M. Bayer                    1.00 Telephone conference with Willkie, K&E
                                                 team re litigation matters (.4); review and
                                                 analyze same (.2); review and revise 9019
                                                 motion (.2); correspond with K&E team re
                                                 same (.1); correspond with K&E team re
                                                 litigation matters (.1).
01/28/19 Uzo Dike                           1.00 Telephone conference with working group re
                                                 update on McKesson's withdrawal of motions,
                                                 Monday hearing re pharmacy sale and other
                                                 litigation developments (.4); organize and
                                                 assemble recent Shopko board of directors
                                                 minutes and meeting materials (.5);
                                                 conference with J. Stupar re same (.1).
01/28/19 Shannon L. Gonyou                  0.30 Telephone conference with Company re
                                                 contested issues.


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Legal Services for the Period Ending January 31, 2019                Invoice Number: 1010025818
Specialty Retail Shops Holding Corp.                                  Matter Number:    26313-8
Adversary Proceedings, Contested Matters

Date     Name                              Hours Description
01/28/19 Shannon L. Gonyou                  0.50 Telephone conference re investigation issues
                                                 (.3); telephone conference with Willkie re
                                                 same (.2).
01/28/19 Jeffery Lula                       1.40 Draft direct examination outline for hearing
                                                 and potential issues.
01/28/19 Kevin Scott McClelland             5.50 Review and analyze stop in transit adversary
                                                 and related complaints (1.2); research and
                                                 analyze issues re same (3.6); correspond with
                                                 K&E team re same (.7).
01/28/19 Jenna Marie Stupar                 3.10 Correspond with K&E team and Willkie Farr
                                                 re creditor issues (2.3); review and analyze
                                                 issues raised by local counsel re potential
                                                 conflicts (.6); correspond with Company re
                                                 same (.2).
01/29/19 Travis M. Bayer                    0.30 Prepare 9019 motion for filing (.2);
                                                 correspond with K&E team re same (.1).
01/29/19 Uzo Dike                           4.00 Process and organize board materials for
                                                 attorney review and case development (1.7);
                                                 conference with J. Stupar and J. Murray re
                                                 same (.3); correspond with D. Domian re
                                                 diligence materials and process for potential
                                                 production (.4); organize and proper
                                                 unitization of same (1.1); coordinate update of
                                                 DMS and network folders with diligence
                                                 materials for attorney review and case
                                                 management (.5).
01/29/19 Jeffery Lula                       1.40 Coordinate responses re Willkie Farr
                                                 diligence requests.
01/29/19 Jenna Marie Stupar                 6.00 Correspond with Willkie Farr re status of
                                                 investigation (.5); correspond with Company
                                                 and K&E team re retrieval of additional
                                                 documents (.5); draft protective order (2.8);
                                                 correspond with K&E team re privilege issues
                                                 re board of directors minutes (1.0); review
                                                 and strategize upcoming issues re DIP hearing
                                                 (1.2).
01/30/19 Shannon L. Gonyou                  0.50 Telephone conference with Willkie re
                                                 document production to Creditors'
                                                 Committee.
01/30/19 Jeffery Lula                       1.80 Telephone conferences with K&E re case
                                                 updates.
01/30/19 Jeffery Lula                       1.60 Coordinate responses re Willkie Farr requests.
01/30/19 Jeffery Lula                       0.60 Correspond with Creditors' Committee.

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Specialty Retail Shops Holding Corp.                                  Matter Number:    26313-8
Adversary Proceedings, Contested Matters

Date     Name                              Hours Description
01/30/19 Jenna Marie Stupar                 0.70 Prepare for and participate in telephone
                                                 conference with Willkie Farr re internal
                                                 investigation and Creditors' Committee
                                                 investigation.
01/31/19 Ryan Besaw                         0.40 Draft settlement agreement motion.
01/31/19 Uzo Dike                           1.30 Review and analyze board materials (.5);
                                                 process and organize board materials for
                                                 attorney review (.6); conference with J.
                                                 Murray re same (.2).
01/31/19 Shannon L. Gonyou                  0.50 Telephone conference with Shopko team re
                                                 contested issues.

Total                                      339.10




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                                                                  300 North LaSalle
                                                                  Chicago, IL 60654

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February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025817
                                                                                         Client Matter: 26313-9

In the Matter of Automatic Stay Issues




For legal services rendered through January 31, 2019
(see attached Description of Legal Services for detail)                                                                         $ 2,595.50
Total legal services rendered                                                                                                   $ 2,595.50




  Beijing   Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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Legal Services for the Period Ending January 31, 2019                Invoice Number: 1010025817
Specialty Retail Shops Holding Corp.                                  Matter Number:    26313-9
Automatic Stay Issues




                                      Summary of Hours Billed

Name                                                      Hours     Rate            Amount
Travis M. Bayer                                            0.50 1,090.00              545.00
Julia R. Foster                                            0.40 325.00                130.00
Kevin Scott McClelland                                     1.70 805.00              1,368.50
Daniel Rudewicz                                            0.60 920.00                552.00

TOTALS                                                      3.20                  $ 2,595.50




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Specialty Retail Shops Holding Corp.                                  Matter Number:    26313-9
Automatic Stay Issues



                                    Description of Legal Services

Date     Name                              Hours Description
01/21/19 Kevin Scott McClelland             1.70 Telephone conference with Company re setoff
                                                 issues (.3); correspond with T. Bayer re same
                                                 (.2); draft letter re same (1.2).
01/30/19 Julia R. Foster                    0.40 Draft objection to realty trust's lift stay
                                                 motion.
01/31/19 Travis M. Bayer                    0.50 Correspond with Company re automatic stay
                                                 issues (.2); review and analyze same (.3).
01/31/19 Daniel Rudewicz                    0.60 Research re termination and stay.

Total                                        3.20




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February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025816
                                                                                         Client Matter: 26313-10

In the Matter of Business Operations & Vendor Issues




For legal services rendered through January 31, 2019
(see attached Description of Legal Services for detail)                                                                      $ 101,172.50
Total legal services rendered                                                                                                $ 101,172.50




  Beijing   Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-10
Business Operations & Vendor Issues




                                      Summary of Hours Billed

Name                                                      Hours        Rate         Amount
Travis M. Bayer                                            14.30   1,090.00        15,587.00
Davion Chism                                               11.00     705.00         7,755.00
Shanan Terale Essick                                       22.10     705.00        15,580.50
Whitney Fogelberg                                           7.90     995.00         7,860.50
Library Factual Research                                    0.70     360.00           252.00
Kevin Scott McClelland                                     19.60     805.00        15,778.00
Robert McLellarn                                            6.80     805.00         5,474.00
Jack Murray                                                14.50     595.00         8,627.50
Patrick J. Nash Jr., P.C.                                   1.00   1,565.00         1,565.00
Kimberly Pageau                                            18.00     595.00        10,710.00
Daniel Rudewicz                                             1.80     920.00         1,656.00
Steven N. Serajeddini                                       7.30   1,255.00         9,161.50
Wayne E. Williams                                           0.90   1,295.00         1,165.50

TOTALS                                                    125.90                $ 101,172.50




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-10
Business Operations & Vendor Issues



                                    Description of Legal Services

Date     Name                              Hours Description
01/17/19 Travis M. Bayer                    1.40 Correspond with Company re vendor
                                                 inquiries (.2); review and analyze same (.3);
                                                 correspond with K&E team re same (.2);
                                                 review and revise correspondence re same
                                                 (.3); review and analyze research re same (.4).
01/17/19 Shanan Terale Essick               1.70 Draft debtor replies to vendor contract
                                                 terminations.
01/17/19 Whitney Fogelberg                  0.70 Review and analyze contract termination
                                                 issues.
01/17/19 Kevin Scott McClelland             0.60 Review and revise press materials.
01/17/19 Kevin Scott McClelland             3.80 Review and analyze consignment issues (.9);
                                                 draft trade agreement (1.3); correspond with
                                                 multiple parties re vendor issues (1.6).
01/17/19 Kevin Scott McClelland             0.40 Correspond with J. Murray re lienholders
                                                 order issues.
01/17/19 Jack Murray                        2.00 Telephone conference with suppliers re first
                                                 day motions (.5); correspond with K.
                                                 McClelland re same (.5); review and analyze
                                                 first-day motions re supplier issues (1.0).
01/17/19 Kimberly Pageau                    5.20 Research re consignment issues (3.9); analyze
                                                 and compile re same (1.3).
01/17/19 Daniel Rudewicz                    1.80 Correspond with vendor re inquiry (.1);
                                                 review and analyze issues re same (.3);
                                                 correspond with Prime Clerk re service
                                                 inquiry (.2); correspond with J. Stupar re
                                                 vendor inquiry (.1); review and analyze same
                                                 (1.1).
01/17/19 Steven N. Serajeddini              5.40 Correspond and conference with K&E team,
                                                 Company re chapter 11 filing (3.5); review
                                                 and analyze issues re same (1.5); review and
                                                 revise documents re same (.4).
01/18/19 Travis M. Bayer                    1.50 Telephone conferences with vendors re
                                                 inquiries (.4); correspond with K&E team re
                                                 same (.2); review and analyze issues re same
                                                 (.3); telephone conference with S.
                                                 Serajeddini, W. Fogelberg re vendor issues
                                                 (.3); telephone conferences with Company re
                                                 business issues (.3).



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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-10
Business Operations & Vendor Issues

Date     Name                              Hours Description
01/18/19 Davion Chism                       11.00 Review and revise various first day orders and
                                                  second day pleadings re operations and
                                                  vendor issues (7.2); research precedent re
                                                  landlord payments (3.8).
01/18/19 Shanan Terale Essick                1.40 Review and revise lien claimants order (.9);
                                                  correspond with K&E team re same (.3);
                                                  correspond with M. Eversden re same (.2).
01/18/19 Kevin Scott McClelland              1.40 Review and analyze consignment issues.
01/18/19 Kevin Scott McClelland              0.60 Review and revise lienholders order (.4);
                                                  correspond with Nike re same (.2).
01/18/19 Robert McLellarn                    3.30 Conference and correspond with Company re
                                                  vendor issues.
01/18/19 Kimberly Pageau                     2.10 Research and analyze case law re
                                                  consignment.
01/18/19 Steven N. Serajeddini               1.90 Correspond and conference with K&E team,
                                                  Company re chapter 11 filing (1.4); review
                                                  and analyze issues re same (.3); review and
                                                  revise documents re same (.2).
01/18/19 Wayne E. Williams                   0.20 Correspond with J. Dickson re trustee
                                                  resignation.
01/19/19 Travis M. Bayer                     0.60 Review and analyze vendor contracts (.4);
                                                  correspond with K&E team re same (.2).
01/19/19 Wayne E. Williams                   0.70 Review and analyze trustee succession
                                                  provisions in indenture (.5); correspond with
                                                  S. Buckna re same (.2).
01/20/19 Jack Murray                         2.00 Research re reclamation issues.
01/20/19 Kimberly Pageau                     5.60 Research case law re consignment (3.8);
                                                  compile re same (1.6); correspond with K&E
                                                  team re same (.2).
01/21/19 Travis M. Bayer                     0.80 Telephone conferences with K. McClelland re
                                                  vendor issues (.2); review and analyze same
                                                  (.2); correspond with BRG re payment issues
                                                  (.2); review and analyze same (.2).
01/21/19 Library Factual Research            0.70 Provide parallel statute for CA from NE IP
                                                  Regs.
01/21/19 Kevin Scott McClelland              0.80 Review and analyze consignment research.
01/21/19 Robert McLellarn                    2.00 Review vendor amendment agreements (1.7);
                                                  correspond with Company re same (.3).
01/21/19 Jack Murray                         1.30 Revise analysis re reclamation issues.
01/21/19 Jack Murray                         6.50 Review and analyze precedent re reclamation
                                                  issues (5.0); draft memorandum re same (1.5).

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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-10
Business Operations & Vendor Issues

Date     Name                              Hours Description
01/22/19 Travis M. Bayer                    1.00 Conferences with vendors' counsel re
                                                 inquiries (.3); correspond with K. McClelland
                                                 re same (.1); telephone conference with same
                                                 re same (.2); review and analyze issues re
                                                 same (.4).
01/22/19 Whitney Fogelberg                  2.80 Conference and correspond with K&E team
                                                 re vendor issues (.8); correspond with BRG re
                                                 same (.5); review and analyze reclamation
                                                 demands (1.5).
01/22/19 Kevin Scott McClelland             0.80 Correspond with multiple parties re vendor
                                                 issues.
01/23/19 Travis M. Bayer                    1.50 Review and revise vendor stipulation, motion
                                                 (.6); office conferences with K&E team re
                                                 same (.2); telephone conferences with vendor
                                                 re same (.2); telephone conferences with OTB
                                                 re same (.2); review and analyze vendor
                                                 issues, pleadings (.2); correspond with K&E
                                                 team re same (.1).
01/23/19 Shanan Terale Essick               3.10 Draft and revise reclamation demand response
                                                 letter (1.9); review and analyze precedent and
                                                 filing documents (.8); correspond and
                                                 telephone conference with K&E team re same
                                                 (.3); correspond with J. Niemeier re same (.1).
01/23/19 Whitney Fogelberg                  2.20 Conference and correspond with K&E team
                                                 re vendor issues (.9); correspond with BRG re
                                                 same (.9); review and analyze reclamation
                                                 demands (.4).
01/23/19 Jack Murray                        2.70 Review and analyze precedent re equitable
                                                 claims (1.8); correspond with K&E team re
                                                 summary of findings (.9).
01/23/19 Kimberly Pageau                    5.10 Research case law re consignment (4.0);
                                                 compile same (.6); correspond with K&E
                                                 team re same (.5).
01/24/19 Travis M. Bayer                    1.60 Review and revise vendor stipulation (.4);
                                                 office conference with Company re same (.1);
                                                 review and analyze agreement re same (.2);
                                                 telephone conference with OTB re same (.1);
                                                 telephone conference with vendor re same
                                                 (.2); review and analyze vendor issues,
                                                 inquiries (.3); research re same (.3).
01/24/19 Shanan Terale Essick               1.20 Review and revise reclamation letter (.3);
                                                 revise tracker re same (.5); correspond with
                                                 vendor re same (.4).


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Business Operations & Vendor Issues

Date     Name                              Hours Description
01/25/19 Travis M. Bayer                    1.70 Telephone conferences with K&E team, OTB
                                                 re vendor issues, stipulation (.3); telephone
                                                 conferences with vendor re same (.3); review
                                                 and revise stipulation (.6); telephone
                                                 conferences with S. Serajeddini re same (.2);
                                                 review and analyze vendor issues, inquiries
                                                 (.3).
01/25/19 Shanan Terale Essick               5.20 Draft responses to reclamation demands (4.1);
                                                 correspond and conference with K&E team re
                                                 same (.9); correspond and telephone
                                                 conference with J. Cox re same (.2).
01/25/19 Whitney Fogelberg                  2.20 Conference and correspond with K&E team
                                                 re vendor issues (.4); review and analyze
                                                 reclamation demands (1.8).
01/25/19 Robert McLellarn                   0.70 Telephone conferences with various vendor
                                                 counsel re post-petition contracts and
                                                 services.
01/26/19 Travis M. Bayer                    1.30 Correspond with vendor re stipulation, motion
                                                 to approve (.1); review and revise same (.3);
                                                 telephone conference with Creditors'
                                                 Committee re same (.3); correspond with
                                                 same re same (.1); telephone conference with
                                                 McGrath re same (.2); correspond with K&E
                                                 team re same, resolved objections (.3).
01/28/19 Travis M. Bayer                    1.10 Correspond with vendors re payment issues
                                                 (.2); correspond with BRG re same (.1);
                                                 review and analyze same (.4); research re
                                                 same (.2); telephone conferences with
                                                 Company re same (.1); correspond with K&E
                                                 team re vendor stipulation (.1).
01/28/19 Shanan Terale Essick               2.90 Review and analyze reclamation demand
                                                 letters (.9); draft responses re same (1.7);
                                                 telephone conference and correspond with C.
                                                 Barns re lien claimants (.3).
01/28/19 Kevin Scott McClelland             0.60 Review and analyze reclamation demands
                                                 (.4); correspond with S. Essick re same (.2).
01/28/19 Patrick J. Nash Jr., P.C.          0.70 Telephone conference with attorney for
                                                 Westex Global re claim (.2); review and
                                                 analyze correspondence from Westex attorney
                                                 re same (.1); follow-up re Westex issues (.3);
                                                 review and analyze correspondence from
                                                 Sauder Woodworking re reclamation claim
                                                 (.1).


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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-10
Business Operations & Vendor Issues

Date     Name                              Hours Description
01/29/19 Travis M. Bayer                    0.90 Telephone conference with K&E team, BRG
                                                 re vendor issues (.3); review and analyze
                                                 same (.4); correspond with Company re
                                                 vendor contracts (.2).
01/29/19 Shanan Terale Essick               6.30 Review, analyze and draft reclamation and
                                                 lien claim response letters (5.0); correspond
                                                 with K&E team and creditors re same (1.3).
01/29/19 Kevin Scott McClelland             6.30 Correspond with multiple parties re vendor
                                                 issues (2.4); review and analyze issues re
                                                 same (3.9).
01/29/19 Patrick J. Nash Jr., P.C.          0.20 Analyze Westex Global claim.
01/30/19 Travis M. Bayer                    0.50 Review and analyze vendor issues (.3);
                                                 correspond with Company re same (.1);
                                                 correspond with K&E team re same (.1).
01/30/19 Shanan Terale Essick               0.30 Correspond with K&E team re reclamation
                                                 response letters.
01/30/19 Kevin Scott McClelland             2.60 Correspond with multiple parties re vendor
                                                 issues (.9); analyze issues re same (1.7).
01/30/19 Robert McLellarn                   0.80 Telephone conference with counsel for
                                                 Gordon Brothers re vendor inquiries (.5);
                                                 correspond with Company re same (.3).
01/30/19 Patrick J. Nash Jr., P.C.          0.10 Review correspondence from Must Garment,
                                                 vendor, re shipping claim.
01/31/19 Travis M. Bayer                    0.40 Correspond with vendors re issues (.3);
                                                 correspond with BRG re same (.1).
01/31/19 Kevin Scott McClelland             1.70 Correspond with multiple parties re vendor
                                                 issues (1.1); analyze issues re same (.6).

Total                                      125.90




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February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025815
                                                                                         Client Matter: 26313-11

In the Matter of Case Administration




For legal services rendered through January 31, 2019
(see attached Description of Legal Services for detail)                                                                        $ 80,529.50
Total legal services rendered                                                                                                  $ 80,529.50




  Beijing   Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-11
Case Administration




                                      Summary of Hours Billed

Name                                                      Hours        Rate         Amount
Travis M. Bayer                                             5.90   1,090.00         6,431.00
Ryan Besaw                                                  4.70     325.00         1,527.50
Davion Chism                                                4.20     705.00         2,961.00
James B. Dickson                                            3.50     920.00         3,220.00
Shanan Terale Essick                                        5.20     705.00         3,666.00
Whitney Fogelberg                                          10.60     995.00        10,547.00
Julia R. Foster                                             8.20     325.00         2,665.00
Douglas C. Gessner, P.C.                                    1.00   1,595.00         1,595.00
Shannon L. Gonyou                                           0.50     595.00           297.50
Stephen C. Hackney, P.C.                                    2.00   1,465.00         2,930.00
Cole Wesley Harlan                                          2.20     705.00         1,551.00
Andrew Idrizovic                                            2.20   1,155.00         2,541.00
Jeremy S. Liss, P.C.                                        1.00   1,525.00         1,525.00
Sarah E. Loiselle                                           1.40     595.00           833.00
Jeffery Lula                                                1.00   1,095.00         1,095.00
Kevin Scott McClelland                                      4.10     805.00         3,300.50
Robert McLellarn                                            4.40     805.00         3,542.00
Amanda Mitchell                                             0.30     360.00           108.00
Jack Murray                                                 7.20     595.00         4,284.00
Patrick J. Nash Jr., P.C.                                   0.80   1,565.00         1,252.00
Carrie Therese Oppenheim                                    0.20     430.00            86.00
Kimberly Pageau                                            16.90     595.00        10,055.50
Madeleine C. Parish                                         6.20     705.00         4,371.00
Jennifer Pepin                                              1.00   1,175.00         1,175.00
Daniel Rudewicz                                             7.00     920.00         6,440.00
Laura Saal                                                  1.30     430.00           559.00
Jenna Marie Stupar                                          1.00     885.00           885.00
Dan Varn                                                    4.10     265.00         1,086.50

TOTALS                                                    108.10                 $ 80,529.50




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-11
Case Administration



                                    Description of Legal Services

Date     Name                              Hours Description
01/16/19 Jack Murray                        0.30 Correspond with S. Serajeddini re status
                                                 issues.
01/16/19 Carrie Therese Oppenheim           0.20 Correspond with R. Besaw re attorney pro hac
                                                 vice admission requirements.
01/16/19 Kimberly Pageau                    1.10 Review and analyze motions and compile
                                                 chart of critical dates re case administration.
01/17/19 Travis M. Bayer                    1.30 Telephone conferences with K&E team re
                                                 work in process (.4); telephone conferences
                                                 with working group re same (.6); correspond
                                                 with McGrath re hearing dates, logistics (.3).
01/17/19 Ryan Besaw                         1.10 Correspond with Prime Clerk re pro hac vice
                                                 matters (.2); update calendar re upcoming
                                                 hearings (.4); prepare daily docket update (.5).
01/17/19 Ryan Besaw                         0.80 Prepare reference materials re first day filings
                                                 and voluntary petitions.
01/17/19 James B. Dickson                   0.50 Telephone conference with K&E team re
                                                 works in process.
01/17/19 Shanan Terale Essick               1.00 Review and analyze first day motions re
                                                 notice requirements (.4); correspond with
                                                 K&E team re calendar for same (.6).
01/17/19 Whitney Fogelberg                  2.10 Telephone conference re K&E team update
                                                 (.5); telephone conference with Company and
                                                 advisors re case update (.8); telephone
                                                 conference with K&E team re restructuring
                                                 work in process (.8).
01/17/19 Andrew Idrizovic                   0.50 Telephone conference with K&E team re
                                                 work in process.
01/17/19 Kevin Scott McClelland             1.10 Telephone conference with K&E team re
                                                 priority workstreams (.3); telephone
                                                 conference with Company, advisors re same
                                                 (.3); review and revise list re same (.5).
01/17/19 Robert McLellarn                   1.00 Telephone conferences with K&E team re
                                                 priority workstreams.
01/17/19 Jack Murray                        1.40 Prepare for and attend telephone conferences
                                                 with K&E team re work in process.




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-11
Case Administration

Date     Name                              Hours Description
01/17/19 Kimberly Pageau                    4.40 Review and analyze motions and compile
                                                 chart of critical dates re case administration
                                                 (3.6); correspond with K&E team and update
                                                 work in process charts (.3); telephone
                                                 conference with K&E team and Company re
                                                 status update (.5).
01/17/19 Jennifer Pepin                     1.00 Prepare for and telephone conference with
                                                 K&E team re works in process.
01/17/19 Daniel Rudewicz                    1.20 Telephone conference with K&E team re all-
                                                 groups call (.4); telephone conference with
                                                 K&E team, Company, HL re update call (.5);
                                                 review and revise work in process document
                                                 (.2); correspond with K. Pageau re same (.1).
01/17/19 Dan Varn                           2.30 Review and circulate first day hearing
                                                 transcript precedent (1.1); update case list
                                                 serve re change in attorneys (.5); create binder
                                                 re case materials for attorney review (.7).
01/18/19 Travis M. Bayer                    0.80 Office conference with K&E team re work in
                                                 process (.6); review and revise tracker re
                                                 same (.2).
01/18/19 Ryan Besaw                         0.80 Prepare reference materials re first day filings
                                                 (.6); review, revise pleading template (.2).
01/18/19 Davion Chism                       1.00 Prepare for and attend telephone conference
                                                 re work in process.
01/18/19 Whitney Fogelberg                  0.80 Telephone conference with K&E team re
                                                 work in process.
01/18/19 Julia R. Foster                    3.40 Conference with K&E team re work in
                                                 process (1.0); prepare Nebraska local rule
                                                 minibooks (.5); compile Gordmans hearing
                                                 audio files for transcribing (1.0); correspond
                                                 with Veritext re same (.9).
01/18/19 Stephen C. Hackney, P.C.           2.00 Prepare for and attend conference with K&E
                                                 team.
01/18/19 Cole Wesley Harlan                 1.10 Telephone conference with K&E team re
                                                 work in process.
01/18/19 Kevin Scott McClelland             0.50 Telephone conference with K&E team re
                                                 priority workstreams.
01/18/19 Robert McLellarn                   0.70 Prepare for and telephone conference with
                                                 K&E team re work in process.
01/18/19 Jack Murray                        1.50 Prepare for and telephone conference with
                                                 K&E team re priority workstreams.



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Case Administration

Date     Name                              Hours Description
01/18/19 Kimberly Pageau                    2.20 Revise critical dates list (.4); review and
                                                 analyze Nebraska local bankruptcy rules (.3);
                                                 correspond with K&E team re same (.3);
                                                 prepare for and telephone conference with
                                                 K&E team re work in process (1.2).
01/18/19 Madeleine C. Parish                1.20 Prepare for and attend telephone conference
                                                 with K&E team re work in process.
01/18/19 Daniel Rudewicz                    0.70 Telephone conference with K&E team re
                                                 work in process.
01/18/19 Dan Varn                           1.30 Review and update list serve list for attorney
                                                 review (.5); review, update and circulate
                                                 pleading template for attorney review (.5);
                                                 compile and circulate first day orders for
                                                 attorney review (.3).
01/19/19 Patrick J. Nash Jr., P.C.          0.40 Review and analyze case status.
01/21/19 Travis M. Bayer                    0.50 Telephone conferences with K&E team re
                                                 work in process.
01/21/19 Davion Chism                       0.60 Prepare for and attend telephone conference
                                                 with K&E team re work in process.
01/21/19 James B. Dickson                   0.50 Telephone conference with K&E team re
                                                 status update call.
01/21/19 Shanan Terale Essick               1.00 Conferences with K&E team re work in
                                                 process.
01/21/19 Whitney Fogelberg                  1.10 Telephone conference with all K&E teams re
                                                 status update (.5); conference with K&E team
                                                 re work in process (.6).
01/21/19 Julia R. Foster                    0.80 Correspond with K&E team re case deadlines.
01/21/19 Cole Wesley Harlan                 0.50 Telephone conference with K&E team re
                                                 work in process.
01/21/19 Jack Murray                        1.00 Telephone conference with K&E team re
                                                 priority work streams (.5); telephone
                                                 conference with K&E team re work in process
                                                 (.5).
01/21/19 Kimberly Pageau                    1.60 Prepare for and attend conferences with K&E
                                                 teams.
01/21/19 Madeleine C. Parish                1.60 Prepare for and attend telephone conferences
                                                 with K&E team re case update.
01/21/19 Daniel Rudewicz                    0.50 Telephone conference with K&E team re all
                                                 groups call.
01/22/19 Travis M. Bayer                    0.30 Attend telephone conference with K&E team
                                                 re work in process (partial).


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Case Administration

Date     Name                              Hours Description
01/22/19 Ryan Besaw                         0.60 Review, revise pleading template (.2); prepare
                                                 daily docket update (.2); arrange attorney
                                                 filing updates (.2).
01/22/19 Whitney Fogelberg                  0.80 Telephone conference with Company and
                                                 advisors re case update.
01/22/19 Jeremy S. Liss, P.C.               1.00 Telephone conferences with K&E team re
                                                 status update.
01/22/19 Sarah E. Loiselle                  0.20 All-hands telephone conference re status
                                                 update.
01/22/19 Jack Murray                        0.30 Attend telephone conference with K&E team
                                                 re priority work streams.
01/22/19 Kimberly Pageau                    1.20 Review and revise priority workstream (.3);
                                                 correspond with K&E team re same (.2);
                                                 prepare for and attend update telephone
                                                 conference with K&E team and Company
                                                 (.7).
01/22/19 Dan Varn                           0.50 Review case status re current workstreams.
01/23/19 Travis M. Bayer                    0.30 Telephone conferences with working group re
                                                 work in process.
01/23/19 Julia R. Foster                    0.90 Correspond with Veritext re transcription of
                                                 Nebraska hearing transcript precedent.
01/24/19 Travis M. Bayer                    0.60 Office conference with K&E team re work in
                                                 process.
01/24/19 Ryan Besaw                         0.20 Prepare daily docket update.
01/24/19 Davion Chism                       1.00 Telephone conference with K&E teams re
                                                 work in process.
01/24/19 James B. Dickson                   1.00 Telephone conference with K&E team re
                                                 status update.
01/24/19 Shanan Terale Essick               2.10 Conference with K&E team re work in
                                                 process (.9); telephone conference with K&E
                                                 team and J. Niemeier re case status (.9);
                                                 review and revise conference notes re same
                                                 (.1); correspond with K&E team re same (.2).
01/24/19 Whitney Fogelberg                  3.20 Telephone conference with K&E teams re
                                                 case status (.5); telephone conference with
                                                 Company and advisors re same (.8); prepare
                                                 for and attend conference with K&E team re
                                                 work in process (1.0); telephone conference
                                                 with local counsel re case issues (.9).
01/24/19 Julia R. Foster                    1.00 Prepare for and participate in conference with
                                                 K&E team re work in process.


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Case Administration

Date     Name                              Hours Description
01/24/19 Shannon L. Gonyou                  0.50 Telephone conference with K&E team re
                                                 priority workstreams.
01/24/19 Sarah E. Loiselle                  0.50 Telephone conference with K&E team re
                                                 status.
01/24/19 Jeffery Lula                       0.60 Telephone conference with K&E re case
                                                 status.
01/24/19 Kevin Scott McClelland             1.00 Conference and correspond with K&E team
                                                 re priority work streams.
01/24/19 Robert McLellarn                   0.80 Conference with K&E team re work in
                                                 process.
01/24/19 Jack Murray                        1.00 Prepare for and attend telephone conference
                                                 with K&E team re work in process.
01/24/19 Kimberly Pageau                    3.20 Review and revise work in process charts (.3);
                                                 correspond with K&E team re same (.3);
                                                 prepare for and attend conference with K&E
                                                 team (.8); prepare for and attend conference
                                                 with K&E team (1.0); prepare for and attend
                                                 conference with K&E team and Company
                                                 (.8).
01/24/19 Madeleine C. Parish                1.70 Telephone conference with all teams re status
                                                 update (.7); prepare for and attend telephone
                                                 conference with K&E team (1.0).
01/24/19 Daniel Rudewicz                    1.80 Telephone conference with K&E team re all
                                                 groups call (.5); telephone conference with
                                                 Company, HL, BRG, K&E team re update
                                                 call (.5); telephone conference with K&E
                                                 team re work in process (.8).
01/24/19 Jenna Marie Stupar                 0.50 Telephone conference with team re priority
                                                 workstreams.
01/25/19 Ryan Besaw                         0.60 Arrange attorney ECF docket updates (.3);
                                                 prepare daily docket update. (.3).
01/25/19 Douglas C. Gessner, P.C.           1.00 Analyze case administration issues.
01/25/19 Robert McLellarn                   0.50 Correspond with Prime Clerk re noticing of
                                                 recently filed pleadings.
01/25/19 Amanda Mitchell                    0.30 Organize vendor agreements.
01/28/19 Travis M. Bayer                    0.60 Prepare for and participate in telephone
                                                 conferences with K&E team re work in
                                                 process (.4); review and revise tracker re
                                                 same (.2).
01/28/19 Ryan Besaw                         0.30 Prepare daily docket update (.2); correspond
                                                 with K&E team re first day transcript (.1).


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Case Administration

Date     Name                              Hours Description
01/28/19 Davion Chism                       0.30 Telephone conference with K&E team re
                                                 work in process.
01/28/19 James B. Dickson                   0.50 Prepare for and participate in all hands
                                                 telephone conference.
01/28/19 Shanan Terale Essick               0.20 Correspond with K&E team re work in
                                                 process meetings.
01/28/19 Whitney Fogelberg                  0.30 Telephone conference with K&E teams re
                                                 case status (partial).
01/28/19 Julia R. Foster                    0.40 Correspond with working group re court dial
                                                 in information for January 28, 2019 hearing.
01/28/19 Jeffery Lula                       0.40 Telephone conference with K&E team re case
                                                 status.
01/28/19 Kevin Scott McClelland             0.50 Prepare for and participate in telephone
                                                 conference with K&E team re priority
                                                 workstreams.
01/28/19 Robert McLellarn                   0.40 Telephone conference with K&E team re
                                                 work in process.
01/28/19 Jack Murray                        0.40 Attend telephone conference with K&E team
                                                 re work in process.
01/28/19 Kimberly Pageau                    0.40 Review and revise work in process charts (.3);
                                                 correspond with K&E team re same (.1).
01/28/19 Madeleine C. Parish                0.90 Prepare for and attend telephone conference
                                                 with K&E team re work in process.
01/28/19 Daniel Rudewicz                    0.30 Telephone conference with K&E team re case
                                                 status.
01/29/19 Travis M. Bayer                    0.60 Telephone conferences with working group re
                                                 case status, open workstreams (.4); review
                                                 and revise tracker re same (.2).
01/29/19 Ryan Besaw                         0.20 Prepare daily docket update.
01/29/19 Davion Chism                       0.80 Prepare for and attend telephone conference
                                                 with K&E team re work in process.
01/29/19 Shanan Terale Essick               0.90 Prepare for and attend conference with K&E
                                                 team re work in process.
01/29/19 Whitney Fogelberg                  1.30 Telephone conference with advisors and
                                                 Company re case status (.4); prepare for and
                                                 participate in conference with K&E team re
                                                 work in process (.9).
01/29/19 Julia R. Foster                    1.30 Correspond and coordinate K&E WIP
                                                 meeting with W. Fogelberg and T. Bayer (.6);
                                                 conference with K&E team re work in process
                                                 (.7).

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Case Administration

Date     Name                              Hours Description
01/29/19 Julia R. Foster                    0.20 Compile precedent hearing transcripts.
01/29/19 Cole Wesley Harlan                 0.60 Prepare for and attend telephone conference
                                                 with K&E team re work in process.
01/29/19 Andrew Idrizovic                   0.50 Telephone conference with Company re case
                                                 proceedings and issues.
01/29/19 Kevin Scott McClelland             1.00 Telephone conferences with K&E team re
                                                 priority workstream and prepare for same.
01/29/19 Robert McLellarn                   1.00 Telephone conference with K&E team, BRG
                                                 and client re status and strategy (.5);
                                                 telephone conference with K&E team re work
                                                 in process (.5).
01/29/19 Jack Murray                        1.30 Prepare for and attend telephone conference
                                                 with K&E team re work in process (.8);
                                                 telephone conference with Company, HL,
                                                 BRG and K&E team re case updates (.5).
01/29/19 Kimberly Pageau                    1.70 Review and revise work in process charts (.3);
                                                 correspond with K&E team re same (.2);
                                                 prepare for and telephone conference with
                                                 Company (.6); prepare for and attend work in
                                                 process conference with K&E team (.6).
01/29/19 Daniel Rudewicz                    1.10 Telephone conference with HL, BRG,
                                                 Company and K&E team re update (.4);
                                                 prepare for and participate in telephone
                                                 conference with K&E team re work in process
                                                 (.7).
01/29/19 Laura Saal                         1.30 Participate in telephone conference with K&E
                                                 team re work in process.
01/30/19 Travis M. Bayer                    0.30 Telephone conference with working group re
                                                 work in process.
01/30/19 Julia R. Foster                    0.20 Compile precedent hearing transcripts.
01/30/19 Daniel Rudewicz                    0.20 Correspond with R. McLellarn re scheduling
                                                 issues.
01/31/19 Travis M. Bayer                    0.60 Telephone conferences with K&E team re
                                                 work in process (partial) (.3); telephone
                                                 conference with working group re same (.3).
01/31/19 Ryan Besaw                         0.10 Prepare daily docket update.
01/31/19 Davion Chism                       0.50 Telephone conference with K&E team re case
                                                 update.
01/31/19 James B. Dickson                   1.00 Telephone conferences with K&E team and
                                                 Company re case update.



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Case Administration

Date     Name                              Hours Description
01/31/19 Whitney Fogelberg                  1.00 Telephone conference with K&E teams re
                                                 case update (.5); telephone conference with
                                                 Company and advisors re same (.5).
01/31/19 Andrew Idrizovic                   1.20 Telephone conference with K&E team (.5);
                                                 telephone conference with Company re case
                                                 updates (.7).
01/31/19 Sarah E. Loiselle                  0.70 Telephone conference with K&E team re case
                                                 update.
01/31/19 Patrick J. Nash Jr., P.C.          0.40 Review status of case and next steps.
01/31/19 Kimberly Pageau                    1.10 Prepare for and attend telephone conference
                                                 with K&E teams (.6); prepare for and attend
                                                 telephone conference with Company (.5).
01/31/19 Madeleine C. Parish                0.80 Telephone conference with K&E team re case
                                                 update.
01/31/19 Daniel Rudewicz                    1.20 Telephone conference with K&E team re case
                                                 status (.5); telephone conference with BRG,
                                                 HL, Company and K&E team re update (.7).
01/31/19 Jenna Marie Stupar                 0.50 Prepare for and participate in telephone
                                                 conference with K&E team re status update.

Total                                      108.10




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                                                                  300 North LaSalle
                                                                  Chicago, IL 60654

                                                                   FEIN XX-XXXXXXX




February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025814
                                                                                         Client Matter: 26313-12

In the Matter of Cash Collateral, DIP Financing




For legal services rendered through January 31, 2019
(see attached Description of Legal Services for detail)                                                                      $ 117,000.50
Total legal services rendered                                                                                                $ 117,000.50




  Beijing   Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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Cash Collateral, DIP Financing




                                      Summary of Hours Billed

Name                                                      Hours        Rate         Amount
Travis M. Bayer                                            14.10   1,090.00        15,369.00
Ryan Besaw                                                  1.40     325.00           455.00
James B. Dickson                                           16.10     920.00        14,812.00
Uzo Dike                                                    1.30     400.00           520.00
Whitney Fogelberg                                          12.10     995.00        12,039.50
Stephen C. Hackney, P.C.                                    7.50   1,465.00        10,987.50
Chad J. Husnick, P.C.                                       1.50   1,515.00         2,272.50
Andrew Idrizovic                                            4.80   1,155.00         5,544.00
Sarah E. Loiselle                                          13.80     595.00         8,211.00
Jeffery Lula                                                7.80   1,095.00         8,541.00
Kevin Scott McClelland                                      0.60     805.00           483.00
Robert McLellarn                                           16.30     805.00        13,121.50
Patrick J. Nash Jr., P.C.                                   0.20   1,565.00           313.00
Kimberly Pageau                                             0.90     595.00           535.50
Nicole Saucedo                                              0.60     430.00           258.00
Steven N. Serajeddini                                      15.30   1,255.00        19,201.50
Jenna Marie Stupar                                          4.90     885.00         4,336.50

TOTALS                                                    119.20                $ 117,000.50




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Cash Collateral, DIP Financing



                                    Description of Legal Services

Date     Name                              Hours Description
01/16/19 Travis M. Bayer                    1.50 Telephone conferences with K&E team re
                                                 DIP (.4); telephone conferences with OTB re
                                                 DIP (.7); review and revise documentation re
                                                 same (.4).
01/16/19 Ryan Besaw                         0.40 Prepare DIP materials re first day hearing.
01/16/19 James B. Dickson                   4.70 Review and revise draft information
                                                 certificate, including correspondence re letters
                                                 of credit and credit card agreements (.9);
                                                 review and finalize ratification agreement and
                                                 DIP fee letter in advance of filing (1.3);
                                                 review and revise draft DIP exit facility term
                                                 sheet (2.5).
01/16/19 Chad J. Husnick, P.C.              1.50 Review and revise DIP order.
01/16/19 Andrew Idrizovic                   3.00 Review and revise DIP agreement.
01/16/19 Sarah E. Loiselle                  3.20 Review and revise draft of information
                                                 certificate (1.0); correspond with Company re
                                                 supplemental document requests for
                                                 information certificate and schedules to
                                                 ratification agreement (.3); review and
                                                 analyze credit card agreements (.5); draft
                                                 credit card agreement schedule to ratification
                                                 agreement (1.0); review and analyze letter of
                                                 credit schedule to ratification agreement (.4).
01/16/19 Nicole Saucedo                     0.40 Correspond with Company re file-stamped
                                                 UCC-3 financing statements (.1); correspond
                                                 with N. Palazzolo re file stamped UCC-3
                                                 financing statements (.1); assemble executed
                                                 loan documents (.1); correspond with N.
                                                 Palazzolo re items in escrow (.1).
01/17/19 Travis M. Bayer                    1.10 Telephone conference with OTB, K&E team
                                                 re DIP agreement (.3); review and revise
                                                 same (.4); review and revise proposed order
                                                 (.4).
01/17/19 James B. Dickson                   1.50 Review and revise ratification agreement (.8);
                                                 telephone conferences with BRG, K&E team
                                                 and Houlihan re DIP (.7).
01/17/19 Andrew Idrizovic                   1.50 Telephone conference with Company re status
                                                 update (1.0); revise exit term sheet (.5).



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Date     Name                              Hours Description
01/17/19 Sarah E. Loiselle                  1.50 Telephone conference with Otterbourg re
                                                 revisions to ratification agreement (.5);
                                                 review and analyze executed ratification
                                                 agreement and DIP fee letter (1.0).
01/17/19 Robert McLellarn                   4.00 Telephone conferences with working group re
                                                 final ratification agreement (2.0); review and
                                                 revise DIP order (2.0).
01/17/19 Nicole Saucedo                     0.20 Correspond with Company re file-stamped
                                                 UCC-3 financing statements (.1); correspond
                                                 with N. Palazzolo re file stamped UCC-3
                                                 financing statements (.1).
01/18/19 James B. Dickson                   0.50 Finalize, execute and distribute DIP
                                                 ratification agreement (.2); correspond with
                                                 Company re resignation of trustee under
                                                 indenture (.3).
01/21/19 Travis M. Bayer                    0.20 Telephone conference with Spirit re DIP.
01/21/19 James B. Dickson                   1.30 Review and revise draft asset perfection
                                                 presentation (1.1) correspond with Company
                                                 re owned property values (.2).
01/21/19 Whitney Fogelberg                  2.30 Review and analyze perfection issues (.7);
                                                 draft presentation re same (1.6).
01/21/19 Sarah E. Loiselle                  0.90 Review and draft summary re mortgages and
                                                 owned property (.8); correspond with
                                                 Company re mortgages (.1).
01/22/19 Travis M. Bayer                    0.30 Telephone conference with K&E team, OTB
                                                 re DIP issues.
01/22/19 James B. Dickson                   0.70 Correspond with K&E team re DIP issues
                                                 (.2); correspond with Company re lien
                                                 diligence, including reviewing unencumbered
                                                 real property (.5).
01/22/19 Sarah E. Loiselle                  0.30 Review and analyze schedule re owned
                                                 properties (.2); correspond with Company re
                                                 owned properties (.1).
01/23/19 James B. Dickson                   1.30 Review and revise perfection memorandum,
                                                 including reviewing owned/leased real estate.
01/23/19 Sarah E. Loiselle                  0.30 Draft summary chart re owned property.
01/24/19 Travis M. Bayer                    1.10 Telephone conference with K&E team re DIP
                                                 issues (.2); review and analyze agreement re
                                                 same (.2); correspond with BRG re same (.1);
                                                 telephone conference with same re same (.2);
                                                 review and analyze same (.4).



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Cash Collateral, DIP Financing

Date     Name                              Hours Description
01/24/19 James B. Dickson                   2.30 Review and revise perfection/priority status of
                                                 supplier of consignment inventory (.8);
                                                 prepare for and telephone conferences with
                                                 K&E team re DIP issues (.5); review and
                                                 revise draft exhibit to sale order (.5); review
                                                 and comment on updated draft owned real
                                                 estate items (.5).
01/24/19 Sarah E. Loiselle                  0.80 Review list re owned real property.
01/24/19 Kevin Scott McClelland             0.60 Correspond with landlords re DIP language
                                                 (.2); analyze lien issues (.4).
01/25/19 Travis M. Bayer                    1.40 Telephone conferences with OTB, K&E team
                                                 re DIP (.4); telephone conferences with OTB,
                                                 Creditors' Committee, K&E team re same
                                                 (.6); review and analyze issues re same (.2);
                                                 telephone conference with J. Dickson re
                                                 collateral (.2).
01/25/19 James B. Dickson                   1.00 Review and analyze lists of owned real estate
                                                 (.6); telephone conference with S. Loiselle, A.
                                                 Idrizovic re same (.2); telephone conference
                                                 with T. Bayer re collateral (.2).
01/25/19 Whitney Fogelberg                  0.90 Review and revise presentation re perfection
                                                 analysis (.4); correspond with debt finance
                                                 team re same (.5).
01/25/19 Sarah E. Loiselle                  1.00 Review and analyze list of owned property
                                                 (.8); telephone conference with A. Idrizovic
                                                 and J. Dickson re same (.2).
01/25/19 Patrick J. Nash Jr., P.C.          0.20 Review and analyze Creditors' Committee
                                                 asserted basis for reconsideration of DIP
                                                 order.
01/27/19 Sarah E. Loiselle                  1.90 Review and analyze revised list of owned real
                                                 property (.8); draft revised real property
                                                 disclosure schedule to information certificate
                                                 (1.1).
01/28/19 Travis M. Bayer                    1.60 Correspond with K&E team re DIP order,
                                                 inquiries (.3); review and analyze same (.5);
                                                 telephone conferences with OTB re same (.3);
                                                 correspond with OTB re perfection
                                                 documents (.1); review and analyze budget
                                                 (.3); correspond with K&E team re DIP reply
                                                 (.1).
01/28/19 Ryan Besaw                         0.30 Search, distribute DIP order precedent.
01/28/19 James B. Dickson                   0.30 Review and revise updated real property
                                                 information.

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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-12
Cash Collateral, DIP Financing

Date     Name                              Hours Description
01/28/19 Andrew Idrizovic                   0.30 Telephone conference with K&E team re DIP.
01/28/19 Sarah E. Loiselle                  0.80 Review and revise information certificate
                                                 disclosure schedule re owned property.
01/28/19 Jeffery Lula                       3.20 Prepare for DIP hearing with S. Serajeddini
                                                 and S. Spencer.
01/28/19 Robert McLellarn                   1.00 Review and analyze precedent DIP orders for
                                                 consignment language (.7); correspond with
                                                 OTB re DIP language (.3).
01/28/19 Robert McLellarn                   1.50 Review, analyze DIP reply precedent
                                                 materials.
01/28/19 Jenna Marie Stupar                 1.90 Prepare for DIP hearing.
01/29/19 Travis M. Bayer                    0.80 Telephone conference with OTB, K&E team
                                                 re DIP (.4); review and analyze issues re same
                                                 (.2); correspond with Creditors' Committee re
                                                 same (.1); correspond with K&E team re
                                                 same (.1).
01/29/19 Ryan Besaw                         0.70 Draft template re DIP reply (.4); search,
                                                 distribute precedent re same (.3).
01/29/19 James B. Dickson                   0.50 Review and analyze real property scheduling
                                                 items.
01/29/19 Whitney Fogelberg                  1.80 Review and analyze potential DIP issues
                                                 (1.2); telephone conference with Otterbourg
                                                 re DIP (.6).
01/29/19 Stephen C. Hackney, P.C.           4.00 Review relevant pleadings (2.5); prepare for
                                                 and attend conferences with K&E team re
                                                 DIP issues (1.5).
01/29/19 Sarah E. Loiselle                  1.10 Telephone conference with J. Dickson re
                                                 owned property schedules (.2); review and
                                                 revise same (.9).
01/29/19 Robert McLellarn                   1.00 Telephone conference with Otterbourg re
                                                 final DIP order (.6); review proposed
                                                 language re final DIP order (.4).
01/29/19 Steven N. Serajeddini              4.30 Correspond and conference with K&E team,
                                                 Company, lender counsel re DIP issues (2.2);
                                                 review and analyze issues re same (.9);
                                                 review and revise documents re same (1.2).




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-12
Cash Collateral, DIP Financing

Date     Name                              Hours Description
01/30/19 Travis M. Bayer                    2.50 Telephone conferences with K&E team re
                                                 DIP, litigation issues (.4); correspond with
                                                 K&E team re budget reporting (.2); research
                                                 and analyze DIP objections (.4); correspond
                                                 with K&E team re same (.1); telephone
                                                 conference with S. Serajeddini re same (.2);
                                                 review and analyze DIP issues (.6); research
                                                 and analyze same (.4); correspond with K&E
                                                 team re same (.2).
01/30/19 James B. Dickson                   0.50 Review and revise draft real property
                                                 schedule (.3); correspond with Company re
                                                 same (.1); telephone conference with S.
                                                 Loiselle re information certificate (.1).
01/30/19 Uzo Dike                           0.80 Telephone conference with K&E team re
                                                 February DIP hearing and preparation for
                                                 same (.5); assess and review committee's DIP
                                                 issues list for background (.3).
01/30/19 Whitney Fogelberg                  2.80 Review and analyze Creditors' Committee
                                                 DIP issues list (.6); correspond and
                                                 conferences with K&E team re same (1.3);
                                                 correspond with R. McLellarn re DIP
                                                 reporting (.9).
01/30/19 Sarah E. Loiselle                  0.90 Review and analyze property ownership
                                                 documents (.3); review and revise draft of
                                                 owned property schedule to information
                                                 certificate (.5); telephone conference with J.
                                                 Dickson re same (.1).
01/30/19 Robert McLellarn                   4.30 Correspond with W. Fogelberg re DIP
                                                 reporting (.9); correspond with DIP lenders
                                                 and Company re DIP order language (.5);
                                                 review DIP order language (.6); review,
                                                 analyze DIP issues list from Creditors'
                                                 Committee (2.0); correspond with BRG re
                                                 DIP open issues (.3).
01/30/19 Steven N. Serajeddini              4.50 Correspond and conference with K&E team,
                                                 Company, lender counsel re DIP issues (2.4);
                                                 review and analyze issues re same (1.2);
                                                 review and revise documents re same (.9).
01/30/19 Jenna Marie Stupar                 1.20 Review and analyze issues re upcoming DIP
                                                 hearing.




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-12
Cash Collateral, DIP Financing

Date     Name                              Hours Description
01/31/19 Travis M. Bayer                    3.60 Telephone conferences with OTB, K&E team
                                                 re DIP (.7); telephone conferences with K&E
                                                 team re same (.6); review and analyze issues
                                                 re same (.5); correspond with K&E team re
                                                 same (.2); telephone conference with PSZJ re
                                                 same (.1); review and revise DIP proposal
                                                 (.5); review and analyze research re DIP
                                                 issues (.4); review and revise proposed order
                                                 language (.3); review and analyze budget
                                                 issues (.3).
01/31/19 James B. Dickson                   1.50 Telephone conference with J. McGinnity and
                                                 S. Loiselle re owned real estate (.5); review
                                                 and revise owned real estate schedule (1.0).
01/31/19 Uzo Dike                           0.50 Assist J. Lula with preparation of materials
                                                 for S. Spencer examination at DIP hearing.
01/31/19 Whitney Fogelberg                  4.30 Telephone conference with K&E team re DIP
                                                 issues list (.4); correspond with BRG and
                                                 K&E teams re same (2.6); telephone
                                                 conferences with Otterbourg re DIP (1.1);
                                                 telephone conference with counsel to
                                                 Committee and Otterbourg re same (.2).
01/31/19 Stephen C. Hackney, P.C.           3.50 Review and analyze DIP documents and DIP
                                                 budget.
01/31/19 Sarah E. Loiselle                  1.10 Telephone conference with J. McGinnity and
                                                 J. Dickson re property schedule to
                                                 information certificate (.5); review and revise
                                                 same (.6).
01/31/19 Jeffery Lula                       3.30 Analyze filings re DIP motion and draft
                                                 outline re direct examination.
01/31/19 Jeffery Lula                       1.30 Review and revise briefing re sureties and
                                                 DIP facility.
01/31/19 Robert McLellarn                   4.50 Review and analyze DIP issues list (1.0);
                                                 prepare DIP issue responses (1.5); prepare for
                                                 and attend telephone conference with K&E
                                                 team re same (.8); prepare for and attend
                                                 telephone conference with Otterbourg re same
                                                 (.8); correspond with Otterbourg re DIP order
                                                 (.4).
01/31/19 Kimberly Pageau                    0.90 Research issues re bankruptcy code section
                                                 506(c) issues.
01/31/19 Steven N. Serajeddini              6.50 Correspond and conference with K&E team,
                                                 Company, lender counsel re DIP issues (3.4);
                                                 review and analyze issues re same (2.1);
                                                 review and revise documents re same (1.0).
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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-12
Cash Collateral, DIP Financing

Date     Name                              Hours Description
01/31/19 Jenna Marie Stupar                 1.80 Review and analyze briefing and declarations
                                                 re upcoming DIP hearing.

Total                                      119.20




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February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025813
                                                                                         Client Matter: 26313-14

In the Matter of Claims Administration & Objections




For legal services rendered through January 31, 2019
(see attached Description of Legal Services for detail)                                                                         $ 9,377.00
Total legal services rendered                                                                                                   $ 9,377.00




  Beijing   Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-14
Claims Administration & Objections




                                      Summary of Hours Billed

Name                                                      Hours      Rate           Amount
Shanan Terale Essick                                       4.90    705.00           3,454.50
Whitney Fogelberg                                          1.80    995.00           1,791.00
Kevin Scott McClelland                                     2.10    805.00           1,690.50
Kimberly Pageau                                            2.50    595.00           1,487.50
Madeleine C. Parish                                        0.70    705.00             493.50
Daniel Rudewicz                                            0.50    920.00             460.00

TOTALS                                                     12.50                  $ 9,377.00




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-14
Claims Administration & Objections



                                    Description of Legal Services

Date     Name                              Hours Description
01/16/19 Whitney Fogelberg                  0.90 Review and revise bar date motion.
01/17/19 Shanan Terale Essick               2.80 Research and review claims (.2); draft
                                                 analysis of same (2.1); correspond with K&E
                                                 team re claims agent order (.3); research local
                                                 procedures (.2).
01/17/19 Daniel Rudewicz                    0.20 Correspond with clerk re claims
                                                 administration (.1); review and analyze proof
                                                 of claim form (.1).
01/18/19 Shanan Terale Essick               1.30 Telephone conference with clerk re claims
                                                 administration (.6); correspond with K&E
                                                 team re same (.2); revise claims
                                                 administration order (.4); correspond with
                                                 local counsel re same (.1).
01/18/19 Whitney Fogelberg                  0.90 Prepare for and attend telephone conference
                                                 with court clerk re bar date motion and proof
                                                 of claim form.
01/18/19 Kevin Scott McClelland             0.70 Review and revise claims bar date motion.
01/21/19 Kevin Scott McClelland             1.40 Telephone conference with Company re setoff
                                                 issues (.3); draft letter re same (1.1).
01/22/19 Kimberly Pageau                    2.10 Review and revise bar date motion and
                                                 exhibits (1.3); correspond with K&E team re
                                                 same (.5); compile exhibits for local counsel
                                                 re same (.3).
01/22/19 Kimberly Pageau                    0.40 Attend conference with K&E team and clerk
                                                 re bar date order.
01/22/19 Madeleine C. Parish                0.70 Review and analyze bar date order.
01/22/19 Daniel Rudewicz                    0.30 Correspond with clerk re bar date issues (.2);
                                                 telephone conference with clerk re same (.1).
01/25/19 Shanan Terale Essick               0.20 Correspond with BRG and K&E team re lien
                                                 claims.
01/30/19 Shanan Terale Essick               0.60 Correspond with Prime Clerk and local
                                                 counsel re claims administration order (.2);
                                                 telephone conference and correspond with
                                                 K&E team re same (.4).

Total                                       12.50




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February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025812
                                                                                         Client Matter: 26313-15

In the Matter of Corporate & Governance Matters




For legal services rendered through January 31, 2019
(see attached Description of Legal Services for detail)                                                                        $ 13,712.50
Total legal services rendered                                                                                                  $ 13,712.50




  Beijing   Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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Legal Services for the Period Ending January 31, 2019                Invoice Number: 1010025812
Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-15
Corporate & Governance Matters




                                      Summary of Hours Billed

Name                                                      Hours     Rate            Amount
Travis M. Bayer                                            2.40 1,090.00            2,616.00
Whitney Fogelberg                                          3.60 995.00              3,582.00
Jack Murray                                                9.80 595.00              5,831.00
Wayne E. Williams                                          1.30 1,295.00            1,683.50

TOTALS                                                     17.10                 $ 13,712.50




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-15
Corporate & Governance Matters



                                    Description of Legal Services

Date     Name                              Hours Description
01/17/19 Jack Murray                        1.40 Assemble and review board meeting minutes
                                                 (1.2); correspond with T. Bayer re same (.2).
01/23/19 Jack Murray                        3.50 Review and analyze materials and precedent
                                                 re director and officer coverage issues (2.5);
                                                 conference with K. Pageau re same (.4); draft
                                                 memorandum re summary of research (.6).
01/23/19 Wayne E. Williams                  0.60 Review and revise tripartite agreement (.5);
                                                 correspond with S. Buckna re same (.1).
01/24/19 Travis M. Bayer                    1.40 Review and revise board minutes (.7);
                                                 correspond with K&E team re same (.2);
                                                 review and revise board presentation (.3);
                                                 correspond with BRG, K&E team re same
                                                 (.2).
01/24/19 Whitney Fogelberg                  2.80 Draft board presentation (1.4); correspond
                                                 with BRG and Houlihan re same (.4); review
                                                 and revise same (.8); correspond with Board
                                                 re same (.2).
01/24/19 Jack Murray                        2.50 Compile and draft board meeting minutes.
01/24/19 Wayne E. Williams                  0.40 Review and comment on tripartite agreement
                                                 (.3); correspond with S. Buckna re same (.1).
01/25/19 Travis M. Bayer                    1.00 Prepare for and participate in telephone
                                                 conference with board.
01/25/19 Jack Murray                        1.50 Prepare for and attend telephone conference
                                                 with Board to take minutes (1.0); draft and
                                                 summarize minutes of board meeting (.5).
01/25/19 Wayne E. Williams                  0.30 Analyze and comment on revisions to trustee
                                                 tripartite agreement.
01/28/19 Whitney Fogelberg                  0.40 Telephone conference with K&E team re
                                                 special counsel.
01/29/19 Jack Murray                        0.90 Telephone conference with J. Stupar re
                                                 privilege issues in Board materials (.4);
                                                 correspond with S. Serajeddini and J. Stupar
                                                 re same (.5).
01/30/19 Whitney Fogelberg                  0.40 Draft board materials.

Total                                       17.10




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February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025811
                                                                                         Client Matter: 26313-16

In the Matter of Customer, Creditor Communications




For legal services rendered through January 31, 2019
(see attached Description of Legal Services for detail)                                                                        $ 35,832.50
Total legal services rendered                                                                                                  $ 35,832.50




  Beijing   Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-16
Customer, Creditor Communications




                                      Summary of Hours Billed

Name                                                      Hours      Rate           Amount
Travis M. Bayer                                             3.90 1,090.00           4,251.00
Davion Chism                                                1.80 705.00             1,269.00
Shanan Terale Essick                                        0.20 705.00               141.00
Whitney Fogelberg                                          19.10 995.00            19,004.50
Douglas C. Gessner, P.C.                                    0.80 1,595.00           1,276.00
Kevin Scott McClelland                                      6.60 805.00             5,313.00
Robert McLellarn                                            2.10 805.00             1,690.50
Jack Murray                                                 0.60 595.00               357.00
Patrick J. Nash Jr., P.C.                                   0.50 1,565.00             782.50
Daniel Rudewicz                                             1.90 920.00             1,748.00

TOTALS                                                     37.50                 $ 35,832.50




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-16
Customer, Creditor Communications



                                     Description of Legal Services

Date     Name                               Hours Description
01/16/19 Douglas C. Gessner, P.C.            0.80 Review and analyze creditor requests.
01/17/19 Daniel Rudewicz                     1.20 Telephone conference with clerk of the court
                                                  re creditor matrix motion (.3); review and
                                                  revise order re same (.3); correspond with
                                                  Prime Clerk re same (.1); telephone
                                                  conference with U.S. Trustee, K&E team re
                                                  creditor committee (.5).
01/18/19 Patrick J. Nash Jr., P.C.           0.20 Review and analyze U.S. Trustee notice re
                                                  appointment of unsecured Creditors'
                                                  Committee.
01/19/19 Travis M. Bayer                     0.30 Telephone conferences with working group re
                                                  creditors issues.
01/19/19 Whitney Fogelberg                   3.10 Telephone conference with K&E teams and
                                                  Company re Creditors' Committee issues (.6);
                                                  draft correspondence re same (1.5);
                                                  correspond with T. Bayer, S. Serajeddini and
                                                  Company re same (1.0).
01/20/19 Kevin Scott McClelland              1.20 Draft Creditors' Committee presentation re
                                                  unencumbered assets.
01/21/19 Travis M. Bayer                     0.70 Telephone conference with Creditors'
                                                  Committee, K&E team re Creditors'
                                                  Committee formation (.4); review and analyze
                                                  diligence materials re same (.3).
01/21/19 Whitney Fogelberg                   0.60 Telephone conference with counsel to the
                                                  Creditors' Committee re case summary.
01/21/19 Patrick J. Nash Jr., P.C.           0.30 Telephone conference with proposed counsel
                                                  to unsecured Creditors' Committee.
01/22/19 Travis M. Bayer                     0.40 Correspond with K&E team re Creditors'
                                                  Committee diligence materials (.2); review
                                                  and analyze same (.2).
01/24/19 Travis M. Bayer                     0.80 Correspond with Creditors' Committee re
                                                  diligence inquiries (.2); correspond with
                                                  BRG, HL, K&E team re same (.3); review
                                                  and analyze same (.3).
01/24/19 Kevin Scott McClelland              3.30 Prepare for and participate in telephone
                                                  conference with McGrath North, K&E team
                                                  re creditor correspondence (1.0); analyze
                                                  issues re same (1.9); correspond with multiple
                                                  parties re same (.4).

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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-16
Customer, Creditor Communications

Date     Name                              Hours Description
01/24/19 Kevin Scott McClelland             0.30 Review and analyze Creditors' Committee
                                                 bylaws and related issues.
01/25/19 Travis M. Bayer                    0.50 Correspond with Creditors' Committee re
                                                 diligence inquiries (.2); review and analyze
                                                 bylaws (.3).
01/25/19 Davion Chism                       1.80 Analyze and respond to Creditors' Committee
                                                 counsel re questions re tax motion.
01/25/19 Whitney Fogelberg                  2.10 Telephone conference with counsel to
                                                 Creditors' Committee and Otterbourg re DIP
                                                 issues (.6); review and analyze Creditors'
                                                 Committee information requests (1.5).
01/25/19 Kevin Scott McClelland             0.70 Review and revise reclamation responses (.4);
                                                 correspond with K&E team re Creditors'
                                                 Committee requests (.3).
01/25/19 Jack Murray                        0.30 Correspond with W. Fogelberg re Creditors'
                                                 Committee requests.
01/25/19 Daniel Rudewicz                    0.50 Telephone conference with K&E team,
                                                 Otterbourg, PSZJ re committee motion to
                                                 reconsider.
01/26/19 Whitney Fogelberg                  3.20 Review and revise orders re Creditors'
                                                 Committee requests (2.6); conferences and
                                                 correspond with counsel to Creditors'
                                                 Committee re same (.6).
01/27/19 Kevin Scott McClelland             0.30 Correspond with C. Barnes re creditor issues.
01/27/19 Daniel Rudewicz                    0.20 Correspond with vendor's counsel re inquiry
                                                 (.1); correspond with K&E team re same (.1).
01/28/19 Shanan Terale Essick               0.20 Correspond with K&E team re creditors'
                                                 reclamation responses.
01/28/19 Kevin Scott McClelland             0.80 Correspond with Creditors' Committee re first
                                                 day motions.
01/28/19 Robert McLellarn                   1.40 Correspond with BRG re creditor questions
                                                 and open items (1.0); correspond with
                                                 creditors (.4).
01/28/19 Jack Murray                        0.30 Correspond with Company and BRG re
                                                 questions from Creditors' Committee.
01/29/19 Whitney Fogelberg                  4.70 Review and revise orders re Creditors'
                                                 Committee requests (3.5); review and analyze
                                                 additional documents re same (.4);
                                                 conferences and correspond with counsel to
                                                 Creditors' Committee re same (.8).




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-16
Customer, Creditor Communications

Date     Name                              Hours Description
01/30/19 Whitney Fogelberg                  3.50 Review and revise orders re Creditors'
                                                 Committee requests (2.8); conferences and
                                                 correspond with counsel to Creditors'
                                                 Committee re same (.7).
01/30/19 Robert McLellarn                   0.70 Telephone conferences with creditors' counsel
                                                 re adequate assurance and existing contracts.
01/31/19 Travis M. Bayer                    1.20 Review and analyze Creditors' Committee
                                                 comments re motions, orders (.8); correspond
                                                 with K&E team re same (.4).
01/31/19 Whitney Fogelberg                  1.90 Review and revise orders re Creditors'
                                                 Committee requests (1.6); telephone
                                                 conferences and correspond with counsel to
                                                 Creditors' Committee re same (.3).

Total                                       37.50




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February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025810
                                                                                         Client Matter: 26313-17

In the Matter of Disclosure Statement/Plan/Confirmation




For legal services rendered through January 31, 2019
(see attached Description of Legal Services for detail)                                                                        $ 38,000.00
Total legal services rendered                                                                                                  $ 38,000.00




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-17
Disclosure Statement/Plan/Confirmation




                                      Summary of Hours Billed

Name                                                      Hours      Rate           Amount
Travis M. Bayer                                            13.50 1,090.00          14,715.00
Shanan Terale Essick                                        1.00 705.00               705.00
Whitney Fogelberg                                          14.70 995.00            14,626.50
Julia R. Foster                                             1.60 325.00               520.00
Cole Wesley Harlan                                          3.40 705.00             2,397.00
Robert McLellarn                                            2.90 805.00             2,334.50
Jack Murray                                                 2.50 595.00             1,487.50
Daniel Rudewicz                                             0.60 920.00               552.00
Dan Varn                                                    2.50 265.00               662.50

TOTALS                                                     42.70                 $ 38,000.00




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Legal Services for the Period Ending January 31, 2019                Invoice Number: 1010025810
Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-17
Disclosure Statement/Plan/Confirmation



                                    Description of Legal Services

Date     Name                              Hours Description
01/17/19 Travis M. Bayer                    0.60 Telephone conference with BRG, K&E team
                                                 re disclosure statement (.3); review and
                                                 analyze same (.3).
01/18/19 Travis M. Bayer                    1.60 Review and revise disclosure statement (.5);
                                                 correspond with BRG re same (.2); telephone
                                                 conference with BRG re same (.3); telephone
                                                 conference with landlord, S. Serajeddini re
                                                 plan issues (.3); review and analyze same (.3).
01/18/19 Travis M. Bayer                    0.80 Telephone conference with K&E team re sale
                                                 process (.5); review and analyze issues re
                                                 same (.3).
01/18/19 Whitney Fogelberg                  4.40 Review and analyze liquidation analysis and
                                                 precedent (2.1); review and analyze plan and
                                                 disclosure statement (2.3).
01/18/19 Dan Varn                           1.00 Draft exclusivity extension motion and order.
01/19/19 Jack Murray                        2.50 Revise motion to extend exclusivity deadline.
01/20/19 Travis M. Bayer                    1.00 Review and revise disclosure statement (.6);
                                                 correspond with W. Fogelberg re same (.1);
                                                 telephone conference with same re same (.3).
01/21/19 Travis M. Bayer                    2.00 Telephone conference with BRG, K&E team
                                                 re disclosure statement (.4); review and revise
                                                 same (.7); review and analyze precedent re
                                                 same (.4); telephone conferences with K&E
                                                 team re same (.3); correspond with K&E team
                                                 re same (.2).
01/21/19 Whitney Fogelberg                  5.60 Telephone conference with K&E and BRG re
                                                 liquidation analysis (1.4); draft liquidation
                                                 analysis (3.6); correspond with T. Bayer re
                                                 same (.6).
01/22/19 Travis M. Bayer                    1.70 Telephone conference with BRG, HL, K&E
                                                 team re disclosure statement (.6); review and
                                                 revise same (.6); review and analyze
                                                 precedent re same (.4); correspond with K&E
                                                 team re same (.1).
01/22/19 Whitney Fogelberg                  2.60 Telephone conference with BRG re
                                                 liquidation analysis (.5); review and revise
                                                 same (2.1).




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Legal Services for the Period Ending January 31, 2019                Invoice Number: 1010025810
Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-17
Disclosure Statement/Plan/Confirmation

Date     Name                              Hours Description
01/22/19 Robert McLellarn                   0.90 Telephone conference with K&E team, BRG
                                                 and Houlihan re disclosure statement exhibits
                                                 (.4); review and analyze materials re same
                                                 (.5).
01/23/19 Travis M. Bayer                    1.60 Telephone conference with working group re
                                                 disclosure statement, plan (.6); review and
                                                 revise same (.5); review and analyze
                                                 precedent re same (.3); office conference with
                                                 K&E team re same (.2).
01/23/19 Robert McLellarn                   2.00 Review and revise disclosure statement.
01/23/19 Dan Varn                           1.50 Review, compile and circulate case precedent
                                                 re extension motion for attorney review (.5);
                                                 draft extension motion for attorney review
                                                 (1.0).
01/24/19 Travis M. Bayer                    0.70 Review and revise disclosure statement (.4);
                                                 correspond with BRG re same (.2);
                                                 correspond with K&E team re same (.1).
01/25/19 Travis M. Bayer                    0.20 Telephone conference with BRG re disclosure
                                                 statement.
01/25/19 Shanan Terale Essick               0.80 Draft confirmation order.
01/25/19 Julia R. Foster                    1.60 Draft and prepare shell re confirmation order.
01/28/19 Travis M. Bayer                    1.30 Telephone conference with BRG, K&E team
                                                 re disclosure statement (.6); review and
                                                 analyze same, exhibits re same (.4); telephone
                                                 conference with S. Serajeddini re same (.2);
                                                 review and analyze scheduling re same (.1).
01/28/19 Whitney Fogelberg                  2.10 Telephone conference with BRG re
                                                 liquidation analysis (.4); review and revise
                                                 disclosure statement re same (1.7).
01/29/19 Travis M. Bayer                    1.00 Telephone conference with S. Serajeddini re
                                                 plan, disclosure statement (.2); correspond
                                                 with K&E team re same (.3); review and
                                                 revise same (.3); research and analyze same
                                                 (.2).
01/30/19 Travis M. Bayer                    1.00 Correspond with K&E team re plan,
                                                 disclosure statement (.2); review and analyze
                                                 same (.4); review and analyze precedent re
                                                 same (.4).
01/30/19 Shanan Terale Essick               0.20 Telephone conference and correspond with
                                                 K&E team re plan precedent research.
01/30/19 Cole Wesley Harlan                 3.40 Research and analyze plan classification
                                                 issues (2.1); draft summary re same (1.3).


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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-17
Disclosure Statement/Plan/Confirmation

Date     Name                              Hours Description
01/30/19 Daniel Rudewicz                    0.60 Review and analyze issues re plan (.4);
                                                 telephone conference with K. McClellan re
                                                 same (.1); correspond with S. Essick re same
                                                 (.1).

Total                                       42.70




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February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025809
                                                                                         Client Matter: 26313-18

In the Matter of Employee Issues




For legal services rendered through January 31, 2019
(see attached Description of Legal Services for detail)                                                                         $ 6,590.00
Total legal services rendered                                                                                                   $ 6,590.00




  Beijing   Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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Legal Services for the Period Ending January 31, 2019                Invoice Number: 1010025809
Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-18
Employee Issues




                                      Summary of Hours Billed

Name                                                      Hours     Rate            Amount
Travis M. Bayer                                            0.60 1,090.00              654.00
Whitney Fogelberg                                          0.60 995.00                597.00
Edward Holzwanger                                          2.90 1,150.00            3,335.00
Kevin Scott McClelland                                     0.30 805.00                241.50
Madeleine C. Parish                                        2.50 705.00              1,762.50

TOTALS                                                      6.90                  $ 6,590.00




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Legal Services for the Period Ending January 31, 2019                Invoice Number: 1010025809
Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-18
Employee Issues



                                    Description of Legal Services

Date     Name                              Hours Description
01/17/19 Kevin Scott McClelland             0.30 Review and revise wages order.
01/17/19 Madeleine C. Parish                2.50 Review and revise wages order (1.3);
                                                 correspond with K&E team re same (1.2).
01/25/19 Travis M. Bayer                    0.30 Telephone conference with Company re
                                                 employee issues (.2); review and analyze
                                                 same (.1).
01/30/19 Travis M. Bayer                    0.30 Correspond with K&E team re WARN issues
                                                 (.2); review and analyze same (.1).
01/30/19 Edward Holzwanger                  0.40 Review materials re potential store
                                                 divestitures (.2); correspond with T. Bayer re
                                                 same (.1); correspond with S. Buckna re same
                                                 (.1).
01/31/19 Whitney Fogelberg                  0.60 Telephone conference with E. Holzwanger re
                                                 WARN issues (.3); correspond with Company
                                                 re same (.3).
01/31/19 Edward Holzwanger                  2.50 Review and analyze layoff information re
                                                 scenario 2 (.3); research re applicable local
                                                 WARN laws (.3); correspond with W.
                                                 Fogelberg re same (.3); research and analyze
                                                 WARN issues (.7); correspond with D.
                                                 Domian re same (.6); review and analyze
                                                 draft WARN notice for SSC (.2); correspond
                                                 with S. Serajeddini re same (.1).

Total                                        6.90




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February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025808
                                                                                         Client Matter: 26313-19

In the Matter of Executory Contracts, Unexpired Leases




For legal services rendered through January 31, 2019
(see attached Description of Legal Services for detail)                                                                        $ 30,060.00
Total legal services rendered                                                                                                  $ 30,060.00




  Beijing   Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-19
Executory Contracts, Unexpired Leases




                                      Summary of Hours Billed

Name                                                      Hours      Rate           Amount
Travis M. Bayer                                             3.10 1,090.00           3,379.00
Davion Chism                                               21.40 705.00            15,087.00
Whitney Fogelberg                                           3.30 995.00             3,283.50
Julia R. Foster                                             0.40 325.00               130.00
Kevin Scott McClelland                                      7.80 805.00             6,279.00
Robert McLellarn                                            0.30 805.00               241.50
Jack Murray                                                 1.80 595.00             1,071.00
Patrick J. Nash Jr., P.C.                                   0.20 1,565.00             313.00
Daniel Rudewicz                                             0.30 920.00               276.00

TOTALS                                                     38.60                 $ 30,060.00




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-19
Executory Contracts, Unexpired Leases



                                    Description of Legal Services

Date       Name                            Hours        Description
01/17/19   Davion Chism                     2.30        Research precedent re landlord payments.
01/17/19   Kevin Scott McClelland           0.70        Research and analyze stub rent issues.
01/17/19   Jack Murray                      0.80        Correspond with D. Chism re leases (.5);
                                                        telephone conference with landlord re lease
                                                        issue (.3).
01/18/19 Kevin Scott McClelland              2.60       Review and analyze executory contract
                                                        enforcement issues (1.2); correspond with
                                                        multiple parties re same (.8); review and
                                                        analyze lease issues (.6).
01/23/19 Davion Chism                        2.10       Draft 365(d)(4) motion.
01/27/19 Whitney Fogelberg                   1.70       Review and revise 365(d)(4) motion (1.4);
                                                        correspond with D. Chism re same (.3).
01/29/19 Travis M. Bayer                     0.90       Review and revise lease extension motion
                                                        (.5); telephone conference with D. Chism re
                                                        same (.1); review and analyze precedent re
                                                        same (.2); correspond with K&E team re
                                                        same (.1).
01/29/19 Davion Chism                        3.00       Review and revise 365(d)(4) motion.
01/29/19 Whitney Fogelberg                   1.60       Review and analyze vacant store issues (1.1);
                                                        correspond with S. Serajeddini and T. Bayer
                                                        re same (.5).
01/29/19 Robert McLellarn                    0.30       Telephone conference with Gordon Brothers
                                                        re store closing list.
01/30/19 Travis M. Bayer                     1.10       Review and revise lease agreement (.6);
                                                        review and analyze precedent re same (.2);
                                                        correspond with K&E team re same (.1);
                                                        telephone conference with K&E team re same
                                                        (.2).
01/30/19 Davion Chism                       11.10       Review, revise and circulate Debtors'
                                                        365(d)(4) motion (1.1); research and analyze
                                                        precedent re treatment of stub rent (2.1); draft
                                                        form agreement for stub rent stipulations
                                                        (7.6); correspond with local counsel to file
                                                        365(d)(4) motion and proposed order (.3).
01/30/19 Kevin Scott McClelland              3.10       Review and revise stub rent agreement (1.1);
                                                        research and analyze issues re same (.7);
                                                        correspond with multiple parties re same (.9);
                                                        review and analyze motion re same (.4).


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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-19
Executory Contracts, Unexpired Leases

Date     Name                              Hours Description
01/30/19 Patrick J. Nash Jr., P.C.          0.20 Review and analyze correspondence from
                                                 landlord attorney (.1); prepare response to
                                                 same (.1).
01/31/19 Travis M. Bayer                    1.10 Correspond with K&E team re landlord issues
                                                 (.2); review and analyze same (.2); review and
                                                 revise form agreement re same (.4); review
                                                 and analyze precedent re same (.1); research
                                                 and analyze same (.2).
01/31/19 Davion Chism                       2.90 Draft form agreement for stub rent stipulation
                                                 (2.3); research re latest store closing list and
                                                 circulate (.6).
01/31/19 Julia R. Foster                    0.40 Draft lease rejection notice.
01/31/19 Kevin Scott McClelland             1.40 Review and revise rejection notice (1.1);
                                                 correspond with multiple parties re same (.3).
01/31/19 Jack Murray                        1.00 Draft notice re rejected leases (.7); correspond
                                                 with K. McClelland re same (.2); telephone
                                                 conference with BRG re same (.1).
01/31/19 Daniel Rudewicz                    0.30 Telephone conference with Company re
                                                 creditor and lease issues (.2); correspond with
                                                 Company re same (.1).

Total                                       38.60




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February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025807
                                                                                         Client Matter: 26313-20

In the Matter of Hearings




For legal services rendered through January 31, 2019
(see attached Description of Legal Services for detail)                                                                        $ 79,296.50
Total legal services rendered                                                                                                  $ 79,296.50




  Beijing   Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-20
Hearings




                                      Summary of Hours Billed

Name                                                      Hours        Rate         Amount
Travis M. Bayer                                             5.50   1,090.00         5,995.00
Ryan Besaw                                                  3.90     325.00         1,267.50
Davion Chism                                                4.00     705.00         2,820.00
Uzo Dike                                                    2.90     400.00         1,160.00
Shanan Terale Essick                                        3.30     705.00         2,326.50
Whitney Fogelberg                                           2.60     995.00         2,587.00
Stephen C. Hackney, P.C.                                    7.50   1,465.00        10,987.50
Cole Wesley Harlan                                          0.50     705.00           352.50
Jeffery Lula                                                1.20   1,095.00         1,314.00
Kevin Scott McClelland                                      3.20     805.00         2,576.00
Robert McLellarn                                            3.00     805.00         2,415.00
Jack Murray                                                 3.50     595.00         2,082.50
Patrick J. Nash Jr., P.C.                                   2.20   1,565.00         3,443.00
Jamie Rose Netznik                                          6.10   1,045.00         6,374.50
Kimberly Pageau                                             5.10     595.00         3,034.50
Madeleine C. Parish                                         3.00     705.00         2,115.00
Daniel Rudewicz                                             7.50     920.00         6,900.00
Laura Saal                                                 11.00     430.00         4,730.00
Steven N. Serajeddini                                       9.70   1,255.00        12,173.50
Jenna Marie Stupar                                          3.00     885.00         2,655.00
Dan Varn                                                    7.50     265.00         1,987.50

TOTALS                                                     96.20                 $ 79,296.50




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Legal Services for the Period Ending January 31, 2019                Invoice Number: 1010025807
Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-20
Hearings



                                       Description of Legal Services

Date     Name                                 Hours Description
01/16/19 Travis M. Bayer                       4.90 Prepare for and participate in first day
                                                    hearing.
01/16/19 Ryan Besaw                            3.90 Prepare supplies and reference materials re
                                                    first day hearing (3.1); transport same (.4);
                                                    correspond with K&E team re same (.4).
01/16/19 Davion Chism                          3.50 Prepare for and attend first day hearing.
01/16/19 Uzo Dike                              2.90 Prepare for and attend Shopko first day
                                                    hearing and provide support and assistance to
                                                    attorneys re same.
01/16/19   Shanan Terale Essick                3.30 Attend first day hearing.
01/16/19   Whitney Fogelberg                   1.70 Telephonically attend first day hearing.
01/16/19   Stephen C. Hackney, P.C.            7.50 Prepare for and attend first day hearing.
01/16/19   Kevin Scott McClelland              3.20 Prepare for and attend first day hearing.
01/16/19   Robert McLellarn                    3.00 Attend first day hearing.
01/16/19   Jack Murray                         3.00 Prepare for and attend first day hearing.
01/16/19   Patrick J. Nash Jr., P.C.           2.20 Participate telephonically in first day hearing.
01/16/19   Jamie Rose Netznik                  6.10 Prepare for and participate in first day
                                                    hearing.
01/16/19   Kimberly Pageau                     3.90 Prepare for and attend first day hearing.
01/16/19   Madeleine C. Parish                 3.00 Attend first day hearing.
01/16/19   Daniel Rudewicz                     5.00 Prepare for and attend first day hearing.
01/16/19   Laura Saal                          3.50 Attend first day hearing.
01/16/19   Laura Saal                          7.00 Prepare for first day hearing.
01/16/19   Steven N. Serajeddini               5.30 Prepare for and attend first day hearing re
                                                    same.
01/16/19 Jenna Marie Stupar                    3.00 Attend first day hearing.
01/16/19 Dan Varn                              4.50 Prepare for and attend first day hearing.
01/16/19 Dan Varn                              3.00 Provide support to attorneys during first day
                                                    hearing.
01/24/19 Laura Saal                            0.30 Correspond with D. Rudewicz, D. Varn and
                                                    R. Besaw re January 28 hearing.
01/28/19 Travis M. Bayer                       0.60 Telephonically attend sale hearing.
01/28/19 Davion Chism                          0.50 Telephonically attend hearing re pharmacy
                                                    sale transaction, motion to change venue, plan
                                                    sponsor bid procedures and bar date motion.


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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-20
Hearings

Date     Name                              Hours Description
01/28/19 Whitney Fogelberg                  0.90 Prepare for and telephonically attend hearing
                                                 re pharmacy sale and McKesson status.
01/28/19 Cole Wesley Harlan                 0.50 Telephonically attend hearing re pharmacy
                                                 sale.
01/28/19 Jeffery Lula                       1.20 Prepare for and attend hearing re venue and
                                                 auction order.
01/28/19 Jack Murray                        0.50 Telephonically attend hearing re pharmacy
                                                 sale hearing.
01/28/19 Kimberly Pageau                    1.20 Prepare for and attend sale hearing re
                                                 pharmacy assets.
01/28/19 Daniel Rudewicz                    2.50 Prepare for hearing re pharmacy sale
                                                 transaction (2.1); telephonically attend
                                                 pharmacy sale hearing (.4).
01/28/19 Steven N. Serajeddini              4.40 Prepare for and attend hearing re pharmacy
                                                 sale.
01/30/19 Laura Saal                         0.20 Correspond with W. Fogelberg and D.
                                                 Rudewicz re upcoming hearing.

Total                                       96.20




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February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025806
                                                                                         Client Matter: 26313-21

In the Matter of Insurance




For legal services rendered through January 31, 2019
(see attached Description of Legal Services for detail)                                                                        $ 27,635.50
Total legal services rendered                                                                                                  $ 27,635.50




  Beijing   Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-21
Insurance




                                      Summary of Hours Billed

Name                                                      Hours      Rate           Amount
Shannon L. Gonyou                                           0.90 595.00               535.50
Jeffery Lula                                                2.60 1,095.00           2,847.00
Robert McLellarn                                            2.80 805.00             2,254.00
Jack Murray                                                13.60 595.00             8,092.00
Kimberly Pageau                                             7.80 595.00             4,641.00
William T. Pruitt                                           0.50 1,160.00             580.00
Daniel Rudewicz                                             2.90 920.00             2,668.00
Jenna Marie Stupar                                          6.80 885.00             6,018.00

TOTALS                                                     37.90                 $ 27,635.50




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Legal Services for the Period Ending January 31, 2019                Invoice Number: 1010025806
Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-21
Insurance



                                    Description of Legal Services

Date     Name                              Hours Description
01/17/19 William T. Pruitt                  0.50 Analyze indemnity language (.3); correspond
                                                 with K&E team re same (.2).
01/29/19 Jack Murray                        4.20 Review and analyze correspondence from
                                                 surety bond holder (.5); review surety order
                                                 (.4); correspond with J. Lula and K&E team
                                                 re surety issues (.2); office conference with K.
                                                 Pageau re same (1.0); review and analyze
                                                 precedent re same (2.1).
01/29/19 Kimberly Pageau                    3.20 Research issues re surety agreement.
01/29/19 Daniel Rudewicz                    0.60 Correspond with Company re surety issue
                                                 (.1); correspond with K&E team re same (.3);
                                                 review and revise same for filing (.2).
01/30/19 Shannon L. Gonyou                  0.90 Telephone conference with K&E team re
                                                 surety bond issue.
01/30/19 Jeffery Lula                       0.60 Telephone conference with K&E team re
                                                 surety bonds.
01/30/19 Jeffery Lula                       1.40 Research and review documents re surety
                                                 bonds.
01/30/19 Robert McLellarn                   1.50 Prepare for and attend telephone conferences
                                                 with K&E team re surety bonds.
01/30/19 Jack Murray                        3.20 Draft response letter re surety bond (1.7);
                                                 review and analyze surety bonds (.7);
                                                 telephone conference with K&E team re
                                                 strategy (.8).
01/30/19 Kimberly Pageau                    4.60 Research and analyze issues re surety
                                                 agreement (3.1); prepare for and attend
                                                 telephone conference re surety agreement
                                                 (1.5).
01/30/19 Daniel Rudewicz                    1.60 Review and analyze surety issues (.4);
                                                 correspond with K&E team re same (.1);
                                                 telephone conference with Company re
                                                 updates on surety (.1); telephone conference
                                                 with K&E team re surety next steps (.8);
                                                 review and comment on surety letter (.2).
01/30/19 Jenna Marie Stupar                 3.00 Review and analyze documents and case law
                                                 re surety cancellation.
01/31/19 Jeffery Lula                       0.60 Telephone conferences with G. Gibson and
                                                 K&E team re surety bonds.
01/31/19 Robert McLellarn                   0.80 Review, research surety bond issues.
                                                 3
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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-21
Insurance

Date     Name                              Hours Description
01/31/19 Robert McLellarn                   0.50 Telephone conference with Company and
                                                 K&E team re surety bond disposition.
01/31/19 Jack Murray                        6.20 Correspond with S. Serajeddini and T. Bayer
                                                 re surety bond issues (1.5); telephone
                                                 conference with Company, K&E team re
                                                 surety bond strategy (.5); telephone
                                                 conference with J. Stupar re same (.3); review
                                                 surety bond materials (.6); review regulations
                                                 and precedent re surety bond issues (.5); draft
                                                 letter re surety bond (2.0); revise surety bond
                                                 letter (.8).
01/31/19 Daniel Rudewicz                    0.70 Telephone conference with Company, K&E
                                                 team re surety (.5); correspond with J. Murray
                                                 re same (.2).
01/31/19 Jenna Marie Stupar                 3.80 Review and analyze surety issues (3.4);
                                                 correspond internally and with Company (.4).

Total                                       37.90




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                                                                  300 North LaSalle
                                                                  Chicago, IL 60654

                                                                   FEIN XX-XXXXXXX




February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025805
                                                                                         Client Matter: 26313-22

In the Matter of Retention and Fee Applications-K&E




For legal services rendered through January 31, 2019
(see attached Description of Legal Services for detail)                                                                        $ 86,282.50
Total legal services rendered                                                                                                  $ 86,282.50




  Beijing   Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-22
Retention and Fee Applications-K&E




                                      Summary of Hours Billed

Name                                                      Hours        Rate         Amount
Travis M. Bayer                                             3.20   1,090.00         3,488.00
Alli Beckett                                                6.40     295.00         1,888.00
Michael Y. Chan                                            31.50     255.00         8,032.50
Davion Chism                                               28.90     705.00        20,374.50
Whitney Fogelberg                                          11.50     995.00        11,442.50
Douglas C. Gessner, P.C.                                    3.00   1,595.00         4,785.00
Susan D. Golden                                             1.10   1,135.00         1,248.50
Cole Wesley Harlan                                         21.00     705.00        14,805.00
Chad J. Husnick, P.C.                                       0.80   1,515.00         1,212.00
Samuel Miller                                               7.00     230.00         1,610.00
Jack Murray                                                11.60     595.00         6,902.00
Patrick J. Nash Jr., P.C.                                   0.60   1,565.00           939.00
Eric Nyberg                                                 6.50     255.00         1,657.50
Madeleine C. Parish                                         5.20     705.00         3,666.00
Daniel Rudewicz                                             4.60     920.00         4,232.00

TOTALS                                                    142.90                 $ 86,282.50




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-22
Retention and Fee Applications-K&E



                                    Description of Legal Services

Date     Name                              Hours Description
01/16/19 Alli Beckett                       6.40 Analyze disclosure of creditors/entities.
01/16/19 Michael Y. Chan                    1.00 Organize and review supplemental
                                                 disclosures relating to creditors/entities.
01/16/19 Michael Y. Chan                    7.00 Analyze disclosure of creditors/entities.
01/16/19 Whitney Fogelberg                  2.30 Review and revise K&E retention application
                                                 (1.1); review and analyze conflicts reports re
                                                 same (1.2).
01/16/19 Samuel Miller                      7.00 Analyze disclosure of creditors/entities.
01/16/19 Eric Nyberg                        4.50 Analyze disclosure of creditors/entities.
01/17/19 Michael Y. Chan                    2.50 Organize and review disclosures relating to
                                                 creditors/entities.
01/17/19 Michael Y. Chan                    3.50 Organize and review disclosures relating to
                                                 creditors/entities.
01/17/19 Davion Chism                       2.70 Revise K&E retention application (2.0);
                                                 correspond with K&E team and BRG re same
                                                 (.7).
01/17/19 Whitney Fogelberg                  2.90 Review and revise K&E retention application
                                                 (1.5); review and revise staffing and billing
                                                 memorandum (1.0); review and revise matter
                                                 numbers (.4).
01/17/19 Cole Wesley Harlan                 3.40 Review and revise K&E retention application
                                                 (2.1); review and analyze conflicts reports re
                                                 same (1.3).
01/17/19 Jack Murray                        3.30 Review and revise K&E budget and staffing
                                                 memorandum (2.0); correspond with K&E
                                                 team re staffing and billing issues (1.3).
01/17/19 Madeleine C. Parish                3.70 Correspond with K&E team re updated
                                                 conflicts and K&E retention application.
01/17/19 Daniel Rudewicz                    3.30 Correspond with K&E team re retention
                                                 application (.1); review and analyze drafts and
                                                 issues re same (2.7); review and analyze
                                                 conflicts reports (.4); correspond with K&E
                                                 team re same (.1).
01/17/19 Daniel Rudewicz                    0.50 Review and analyze budget and staffing
                                                 matters (.4); correspond with K&E team re
                                                 same (.1).




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-22
Retention and Fee Applications-K&E

Date     Name                              Hours Description
01/18/19 Michael Y. Chan                     7.50 Analyze disclosure of creditors/entities (2.0);
                                                  organize and review disclosures relating to
                                                  creditors/entities (5.0); draft schedule 2 for
                                                  declaration (.5).
01/18/19 Whitney Fogelberg                   2.10 Review and revise K&E retention application
                                                  (.4); review and analyze retention application
                                                  issues (1.5); telephone conference with S.
                                                  Serajeddini re same (.2).
01/18/19 Douglas C. Gessner, P.C.            1.00 Analyze billing process.
01/18/19 Cole Wesley Harlan                 10.30 Review and revise K&E retention application
                                                  (5.6); review analyze conflicts reports re same
                                                  (2.4); correspond with K&E team re conflicts
                                                  issues (1.0); review and analyze
                                                  correspondence re conflicts issues (1.3).
01/18/19 Jack Murray                         7.80 Review and analyze conflicts reports re K&E
                                                  retention application (5.5); correspond with C.
                                                  Harlan re same (.7); correspond with K&E
                                                  team re conflicts issues (1.6).
01/18/19 Eric Nyberg                         2.00 Analyze update for supplemental disclosure
                                                  of creditors/entities.
01/18/19 Madeleine C. Parish                 1.50 Office conference re conflicts with K&E
                                                  team.
01/18/19 Daniel Rudewicz                     0.80 Review and analyze retention related inquiries
                                                  and issues (.7); correspond with K&E team re
                                                  same (.1).
01/19/19 Travis M. Bayer                     0.90 Review and revise retention application (.7);
                                                  correspond with K&E team re same (.2).
01/19/19 Davion Chism                        1.00 Review and revise K&E staffing and
                                                  budgeting memorandum.
01/19/19 Cole Wesley Harlan                  2.80 Review and revise K&E retention application.
01/20/19 Travis M. Bayer                     1.00 Review and revise retention application (.8);
                                                  correspond with K&E team re same (.2).
01/20/19 Davion Chism                        7.30 Review and revise K&E retention application
                                                  (5.0); revise K&E retention application
                                                  supporting documents and exhibits (2.3).
01/20/19 Cole Wesley Harlan                  2.20 Review and revise K&E retention application
                                                  (1.4); review and analyze conflicts reports
                                                  (.8).
01/21/19 Travis M. Bayer                     0.70 Review and revise retention application (.5);
                                                  correspond with K&E team re same (.2).




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-22
Retention and Fee Applications-K&E

Date     Name                              Hours Description
01/21/19 Davion Chism                       0.60 Correspond with W. Fogelberg re K&E
                                                 retention application (.3); correspond with re
                                                 K&E retention application comments (.3).
01/21/19 Davion Chism                       5.10 Review and revise K&E retention application,
                                                 including supporting documents.
01/21/19 Whitney Fogelberg                  1.90 Review and revise K&E retention application
                                                 (1.1); correspond with D. Chism re same (.3);
                                                 correspond with K&E team re conflicts issues
                                                 and firm wide emails (.5).
01/21/19 Douglas C. Gessner, P.C.           1.00 Analyze billing process.
01/21/19 Susan D. Golden                    1.10 Review and analyze draft K&E retention
                                                 application (.8); correspond with D. Chism,
                                                 M. Parish, A. Yenamandra re comments to
                                                 same (.3).
01/21/19 Cole Wesley Harlan                 2.30 Review K&E retention application (1.3);
                                                 review specific disclosures re same (.5);
                                                 review conflicts reports re same (.5).
01/21/19 Chad J. Husnick, P.C.              0.80 Review and revise K&E retention application.
01/22/19 Travis M. Bayer                    0.40 Correspond with Company re conflicts search
                                                 parties (.2); review and analyze same (.1);
                                                 correspond with K&E team re same (.1).
01/22/19 Michael Y. Chan                    5.00 Organize and prepare parties for conflicts
                                                 searching for creditors/entities (1.5); research
                                                 re creditors/entities (.5); analyze disclosure of
                                                 creditors/entities (1.5); organize and review
                                                 disclosures re creditors/entities (1.5).
01/22/19 Davion Chism                       5.40 Review and revise K&E retention application.
01/22/19 Patrick J. Nash Jr., P.C.          0.60 Review and comment on K&E retention
                                                 application in preparation of filing.
01/23/19 Travis M. Bayer                    0.20 Review and revise K&E retention application.
01/23/19 Michael Y. Chan                    1.50 Review conflicts replies.
01/23/19 Michael Y. Chan                    3.50 Organize and prepare parties for conflicts
                                                 searching for creditors/entities (1.4); research
                                                 creditors/entities (.6); analyze disclosure of
                                                 creditors/entities (1.5).
01/23/19 Davion Chism                       4.70 Review and revise K&E retention application.
01/24/19 Whitney Fogelberg                  2.30 Review and revise K&E retention application
                                                 (1.4); correspond with R. McLellarn re same
                                                 (.9).
01/24/19 Douglas C. Gessner, P.C.           1.00 Attention to billing procedures.
01/25/19 Jack Murray                        0.50 Draft and revise internal K&E staffing and
                                                 billing memorandum.
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Retention and Fee Applications-K&E

Date     Name                              Hours Description
01/30/19 Davion Chism                       2.10 Review and revise list of interested parties for
                                                 debtors and circulate with various parties.

Total                                      142.90




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                                                                  Chicago, IL 60654

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February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025804
                                                                                         Client Matter: 26313-23

In the Matter of Retention and Fee Applications-Non-K&E




For legal services rendered through January 31, 2019
(see attached Description of Legal Services for detail)                                                                        $ 47,547.00
Total legal services rendered                                                                                                  $ 47,547.00




  Beijing   Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-23
Retention and Fee Applications-Non-K&E




                                      Summary of Hours Billed

Name                                                      Hours      Rate           Amount
Travis M. Bayer                                             6.20 1,090.00           6,758.00
Davion Chism                                                8.60 705.00             6,063.00
Shanan Terale Essick                                        7.00 705.00             4,935.00
Whitney Fogelberg                                           8.80 995.00             8,756.00
Susan D. Golden                                             0.40 1,135.00             454.00
Jeffery Lula                                                1.40 1,095.00           1,533.00
Kevin Scott McClelland                                      1.70 805.00             1,368.50
Robert McLellarn                                            9.00 805.00             7,245.00
Jack Murray                                                 4.50 595.00             2,677.50
Kimberly Pageau                                            11.80 595.00             7,021.00
Daniel Rudewicz                                             0.80 920.00               736.00

TOTALS                                                     60.20                 $ 47,547.00




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-23
Retention and Fee Applications-Non-K&E



                                    Description of Legal Services

Date     Name                              Hours Description
01/17/19 Whitney Fogelberg                  1.70 Review and revise Hilco retention application
                                                 (1.2); review and revise BRG retention
                                                 application (.5).
01/17/19 Whitney Fogelberg                  1.50 Review and revise interim compensation
                                                 motion (1.2); telephone conference and
                                                 correspond with J. Murray re same (.3).
01/17/19 Daniel Rudewicz                    0.20 Correspond with clerk re Prime Clerk
                                                 retention application (.1); correspond with
                                                 Prime Clerk re same (.1).
01/18/19 Whitney Fogelberg                  1.30 Review and revise Houlihan Lokey retention
                                                 application (.6); review and revise BRG
                                                 retention application (.7).
01/18/19 Kimberly Pageau                    0.60 Review and revise draft of motion to retain
                                                 ordinary course professionals.
01/18/19 Daniel Rudewicz                    0.60 Telephone conference with clerk and Prime
                                                 Clerk re Prime Clerk retention application
                                                 (.5); review and revise same (.1).
01/19/19 Shanan Terale Essick               1.20 Conference with D. Fisher re Houlihan
                                                 retention application (.5); review and revise
                                                 Houlihan retention application (.2); review
                                                 and analyze diligence re Houlihan retention
                                                 application (.3); review and analyze precedent
                                                 retention application (.2).
01/19/19 Jack Murray                        1.30 Draft interim compensation motion.
01/20/19 Travis M. Bayer                    0.30 Review and revise interim compensation
                                                 motion.
01/20/19 Jack Murray                        0.40 Review precedent re interim compensation
                                                 motion (.2); correspond with S. Serajeddini re
                                                 same (.2).
01/20/19 Jack Murray                        1.50 Review and revise interim compensation
                                                 motion and order.
01/20/19 Kimberly Pageau                    1.60 Review and revise motion to retain ordinary
                                                 course professionals.
01/21/19 Travis M. Bayer                    2.60 Review and revise debtor professionals'
                                                 retention applications (1.4); correspond with
                                                 K&E team re same (.2); review and analyze
                                                 precedent re same (.3); review and revise
                                                 interim compensation, OCP motions (.5);
                                                 correspond with K&E team re same (.2).

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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-23
Retention and Fee Applications-Non-K&E

Date     Name                              Hours Description
01/21/19 Davion Chism                       1.50 Review and revise retention application re
                                                 BRG.
01/21/19 Davion Chism                       0.10 Correspond with BRG, Willkie and Houlihan
                                                 re interested parties for conflicts review.
01/21/19 Whitney Fogelberg                  3.10 Review and revise BRG, Hilco, and Willkie
                                                 retention applications (2.4); correspond with
                                                 K&E team re same (.7).
01/21/19 Susan D. Golden                    0.40 Review proposed interim compensation
                                                 application (.3); correspond with J. Murray re
                                                 same (.1).
01/21/19 Kevin Scott McClelland             1.50 Review and revise Willkie retention
                                                 application (1.2); correspond with K&E team
                                                 re retention applications (.3).
01/21/19 Robert McLellarn                   2.50 Review, revise retention applications (2.0);
                                                 correspond with professionals re same (.5).
01/21/19 Kimberly Pageau                    6.30 Correspond with BRG re diligence for motion
                                                 to retain ordinary course professionals (.6);
                                                 correspond with K&E team re same (.9);
                                                 review and revise motion re same (3.3);
                                                 review and revise order re same (.9);
                                                 correspond with K&E team re same (.6).
01/22/19 Travis M. Bayer                    0.60 Review and revise retention applications (.4);
                                                 review and revise interim compensation, OCP
                                                 pleadings (.2).
01/22/19 Davion Chism                       3.60 Review and revise BRG retention application
                                                 (3.2); correspond with BRG, Willkie,
                                                 Company and Creditors' Committee counsel
                                                 re conflicts and retention application (.4).
01/22/19 Davion Chism                       0.40 Correspond with K&E team, BRG and
                                                 Company re conflicts check and retention
                                                 application.
01/22/19 Robert McLellarn                   1.50 Review and revise retention applications (.5);
                                                 telephone conferences with debtor
                                                 professionals re same (.5); conference with
                                                 K&E team re same (.5).
01/22/19 Jack Murray                        1.30 Review and revise Hilco retention
                                                 application.
01/22/19 Kimberly Pageau                    1.60 Review and revise OCP retention motion.
01/23/19 Travis M. Bayer                    1.10 Review and revise retention applications (.8);
                                                 correspond with K&E team re same (.2);
                                                 correspond with Company re same (.1).
01/23/19 Davion Chism                       2.50 Review and revise BRG retention application.

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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-23
Retention and Fee Applications-Non-K&E

Date     Name                              Hours Description
01/23/19 Shanan Terale Essick               0.80 Review and revise Houlihan retention
                                                 application (.5); correspond and conference
                                                 with K&E team re same (.3).
01/23/19 Robert McLellarn                   1.50 Review and revise Houlihan retention
                                                 application (.3); correspond with Houlihan re
                                                 same (.2); coordinate review and preparation
                                                 for filing by Company (1.0).
01/24/19 Travis M. Bayer                    1.60 Review and revise OCP motion (.1); review
                                                 and revise retention applications (.9);
                                                 correspond with K&E team re same (.1);
                                                 correspond with professionals re same (.2);
                                                 office conferences with Company re retention
                                                 applications and vendor issues (.3).
01/24/19 Davion Chism                       0.50 Review and revise BRG retention application.
01/24/19 Whitney Fogelberg                  1.20 Review and revise BRG, Hilco and Willkie
                                                 retention applications (.9); correspond with R.
                                                 McLellarn re same (.3).
01/24/19 Jeffery Lula                       1.40 Review potential retention filings.
01/24/19 Kevin Scott McClelland             0.20 Analyze issues re BRG retention.
01/24/19 Robert McLellarn                   3.00 Coordinate review and filing of various
                                                 retention applications.
01/24/19 Kimberly Pageau                    1.10 Review and revise OCP motion (.5);
                                                 correspond with K&E team re same (.4);
                                                 correspond with BRG re same (.2).
01/25/19 Robert McLellarn                   0.50 Coordinate with K&E team re orders to
                                                 approve retention applications.
01/25/19 Kimberly Pageau                    0.60 Correspond with K&E team re OCP motion.
01/31/19 Shanan Terale Essick               5.00 Research and analyze precedent re
                                                 supplemental declaration (1.1); correspond
                                                 with K&E team and H. Hussein re
                                                 supplemental declaration (.3); draft, revise
                                                 and review supplemental declaration (2.2);
                                                 draft notice re same (.9); correspond with
                                                 K&E team, B. Steele and M. Eversden re
                                                 Prime Clerk retention order (.5).

Total                                       60.20




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February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025803
                                                                                         Client Matter: 26313-24

In the Matter of Schedules, SOFAs & MORs




For legal services rendered through January 31, 2019
(see attached Description of Legal Services for detail)                                                                         $ 2,038.50
Total legal services rendered                                                                                                   $ 2,038.50




  Beijing   Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-24
Schedules, SOFAs & MORs




                                      Summary of Hours Billed

Name                                                      Hours     Rate            Amount
Travis M. Bayer                                            0.40 1,090.00             436.00
Ryan Besaw                                                 0.50 325.00               162.50
Davion Chism                                               0.70 705.00               493.50
Whitney Fogelberg                                          0.20 995.00               199.00
Robert McLellarn                                           0.70 805.00               563.50
Daniel Rudewicz                                            0.20 920.00               184.00

TOTALS                                                      2.70                  $ 2,038.50




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-24
Schedules, SOFAs & MORs



                                    Description of Legal Services

Date     Name                              Hours Description
01/17/19 Ryan Besaw                         0.50 Research re timing of SoFA extension
                                                 hearings.
01/25/19 Travis M. Bayer                    0.40 Prepare for and participate in telephone
                                                 conferences with working group re schedules
                                                 and statements.
01/25/19 Davion Chism                       0.20 Telephone conference with BRG, Company
                                                 and K&E team re schedules and statements.
01/25/19 Whitney Fogelberg                  0.20 Telephone conference with BRG, K&E team
                                                 and Company re schedules and SoFAs.
01/29/19 Davion Chism                       0.50 Prepare for and participate in telephone
                                                 conference with Company, BRG, K&E team
                                                 re schedules and statements.
01/29/19 Robert McLellarn                   0.70 Prepare for and attend telephone conference
                                                 with BRG, K&E team and Company re
                                                 SoFAs (.5); correspond with BRG re same
                                                 (.2).
01/29/19 Daniel Rudewicz                    0.20 Correspond with McGrath re statements and
                                                 schedules order.

Total                                        2.70




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February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025802
                                                                                         Client Matter: 26313-25

In the Matter of Tax Issues




For legal services rendered through January 31, 2019
(see attached Description of Legal Services for detail)                                                                         $ 9,238.00
Total legal services rendered                                                                                                   $ 9,238.00




  Beijing   Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-25
Tax Issues




                                      Summary of Hours Billed

Name                                                      Hours     Rate            Amount
Thad W. Davis, P.C.                                        0.30 1,295.00              388.50
Angela Rohman Russo                                        4.90 1,255.00            6,149.50
Alison Ann Skaife                                          2.40 1,125.00            2,700.00

TOTALS                                                      7.60                  $ 9,238.00




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-25
Tax Issues



                                    Description of Legal Services

Date     Name                              Hours Description
01/16/19 Thad W. Davis, P.C.                0.30 Telephone conference with A. Russo re equity
                                                 trading motion.
01/16/19 Angela Rohman Russo                0.40 Correspond with various parties re tax issues.
01/17/19 Angela Rohman Russo                0.50 Prepare for and participate in telephone
                                                 conference with working group re tax issues.
01/17/19 Alison Ann Skaife                  0.30 Participate in telephone conference with K&E
                                                 team re tax issues.
01/18/19 Angela Rohman Russo                0.50 Correspond with various parties re tax
                                                 analysis (.3); review and analyze BRG
                                                 summary (.2).
01/18/19 Alison Ann Skaife                  0.10 Correspond with D. Krozek re NOL analysis.
01/21/19 Angela Rohman Russo                0.30 Correspond with various parties re tax
                                                 analysis.
01/22/19 Angela Rohman Russo                0.30 Correspond with various parties re tax issues.
01/22/19 Alison Ann Skaife                  0.20 Correspond with various parties re NOL
                                                 analysis.
01/23/19 Angela Rohman Russo                0.30 Correspond with various parties re tax
                                                 analysis.
01/23/19 Alison Ann Skaife                  0.20 Correspond with various parties re NOL
                                                 valuations.
01/24/19 Angela Rohman Russo                0.80 Prepare for and participate in telephone
                                                 conference with various parties re status and
                                                 tax issues (.5); correspond with various
                                                 parties re tax analysis (.3).
01/24/19 Alison Ann Skaife                  0.50 Participate in telephone conference with
                                                 various parties re status, tax issues.
01/25/19 Angela Rohman Russo                0.10 Correspond with various parties re tax
                                                 analysis.
01/28/19 Angela Rohman Russo                0.50 Prepare for and participate in telephone
                                                 conference with Company re status and tax
                                                 issues (.4); correspond with various parties re
                                                 tax analysis (.1).
01/28/19 Alison Ann Skaife                  0.20 Participate in telephone conference with
                                                 Company re status.
01/29/19 Angela Rohman Russo                0.10 Correspond with various parties re tax
                                                 analysis.



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Legal Services for the Period Ending January 31, 2019                Invoice Number: 1010025802
Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-25
Tax Issues

Date     Name                              Hours Description
01/31/19 Angela Rohman Russo                1.10 Prepare for and participate in telephone
                                                 conference with various parties re tax issues
                                                 and case status (.5); correspond with various
                                                 parties re tax analysis (.2); review and analyze
                                                 latest tax analysis (.2); correspond with
                                                 Deloitte re tax analysis (.2).
01/31/19 Alison Ann Skaife                  0.90 Participate in telephone conference with
                                                 Company and BRG re status and tax matters
                                                 (.4); participate in telephone conference with
                                                 various parties re NOL analysis (.5).

Total                                        7.60




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February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025801
                                                                                         Client Matter: 26313-26

In the Matter of Non-Working Travel Time




For legal services rendered through January 31, 2019
(see attached Description of Legal Services for detail)                                                                        $ 31,424.50
Total legal services rendered                                                                                                  $ 31,424.50




  Beijing   Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-26
Non-Working Travel Time




                                      Summary of Hours Billed

Name                                                      Hours        Rate         Amount
Travis M. Bayer                                            2.50    1,090.00         2,725.00
Ryan Besaw                                                 2.30      325.00           747.50
Davion Chism                                               1.90      705.00         1,339.50
Uzo Dike                                                   2.10      400.00           840.00
Shanan Terale Essick                                       1.60      705.00         1,128.00
Jeffery Lula                                               3.10    1,095.00         3,394.50
Kevin Scott McClelland                                     1.30      805.00         1,046.50
Robert McLellarn                                           2.00      805.00         1,610.00
Jack Murray                                                2.00      595.00         1,190.00
Jamie Rose Netznik                                         2.00    1,045.00         2,090.00
Madeleine C. Parish                                        2.00      705.00         1,410.00
Daniel Rudewicz                                            4.20      920.00         3,864.00
Laura Saal                                                 2.10      430.00           903.00
Steven N. Serajeddini                                      5.80    1,255.00         7,279.00
Jenna Marie Stupar                                         1.50      885.00         1,327.50
Dan Varn                                                   2.00      265.00           530.00

TOTALS                                                     38.40                 $ 31,424.50




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-26
Non-Working Travel Time



                                    Description of Legal Services

Date     Name                              Hours Description
01/16/19 Travis M. Bayer                    2.50 Travel from Omaha, NE to Chicago, IL re
                                                 first day hearing (billed at half time).
01/16/19 Ryan Besaw                         2.30 Travel from Omaha, NE to Chicago, IL re
                                                 first day hearing (billed at half time).
01/16/19 Davion Chism                       1.90 Travel from Omaha, NE to New York, NY re
                                                 first day hearing (billed at half time).
01/16/19 Uzo Dike                           2.10 Travel from Omaha, NE to Chicago, IL re
                                                 first day hearing (billed at half time).
01/16/19 Shanan Terale Essick               1.60 Travel from Omaha, NE to Chicago, IL re
                                                 first day hearing (billed at half time).
01/16/19 Kevin Scott McClelland             1.30 Travel from Omaha, NE to Chicago, IL re
                                                 first day hearing (billed at half time).
01/16/19 Robert McLellarn                   2.00 Travel from Omaha, NE to Chicago, IL re
                                                 first day hearing (billed at half time).
01/16/19 Jack Murray                        2.00 Travel from Omaha, NE to New York, NY re
                                                 first day hearing (billed at half time).
01/16/19 Jamie Rose Netznik                 2.00 Travel from Omaha, NE to Chicago, IL re
                                                 first day hearing (billed at half time).
01/16/19 Madeleine C. Parish                2.00 Travel from Omaha, NE to New York, NY re
                                                 first day hearing (billed at half time).
01/16/19 Daniel Rudewicz                    2.00 Travel from Omaha, NE to New York, NY re
                                                 first day hearing (billed at half time).
01/16/19 Laura Saal                         2.10 Travel from Omaha, NE to New York, NY re
                                                 first day hearing (billed at half time).
01/16/19 Steven N. Serajeddini              1.60 Travel from Omaha, NE to New York, NY re
                                                 first day hearing (billed at half time).
01/16/19 Jenna Marie Stupar                 1.50 Travel from Omaha, NE to Chicago, IL re
                                                 first day hearing (billed at half time).
01/16/19 Dan Varn                           2.00 Travel from Omaha, NE to Chicago, IL re
                                                 first day hearing (billed at half time).
01/21/19 Daniel Rudewicz                    1.10 Travel from New York, NY to Chicago, IL re
                                                 auction (billed at half time).
01/21/19 Steven N. Serajeddini              1.40 Travel from New York, NY to Chicago, IL re
                                                 meetings and auction (billed at half time).
01/23/19 Daniel Rudewicz                    1.10 Travel from Chicago, IL to New York, NY re
                                                 auction (billed at half time).



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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-26
Non-Working Travel Time

Date     Name                              Hours Description
01/23/19 Steven N. Serajeddini              1.10 Travel from Chicago, IL to New York, NY re
                                                 auction (billed at half time).
01/27/19 Jeffery Lula                       1.30 Travel from Chicago, IL to Omaha, NE re
                                                 sale confirmation and bid procedures hearing
                                                 (billed at half time) (flight canceled).
01/28/19 Jeffery Lula                       0.60 Travel from Chicago, IL to Omaha, NE re bid
                                                 procedures hearing (billed at half time).
01/28/19 Steven N. Serajeddini              1.70 Travel from New York, NY to Omaha, NE
                                                 and return travel re hearing for pharmacy
                                                 sales (billed at half time).
01/29/19 Jeffery Lula                       1.20 Travel from Omaha, NE to Chicago, IL re
                                                 sale confirmation and bid procedures hearing
                                                 (billed at half time).

Total                                       38.40




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February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025800
                                                                                         Client Matter: 26313-27

In the Matter of U.S. Trustee Issues




For legal services rendered through January 31, 2019
(see attached Description of Legal Services for detail)                                                                         $ 7,842.50
Total legal services rendered                                                                                                   $ 7,842.50




  Beijing   Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-27
U.S. Trustee Issues




                                      Summary of Hours Billed

Name                                                      Hours     Rate            Amount
Travis M. Bayer                                            4.00 1,090.00            4,360.00
Whitney Fogelberg                                          3.50 995.00              3,482.50

TOTALS                                                      7.50                  $ 7,842.50




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-27
U.S. Trustee Issues



                                    Description of Legal Services

Date     Name                              Hours Description
01/17/19 Travis M. Bayer                    0.60 Telephone conference with U.S. Trustee re
                                                 chapter 11 requirements (.3); telephone
                                                 conference with working group re Creditors'
                                                 Committee formation (.3).
01/18/19 Travis M. Bayer                    0.80 Participate in Creditors' Committee formation
                                                 conference (.2); correspond with working
                                                 group re same (.2); review and analyze
                                                 Creditors' Committee members (.4).
01/18/19 Whitney Fogelberg                  0.30 Telephone conference with U.S. Trustee re
                                                 Creditors' Committee formation.
01/22/19 Whitney Fogelberg                  0.60 Telephone conference with U.S. Trustee re
                                                 revisions to first day orders.
01/23/19 Travis M. Bayer                    0.30 Correspond with BRG re initial debtor
                                                 interview, 341 meeting (.2); correspond with
                                                 McGrath re same (.1).
01/24/19 Travis M. Bayer                    0.50 Correspond and telephone conference with
                                                 BRG re initial debtor interview (.3);
                                                 correspond with Company re same (.1);
                                                 correspond with K&E team re same (.1).
01/25/19 Travis M. Bayer                    0.60 Telephone conferences with BRG and K&E
                                                 team re initial debtor interview preparation,
                                                 materials (.4); review and analyze same (.2).
01/25/19 Whitney Fogelberg                  0.60 Telephone conference with BRG and K&E
                                                 team re initial debtor interview.
01/27/19 Whitney Fogelberg                  1.20 Review and analyze documents re initial
                                                 debtor interview (.9); correspond with BRG
                                                 and McGrath re same (.3).
01/29/19 Travis M. Bayer                    1.20 Prepare for and participate in initial debtor
                                                 interview (.8); review and analyze follow-up
                                                 items re same (.4).
01/29/19 Whitney Fogelberg                  0.80 Prepare for and participate in initial debtor
                                                 interview.

Total                                        7.50




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February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025795
                                                                                         Client Matter: 26313-28

In the Matter of Use, Sale & Disposition of Property




For legal services rendered through January 31, 2019
(see attached Description of Legal Services for detail)                                                                      $ 472,110.00
Total legal services rendered                                                                                                $ 472,110.00




  Beijing   Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-28
Use, Sale & Disposition of Property




                                      Summary of Hours Billed

Name                                                      Hours        Rate         Amount
Matthew S. Arenson, P.C.                                   38.90   1,195.00        46,485.50
Travis M. Bayer                                            10.70   1,090.00        11,663.00
Ryan Besaw                                                  4.30     325.00         1,397.50
James B. Dickson                                            0.30     920.00           276.00
Chad D. Ehrenkranz                                          0.80   1,135.00           908.00
Kyle P. Elder                                              53.30   1,045.00        55,698.50
Whitney Fogelberg                                          11.10     995.00        11,044.50
Julia R. Foster                                             0.80     325.00           260.00
Corey D. Fox, P.C.                                          0.50   1,395.00           697.50
Susan D. Golden                                             1.00   1,135.00         1,135.00
Shannon L. Gonyou                                           0.70     595.00           416.50
Cole Wesley Harlan                                         50.50     705.00        35,602.50
Katie Kane                                                  0.90     265.00           238.50
Jeremy S. Liss, P.C.                                        2.30   1,525.00         3,507.50
Jeffery Lula                                                2.70   1,095.00         2,956.50
Tiffany T. Mason                                           15.60     805.00        12,558.00
Kevin Scott McClelland                                     18.70     805.00        15,053.50
Robert McLellarn                                           13.80     805.00        11,109.00
Jack Murray                                                 2.80     595.00         1,666.00
Patrick J. Nash Jr., P.C.                                   0.60   1,565.00           939.00
Carrie Therese Oppenheim                                    1.40     430.00           602.00
Kimberly Pageau                                            41.30     595.00        24,573.50
Madeleine C. Parish                                         4.10     705.00         2,890.50
Daniel Rudewicz                                            90.10     920.00        82,892.00
Laura Saal                                                  0.90     430.00           387.00
Steven N. Serajeddini                                      82.00   1,255.00       102,910.00
Amanda Solis                                                5.00     325.00         1,625.00
Jordan Turban                                              13.20     805.00        10,626.00
Dan Varn                                                    5.80     265.00         1,537.00
Dennis Williams                                            25.70   1,185.00        30,454.50

TOTALS                                                    499.80                $ 472,110.00


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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-28
Use, Sale & Disposition of Property



                                    Description of Legal Services

Date     Name                              Hours Description
01/16/19 Matthew S. Arenson, P.C.           0.20 Review and analyze pharmacy auction
                                                 preparations.
01/16/19 Kimberly Pageau                    0.90 Correspond with K&E team re auction
                                                 logistics and compile memorandum re same.
01/16/19 Dennis Williams                    1.90 Telephone conferences with board of
                                                 pharmacy regulators and update on responses
                                                 provided and information to obtain (1.5);
                                                 correspond with Company re open issues (.4).
01/17/19 Matthew S. Arenson, P.C.           2.00 Telephone conference with K&E team re
                                                 transaction status (.5); telephone conference
                                                 with K&E team, Company and Houlihan re
                                                 transaction status (.7); analyze CVS asset
                                                 purchase agreement mark-up (.8).
01/17/19 Kyle P. Elder                      2.50 Telephone conference with K&E team re
                                                 auction process (.5); participate in all-hands
                                                 process telephone conference re auction (.5);
                                                 review and revise CVS agreement (1.5).
01/17/19 Tiffany T. Mason                   3.00 Conference with regulators re pharmacy
                                                 closure notification requirements.
01/17/19 Robert McLellarn                   4.00 Telephone conference with K&E teams re
                                                 auction and strategy (1.2); research re same
                                                 (2.8).
01/17/19 Kimberly Pageau                    1.80 Correspond with K&E team and outside
                                                 parties re coordinating pharmacy auction.
01/17/19 Daniel Rudewicz                    2.40 Telephone conference with Houlihan re
                                                 Albertsons bid (.3); review and revise
                                                 documents re data room (1.0); correspond
                                                 with Houlihan re same (.1); correspond with
                                                 K&E team re auction logistics (.3); telephone
                                                 conference with Houlihan re net acquisition
                                                 cost (.3); telephone conference with McGrath
                                                 re order (.2); correspond with McGrath, K&E
                                                 team re redline for bidding procedures order
                                                 (.2).
01/17/19 Jordan Turban                      0.20 Telephone conference with K. Elder re
                                                 pharmacy auction process.




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-28
Use, Sale & Disposition of Property

Date     Name                              Hours Description
01/17/19 Dennis Williams                    2.90 Telephone conferences with board of
                                                 pharmacy in multiple states re bankruptcy
                                                 filing, pharmacy closure and regulatory
                                                 requirements (1.1); correspond with client re
                                                 regulatory closure updates and discussions
                                                 with regulators (.6); telephone conference
                                                 with Company and board of pharmacy
                                                 regulators re timing and notification questions
                                                 (1.2).
01/18/19 Matthew S. Arenson, P.C.           1.40 Telephone conference with K. Elder,
                                                 Houlihan and Company re CVS asset
                                                 purchase agreement (1.1); analyze Albertson's
                                                 purchase agreement mark-up (.3).
01/18/19 Ryan Besaw                         0.40 Research and distribute sale order precedent.
01/18/19 Kyle P. Elder                      3.10 Participate in telephone conference re CVS
                                                 asset purchase agreement (1.1); revise CVS
                                                 asset purchase agreement (1.0); review other
                                                 bid draft asset purchase agreements and
                                                 summarize issues (.8); coordinate with J.
                                                 Turban re auction process (.2).
01/18/19 Shannon L. Gonyou                  0.70 Telephone conference with K&E team re
                                                 bidding process.
01/18/19 Kevin Scott McClelland             0.60 Correspond with K&E team re pharmacy sale
                                                 issues.
01/18/19 Kimberly Pageau                    4.40 Review and analyze precedent re sale of
                                                 property at auction (.4); draft pharmacy sale
                                                 reply (3.8); correspond with K&E team re
                                                 same (.2).
01/18/19 Daniel Rudewicz                    6.60 Telephone conference with K&E team,
                                                 Company, Houlihan re CVS asset purchase
                                                 agreement (1.1); review and analyze issues re
                                                 indemnification, section 363(m) (1.4);
                                                 correspond with K&E team re same (.1);
                                                 telephone conference with K&E team re
                                                 pharmacy asset sales (.7); review and revise
                                                 proposed sale order (.5); review and analyze
                                                 precedent re same (1.0); review and analyze
                                                 issues re bidding procedures (.8); correspond
                                                 with K&E team re same (.8); telephone
                                                 conference with Houlihan re asset purchase
                                                 agreements (.2).




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-28
Use, Sale & Disposition of Property

Date     Name                              Hours Description
01/18/19 Steven N. Serajeddini              2.70 Correspond and conference with K&E team,
                                                 Company re pharmacy sale issues (1.3);
                                                 review and analyze same (.9); review and
                                                 revise documents re same (.5).
01/18/19 Jordan Turban                      1.00 Prepare for and participate in telephone
                                                 conference with Company, Houlihan and
                                                 K&E team re CVS asset purchase agreement
                                                 (.6); coordinate with K. Elder re auction
                                                 process (.4).
01/18/19 Dan Varn                           1.30 Draft third round sale order and omnibus
                                                 reply.
01/18/19 Dennis Williams                    1.60 Review and analyze multiple APAs (.9);
                                                 review and revise pharmacy closure chart (.7).
01/19/19 Matthew S. Arenson, P.C.           2.40 Telephone conference with K. Elder,
                                                 Houlihan and Company re CVS asset
                                                 purchase agreement (1.0); analyze Albertson's
                                                 purchase agreement mark-up (.2); draft CVS
                                                 agreement (.6); analyze HyVee purchase
                                                 agreement mark-up (.3); draft Albertson's
                                                 purchase agreement (.3).
01/19/19 Kyle P. Elder                      3.70 Participate in all-hands telephone conference
                                                 re Albertsons bid mark-up (1.0); revise CVS
                                                 bid mark-up (.7); coordinate with J. Turban re
                                                 auction process (.4); revise Albertsons mark-
                                                 up (1.2); review and analyze HyVee mark-up
                                                 (.4).
01/19/19 Cole Wesley Harlan                 2.70 Research re 363(f) issues.
01/19/19 Kevin Scott McClelland             0.60 Telephone conference with K&E team re sale
                                                 issues (.3); review and analyze materials re
                                                 same (.3).
01/19/19 Robert McLellarn                   2.00 Prepare for and participate in telephone
                                                 conference with K&E team re go-forward
                                                 strategy (1.5); prepare for and participate in
                                                 telephone conference with K&E team re sale
                                                 hearing research and related correspondence
                                                 (.5).
01/19/19 Kimberly Pageau                    6.10 Review and revise declaration in support of
                                                 sale of Debtors' assets at auction (2.3);
                                                 correspond with K&E team and Houlihan re
                                                 auction logistics (.4); research case law re
                                                 marshaling (3.4).




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-28
Use, Sale & Disposition of Property

Date     Name                              Hours Description
01/19/19 Daniel Rudewicz                    6.60 Telephone conference with Company,
                                                 Houlihan, K&E team re markup of asset
                                                 purchase agreement from bidder (1.1); review
                                                 and revise proposed sale order re compassions
                                                 to precedent (5.4); correspond with K&E
                                                 team re same (.1).
01/19/19 Steven N. Serajeddini              3.40 Correspond and conference with K&E team,
                                                 Company re pharmacy sale issues (1.7);
                                                 review and analyze same (1.3); review and
                                                 revise documents re same (.4).
01/19/19 Jordan Turban                      1.10 Prepare for and participate in telephone
                                                 conference with Company, Houlihan and
                                                 K&E team re Albertson's asset purchase
                                                 agreement.
01/19/19 Dennis Williams                    2.60 Attend telephone conference re pharmacy
                                                 prescription sales with team from Houlihan,
                                                 K&E team and Company (1.2); review and
                                                 analyze regulatory closure questions posed by
                                                 client team and respond re same (.6); review
                                                 and analyze multiple APAs for prescription
                                                 sales (.8).
01/20/19 Matthew S. Arenson, P.C.           1.50 Telephone conference with K. Elder,
                                                 Houlihan and Company re HyVee asset
                                                 purchase agreement (1.0); draft HyVee asset
                                                 purchase agreement (.2); draft sale order (.3).
01/20/19 Kyle P. Elder                      3.30 Participate in all-hands telephone conference
                                                 re HyVee asset purchase agreement (1.1);
                                                 revise bidder asset purchase agreements (2.2).
01/20/19 Whitney Fogelberg                  3.30 Research and analyze issues re pharmacy sale
                                                 reply.
01/20/19 Cole Wesley Harlan                 2.40 Research re section 363(f) issues.
01/20/19 Daniel Rudewicz                    5.20 Telephone conference with K&E team,
                                                 Houlihan, Company re HyVee and related
                                                 asset purchase agreements (1.0); review and
                                                 analyze Albertsons asset purchase agreement
                                                 (.3); correspond with K. Elder re same (.1);
                                                 review and revise sale order re updates (1.2);
                                                 correspond with Company, Houlihan re same
                                                 (.1); review and revise auction script (1.7);
                                                 correspond with C. Harlan re section 363(f)
                                                 research (.4); research precedent re same (.4).




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-28
Use, Sale & Disposition of Property

Date     Name                              Hours Description
01/20/19 Steven N. Serajeddini              9.50 Correspond and conference with K&E team,
                                                 Company re pharmacy sale issues (7.8);
                                                 review and analyze same (.6); review and
                                                 revise documents re same (1.1).
01/20/19 Jordan Turban                      1.00 Prepare for and participate in telephone
                                                 conference with Company, Houlihan and
                                                 K&E team re HyVee asset purchase
                                                 agreement.
01/21/19 Matthew S. Arenson, P.C.           6.60 Draft Kesslers purchase agreement (.4);
                                                 telephone conference with K&E team re
                                                 transaction status (.5); analyze Rite-Aid
                                                 purchase agreement markup (.5); telephone
                                                 conference with K. Elder and Houlihan re
                                                 auction strategy (.5); telephone conference
                                                 with D. Rudewicz and counsel to Albertsons
                                                 re Albertsons purchase agreement (.1); draft
                                                 Rite-Aid purchase agreement (.8); analyze
                                                 Kroger purchase agreement markup (.5);
                                                 analyze Walgreens purchase agreement
                                                 markup and draft issues list (1.0); analyze
                                                 CVS purchase agreement markup and draft
                                                 issues list (1.0); analyze HyVee purchase
                                                 agreement markup (.5); telephone conference
                                                 with Houlihan, Company and K&E team re
                                                 pharmacy sale auction bids (.8).
01/21/19 Travis M. Bayer                    0.80 Telephone conferences with K&E team re
                                                 asset purchase agreements (.5); review and
                                                 analyze same (.3).
01/21/19 Kyle P. Elder                      6.80 Telephone conference with K&E team re
                                                 process (.5); review Rite Aid asset purchase
                                                 agreement (.4); revise bidder asset purchase
                                                 agreements (1.9); coordinate with K&E team
                                                 re auction process (1.6); telephone conference
                                                 with K&E team re bids (1.3); review bids and
                                                 draft issues list (1.1).
01/21/19 Cole Wesley Harlan                 6.20 Research and analyze precedent re 363(f)
                                                 issues.
01/21/19 Jeremy S. Liss, P.C.               1.00 Analyze transaction issues.
01/21/19 Kimberly Pageau                    3.50 Research and review case law re marshaling
                                                 for sale motion (2.6); correspond with K&E
                                                 team re same (.2); correspond with K&E team
                                                 and Houlihan re auction (.7).




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Date     Name                              Hours Description
01/21/19 Daniel Rudewicz                    8.80 Conference with Houlihan, K&E team,
                                                 Company re incoming bids (.2); correspond
                                                 with K. Elder re asset purchase agreement
                                                 markup (.3); telephone conference with M.
                                                 Arenson re asset purchase agreements (.4);
                                                 review, analyze incoming bids (3.4); review
                                                 and revise sale order (1.8); correspond with
                                                 Prime Clerk re deposits (.1); correspond with
                                                 K&E team, Company re wire issues (.2);
                                                 telephone conference with Albertsons counsel
                                                 re asset purchase agreement (.4); telephone
                                                 conference with counsel to bidder re auction
                                                 process (.4); correspond with K&E team re
                                                 proposed provision re governmental
                                                 proceedings in asset purchase agreement (.7);
                                                 telephone conference with Company, K&E
                                                 team, Houlihan re bids (.9).
01/21/19 Steven N. Serajeddini              9.30 Correspond and conferences with K&E team
                                                 re pharmacy, other assets sale (6.4); review
                                                 and analyze issues re same (1.3); review and
                                                 revise agreements re same (1.6).
01/21/19 Jordan Turban                      1.80 Review and analyze pharmacy auction bid
                                                 submissions from CVS, HyVee, Kroger,
                                                 Walgreens, Mattson and Albertson's (.7); draft
                                                 issues lists re asset purchase agreement mark-
                                                 ups from CVS, HyVee and Albertson's (1.1).
01/21/19 Jordan Turban                      0.90 Review and revise Rite-Aid asset purchase
                                                 agreement (.7); telephone conference with K.
                                                 Elder re revisions to same (.2).
01/21/19 Jordan Turban                      1.10 Prepare for and participate in telephone
                                                 conference with Company, Houlihan and
                                                 K&E team re pharmacy auction bid
                                                 submissions (.8); telephone conference with
                                                 K&E team re review of same (.3).
01/21/19 Dennis Williams                    1.80 Telephone conferences on asset purchase
                                                 agreement re regulatory questions and
                                                 recommended action steps (.7); review and
                                                 analyze issues re auction strategy (1.1)




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Date     Name                              Hours Description
01/22/19 Matthew S. Arenson, P.C.           9.30 Telephone conference with Company and
                                                 Albertsons re purchase agreement (.5);
                                                 telephone conference with Company and
                                                 HyVee re purchase agreement (.5); telephone
                                                 conference with Company and Walgreens re
                                                 purchase agreement (.5); telephone
                                                 conference with Company and CVS re
                                                 purchase agreement (.5); draft Albertsons
                                                 purchase agreement (.5); draft HyVee
                                                 purchase agreement (1.5); draft Walgreens
                                                 purchase agreement (2); draft CVS purchase
                                                 agreement (.7); conference with K&E team,
                                                 Company, Houlihan and BRG re auction
                                                 process and strategy (2.6).
01/22/19 Travis M. Bayer                    2.00 Conference with K&E team re sale motion,
                                                 reply (.6); research re same (.4); review and
                                                 analyze issues re same (.3); correspond with
                                                 K&E team re same (.1); conference with
                                                 K&E team re auction, sale process (.6).
01/22/19 James B. Dickson                   0.30 Telephone conference with K&E team re
                                                 auction procedures.
01/22/19 Chad D. Ehrenkranz                 0.80 Review and revise Walgreens auction asset
                                                 purchase agreement (.4); review and revise
                                                 Kroger auction asset purchase agreement (.4).
01/22/19 Kyle P. Elder                      9.80 Revise bidder asset purchase agreements
                                                 (4.9); participate in telephone conferences
                                                 with bidders re asset purchase agreements
                                                 (2.4); participate in discussions with Houlihan
                                                 and Company re auction process (2.5).
01/22/19 Corey D. Fox, P.C.                 0.50 Analyze priority issues re sale process.
01/22/19 Susan D. Golden                    1.00 Finalize sale auction logistics (.8); correspond
                                                 with D. Rudewicz and K. Pageau re same (.2).
01/22/19 Cole Wesley Harlan                 6.20 Research re 363(f) issues (3.1); research re
                                                 reclamation rights issues (3.1).
01/22/19 Jeffery Lula                       2.10 Conference with K&E and Company re
                                                 preparation for auction.
01/22/19 Jeffery Lula                       0.60 Review and revise documents for auction.
01/22/19 Kevin Scott McClelland             7.40 Review and analyze issues re sale reply (3.2);
                                                 research re same (3.4); correspond with K&E
                                                 team re same (.8).
01/22/19 Patrick J. Nash Jr., P.C.          0.60 Telephone conference with R. Duffy re
                                                 pharmacy auction (.3); review any analyze
                                                 status of bids re pharmacy auction (.3).

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Date     Name                              Hours Description
01/22/19 Carrie Therese Oppenheim            1.10 Prepare materials re pharmacy auction.
01/22/19 Kimberly Pageau                     4.00 Correspond with K&E team and personnel re
                                                  auction (2.4); research case law re marshaling
                                                  (1.4); correspond with K&E team re same
                                                  (.2).
01/22/19 Madeleine C. Parish                 4.10 Research re sale reply (2.9); correspond with
                                                  K. McClelland and R. McLellarn re same
                                                  (1.2).
01/22/19 Daniel Rudewicz                    12.10 Correspond with Prime Clerk re bidder
                                                  deposit wires (.2); telephone conference with
                                                  K. Elder, Company re Rite Aid asset purchase
                                                  agreement (.5); telephone conference with M.
                                                  Arenson, Company re Albertsons asset
                                                  purchase agreement (.5); correspond with
                                                  Albertsons, K&E team re same (.2); telephone
                                                  and office conferences with Houlihan team,
                                                  Company, K&E team, BRG re asset purchase
                                                  agreements for buyers and remaining auction
                                                  issues, including bids, logistics, introductory
                                                  remarks, and process (9.8); correspond with
                                                  CVS re hearing information (.1); review and
                                                  revise sale order (.4); correspond with K.
                                                  Pageau re attendees (.2); correspond with
                                                  Otterbourg re bid package and auction
                                                  information (.2).
01/22/19 Steven N. Serajeddini              10.50 Correspond and conference with K&E team
                                                  re pharmacy, other assets sale (7.2); review
                                                  and analyze issues re same (1.7); review and
                                                  revise agreements, other documents re same
                                                  (1.6).
01/22/19 Dennis Williams                     1.50 Telephone conference with corporate team re
                                                  asset purchase agreement issues.
01/22/19 Dennis Williams                     1.60 Telephone conferences with regulators re
                                                  pharmacy location closures and procedures
                                                  for closure including patient notification,
                                                  timing and signage.
01/23/19 Matthew S. Arenson, P.C.            8.80 Participate in pharmacy sale auction.




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Date     Name                              Hours Description
01/23/19 Travis M. Bayer                     3.00 Participate in auction (.8); office conferences
                                                  with K&E team re same (.7); office
                                                  conferences with A&M re same (.1); review
                                                  and analyze bids, results (.4); office
                                                  conferences with K&E team re same (.5);
                                                  correspond with K&E team re sale hearing,
                                                  pleadings (.2); conferences with K&E team re
                                                  asset purchase agreements (.3).
01/23/19 Ryan Besaw                          0.30 Search, distribute sale motion precedent.
01/23/19 Kyle P. Elder                      10.80 Participate in auction of pharmacy assets
                                                  (8.8); revise bidder asset purchase agreements
                                                  based on results of auction and negotiate final
                                                  asset purchase agreements with bidders (2.0).
01/23/19 Whitney Fogelberg                   3.90 Attend pharmacy assets auction.
01/23/19 Cole Wesley Harlan                  9.80 Research re 363(f) issues (2.8); research re
                                                  reclamation issues (2.1); draft reply in support
                                                  of sale of pharmacy assets (3.5); review and
                                                  analyze Mckesson filings (1.4).
01/23/19 Jeremy S. Liss, P.C.                0.50 Review status re chapter 11 auction sales.
01/23/19 Tiffany T. Mason                    1.30 Confirm pharmacy notification and signage
                                                  requirements with state regulators.
01/23/19 Kevin Scott McClelland              7.20 Review and analyze research re sale reply
                                                  (.9); research re same (1.9); draft reply re
                                                  same (4.4).
01/23/19 Robert McLellarn                    3.00 Attend pharmacy assets auction.
01/23/19 Carrie Therese Oppenheim            0.30 Prepare materials for pharmacy auction.
01/23/19 Kimberly Pageau                     5.30 Review and revise sale order (.8); correspond
                                                  with K&E team re auction (.9); prepare for
                                                  and attend auction telephonically (3.6).
01/23/19 Daniel Rudewicz                     8.90 Conference with Company, Houlihan, BRG,
                                                  K&E team re preparation for auction (1.7);
                                                  participate in pharmacy assets auction (2.8);
                                                  conferences with Company, Houlihan, K&E
                                                  team, and buyers re asset purchase
                                                  agreements and post-auction questions and
                                                  issues (4.4).
01/23/19 Daniel Rudewicz                     0.50 Telephone conference with C. Harlan re draft
                                                  reply (.1); research re section 363(f)(3) (.2);
                                                  correspond with K. Elder, M. Arenson re wire
                                                  information (.2).




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Date     Name                              Hours Description
01/23/19 Steven N. Serajeddini               9.60 Correspond and conferences with K&E team
                                                  re pharmacy, other assets sale (3.2);
                                                  participate in and prepare for auction re same
                                                  (3.1); review and analyze issues re same (1.4);
                                                  review and revise purchase agreements, other
                                                  documents re same (1.9).
01/23/19 Amanda Solis                        5.00 Prepare for, attend, and assist K&E team at
                                                  auction.
01/23/19 Jordan Turban                       1.00 Attend pharmacy auction.
01/23/19 Dan Varn                            4.50 Attend prescription drug auction and provide
                                                  support for attorneys.
01/23/19 Dennis Williams                     1.30 Review and analyze APA issues at auction
                                                  (1.0); correspond with Walgreens re same
                                                  (.3).
01/24/19 Matthew S. Arenson, P.C.            1.70 Telephone conference with K&E team re
                                                  transaction status (.5); draft HyVee purchase
                                                  agreement (.5); draft Walgreens purchase
                                                  agreement (.7).
01/24/19 Travis M. Bayer                     1.60 Telephone conference with McGrath, K&E
                                                  team re sale hearing (.8); correspond with
                                                  K&E team re pleadings re same (.2); review
                                                  and analyze same (.3); review and analyze
                                                  asset purchase agreement issues (.3).
01/24/19 Ryan Besaw                          1.40 Search and distribute precedent re replies in
                                                  support of sale motions (.8); search and
                                                  distribute sale order precedent (.2); search and
                                                  distribute supplemental declaration precedent
                                                  (.3); correspond with K&E team re same (.1).
01/24/19 Kyle P. Elder                       7.70 Revise bidder asset purchase agreements
                                                  (6.9); participate in telephone conference with
                                                  HyVee re asset purchase agreement (.8).
01/24/19 Cole Wesley Harlan                 10.50 Research re 363(f) issues (1.8); research re
                                                  reclamation issues (2.1); draft reply in support
                                                  of sale of pharmacy assets (5.4); review sale
                                                  reply precedent (1.2).
01/24/19 Tiffany T. Mason                    2.30 Confirm pharmacy notification requirements
                                                  with state regulators.
01/24/19 Kevin Scott McClelland              2.30 Review and revise sale reply.
01/24/19 Robert McLellarn                    1.00 Telephone conference with K&E team re
                                                  auction and go-forward strategy (.5);
                                                  telephone conference with K&E team and
                                                  Company re auction update (.5).
01/24/19 Robert McLellarn                    2.50 Draft and revise sale motion reply brief.
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Date     Name                              Hours Description
01/24/19 Jack Murray                        1.30 Review and analyze precedent re sale reply
                                                 (1.0); summarize findings and correspond
                                                 with R. McLellarn re same (.3).
01/24/19 Kimberly Pageau                    4.90 Review and revise sale order and exhibits
                                                 (3.8); review and revise declaration re sale
                                                 order (.6); review and revise post-auction
                                                 notice (.5).
01/24/19 Daniel Rudewicz                    9.40 Correspond with Houlihan re post auction list
                                                 (.1); review and revise same (.4); telephone
                                                 conference with Houlihan, K&E team,
                                                 Company re HyVee asset purchase agreement
                                                 (.2); draft summary of next steps re pharmacy
                                                 sales and related order (.4); correspond with
                                                 S. Serajeddini re same (.1); telephone
                                                 conference with McGrath, K&E team re
                                                 auction issues (.8); telephone conference with
                                                 Houlihan re summary of pharmacy sales (.1);
                                                 draft summary re same (.4); correspond with
                                                 W. Fogelberg re same (.1); review and
                                                 analyze precedent re sale order interests
                                                 language (1.8); correspond with buyers re
                                                 attendance at hearing (.6); correspond with S.
                                                 Golden re plan sponsor auction (.2); review
                                                 and revise Spencer declaration (2.1); review
                                                 and revise sale order (.7); correspond with K.
                                                 Pageau re same (.1); review and revise sale
                                                 reply (1.2); correspond with C. Harlan re
                                                 same (.1).
01/24/19 Steven N. Serajeddini              8.50 Correspond and conferences with K&E team
                                                 re pharmacy, other assets sale (4.2); review
                                                 and analyze issues re same (3.1); review and
                                                 revise agreements, other documents re same
                                                 (1.2).
01/24/19 Dennis Williams                    2.30 Telephone conference with K&E team re
                                                 pharmacy closures and review of closure
                                                 status and follow up on next steps.
01/25/19 Ryan Besaw                         0.60 Search and distribute sale reply precedent.
01/25/19 Kyle P. Elder                      3.80 Revise bidder asset purchase agreements
                                                 (1.4); correspond with S. Buckna re asset
                                                 purchase agreements (.5); participate in
                                                 telephone conferences with HyVee re asset
                                                 purchase agreement (.7); review and revise
                                                 HyVee asset purchase agreement (1.2).



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Date     Name                              Hours Description
01/25/19 Cole Wesley Harlan                 8.60 Research re 363(f) issues (1.4); research re
                                                 reclamation issues (1.4); draft reply in support
                                                 of sale of pharmacy assets (4.3); review sale
                                                 reply precedent (1.5).
01/25/19 Tiffany T. Mason                   2.00 Confirm pharmacy notification and signage
                                                 requirements with state regulators.
01/25/19 Kevin Scott McClelland             0.60 Review and revise sale reply.
01/25/19 Jack Murray                        1.50 Review precedent re state law sale issues
                                                 (1.0); draft sale reply motion re state law
                                                 issues (.5).
01/25/19 Kimberly Pageau                    2.70 Review and revise post-auction notice (.8);
                                                 review and revise declaration in support of
                                                 sale order (1.9).
01/25/19 Daniel Rudewicz                    7.20 Correspond with K. Pageau re sale order
                                                 exhibits (.1); correspond with Houlihan re
                                                 pharmacy sales update (.1); draft summary re
                                                 same (.6); correspond with K&E team re sale
                                                 order (.1); review and revise same (3.4);
                                                 telephone conference with Otterbourg, K.
                                                 Elder, buyers' counsel re same (.7);
                                                 correspond with Houlihan, Company, K&E
                                                 team, McGrath re post-auction notice (.9);
                                                 review and revise same (.7); review and
                                                 revise Spencer declaration (.4); correspond
                                                 with K&E team re same (.2).
01/25/19 Steven N. Serajeddini              7.60 Correspond and conferences with K&E team
                                                 re pharmacy, other assets sale (4.1); review
                                                 and analyze issues re same (1.6); review and
                                                 revise agreements, other documents re same
                                                 (1.9).
01/25/19 Dennis Williams                    1.30 Review and revise APA re further regulatory
                                                 notices to be provided to various regulatory
                                                 agencies.
01/26/19 Ryan Besaw                         0.30 Search and distribute sale hearing talking
                                                 points.
01/26/19 Tiffany T. Mason                   4.00 Draft notification letters for state boards of
                                                 pharmacy and the regional offices of Drug
                                                 Enforcement Administration.
01/26/19 Kimberly Pageau                    3.20 Review and revise exhibits to sale order (1.1);
                                                 review declaration in support of sale order
                                                 (.4); review and revise talking points re sale
                                                 motion (1.5); correspond with K&E team re
                                                 same (.2).

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01/26/19 Daniel Rudewicz                    4.50 Review and revise Spencer declaration (.8);
                                                 correspond with Houlihan, K&E team re same
                                                 (.5); correspond with Company, K&E team re
                                                 documents for pharmacy hearing (.2); review
                                                 and revise sale order (.2); correspond with K.
                                                 Pageau re declaration, exhibits (.5); review
                                                 and analyze redlines of same (.3); correspond
                                                 with Prime Clerk re affidavit of service (.1);
                                                 review and analyze precedent talking points
                                                 (.6); review and revise same (1.2); correspond
                                                 with K. Pageau re same (.1).
01/26/19 Daniel Rudewicz                    1.60 Correspond with T. Bayer, S. Serajeddini re
                                                 McKesson, sale hearing and next steps (.8);
                                                 correspond with local counsel re same (.4);
                                                 correspond with Wiel re same (.1);
                                                 correspond with Walgreens re same (.1);
                                                 correspond with CVS re same (.1);
                                                 correspond with Rite Aid, Pepper re same
                                                 (.1).
01/26/19 Steven N. Serajeddini              7.60 Correspond and conference with K&E team
                                                 re pharmacy, other assets sale (3.1); review
                                                 and analyze issues re same (3.1); review and
                                                 revise agreements, other documents re same
                                                 (1.4).
01/26/19 Dennis Williams                    1.80 Review and analyze APAs and update letters
                                                 to various boards of pharmacy.
01/27/19 Travis M. Bayer                    0.30 Review and revise talking points re sale
                                                 motion (.2); correspond with K&E team re
                                                 same (.1).
01/27/19 Kimberly Pageau                    0.60 Review and revise talking points re sale order
                                                 hearing (.4); correspond with K&E team re
                                                 same (.2).
01/27/19 Daniel Rudewicz                    1.80 Correspond with K&E team re finalized
                                                 agreements (.4); correspond with Company re
                                                 same (.2); review and analyze sale order (.2);
                                                 correspond with Company re same (.2);
                                                 review and revise talking points for pharmacy
                                                 sale (.1); review and analyze documents re
                                                 same (.6); correspond with L. Saal re binder
                                                 of same documents (.1).
01/27/19 Steven N. Serajeddini              1.50 Correspond and conference with K&E team
                                                 re pharmacy, other assets sale (.4); review and
                                                 analyze issues re same (.8); review and revise
                                                 agreements, other documents re same (.3).

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01/28/19 Matthew S. Arenson, P.C.           0.60 Telephone conference with K&E team re
                                                 pharmacy sale status (.4); correspond with
                                                 K&E team and buyer's re revised sale order
                                                 (.2).
01/28/19 Travis M. Bayer                    0.60 Review and analyze proposed order revisions
                                                 (.3); correspond with K&E team re same (.1);
                                                 correspond with K&E team re hearing
                                                 preparations (.2).
01/28/19 Ryan Besaw                         0.90 Search and distribute sale hearing transcript
                                                 precedent (.4); search, distribute store closing
                                                 sale order precedent. (.5).
01/28/19 Kyle P. Elder                      0.50 Participate in telephone conference with K&E
                                                 team re sale process and next steps.
01/28/19 Whitney Fogelberg                  3.50 Review and revise talking points re pharmacy
                                                 sale hearing (2.4); correspond with S.
                                                 Serajeddini re same (1.1).
01/28/19 Katie Kane                         0.90 Circulate precedent sale hearing transcripts.
01/28/19 Tiffany T. Mason                   3.00 Draft notification letters for state boards of
                                                 pharmacy and regional offices of Drug
                                                 Enforcement Administration.
01/28/19 Kimberly Pageau                    0.90 Compile transcripts re precedent sale
                                                 hearings.
01/28/19 Daniel Rudewicz                    1.10 Correspond with buyers re revised sale order
                                                 language (.6); correspond with K&E team re
                                                 same (.5).
01/28/19 Daniel Rudewicz                    3.20 Revise proposed orders and correspond with
                                                 McGrath, HL and K&E team re pharmacy
                                                 sales.
01/28/19 Laura Saal                         0.90 Compile pleadings re pharmacy sale hearing.
01/28/19 Steven N. Serajeddini              2.40 Review and analyze issues re same (1.1);
                                                 review and revise documents re same (1.3).
01/28/19 Dennis Williams                    1.60 Review and revise updated regulatory notices
                                                 to state BOP and DEA on closure (1.0);
                                                 telephone conferences with regulators and
                                                 Company re same (.6).
01/29/19 Matthew S. Arenson, P.C.           0.70 Telephone conference with Company re
                                                 equity and plan sponsors (.4); telephone
                                                 conference with D. Williams re pharmacy
                                                 regulatory notices (.1); draft asset purchase
                                                 agreement form (.2).
01/29/19 Travis M. Bayer                    0.30 Correspond with K&E team re sale process,
                                                 issues re same (.1); review and analyze same
                                                 (.2).
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01/29/19 Kyle P. Elder                      0.20 Correspond with K&E team re remaining
                                                 Company asset purchase agreement.
01/29/19 Daniel Rudewicz                    1.10 Correspond with K&E team re plan sponsor
                                                 bidding procedures (.3); telephone conference
                                                 with Houlihan re same (.1); correspond with
                                                 Otterbourg re revised sale order (.1);
                                                 correspond with CVS, Albertsons re same
                                                 (.2); correspond with Houlihan re deposit
                                                 inquiry (.1); review and analyze documents re
                                                 sponsor bidding (.1); correspond with K&E
                                                 team re same (.2).
01/29/19 Steven N. Serajeddini              3.80 Correspond and conferences with K&E team
                                                 re plan sponsor issues (1.4); review and
                                                 analyze issues re same (1.1); review and
                                                 revise documents re same (1.3).
01/29/19 Dennis Williams                    1.30 Correspond and telephone conferences re
                                                 multiple regulatory inquiries.
01/30/19 Matthew S. Arenson, P.C.           1.20 Telephone conference with K&E team and J.
                                                 Turban re plan asset sales (.5); telephone
                                                 conference with J. Turban re asset purchase
                                                 agreement (.2); draft asset purchase
                                                 agreement (.5).
01/30/19 Travis M. Bayer                    1.10 Telephone conferences with working group re
                                                 sale process (.5); telephone conference with
                                                 K&E team re sale process (.6).
01/30/19 Ryan Besaw                         0.40 Draft non-auction sale notice.
01/30/19 Whitney Fogelberg                  0.40 Telephone conference with K&E corporate
                                                 team re sponsor bidding procedures.
01/30/19 Cole Wesley Harlan                 4.10 Review and analyze non-auction sale notice
                                                 precedent (1.1); draft non-auction sale notice
                                                 (2.5); telephone conference with K&E teams
                                                 re bidding procedures (.5).
01/30/19 Kimberly Pageau                    0.90 Review and revise non-auction notice.
01/30/19 Daniel Rudewicz                    3.60 Telephone conference with K&E team re plan
                                                 sponsor bidding procedures (.5); review and
                                                 analyze issues re same (1.8); review and
                                                 revise equity commitment letter (.6); review
                                                 non-auction procedures (.4); correspond with
                                                 Company re same (.1); telephone conference
                                                 with Houlihan sale process update (.1);
                                                 correspond with Houlihan re same (.1).




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-28
Use, Sale & Disposition of Property

Date     Name                              Hours Description
01/30/19 Steven N. Serajeddini              2.90 Correspond and conference with K&E team
                                                 re plan sponsor issues (1.1); review and
                                                 analyze issues re same (1.2); review and
                                                 revise documents re same (.6).
01/30/19 Jordan Turban                      1.40 Review and analyze 363 asset purchase
                                                 agreement precedent for sale of remaining
                                                 Company assets (1.1); prepare for and
                                                 participate in telephone conference with M.
                                                 Arenson re same (.3).
01/30/19 Jordan Turban                      0.50 Prepare for and participate in telephone
                                                 conference with K&E team re plan sponsor
                                                 bidding procedures.
01/30/19 Dennis Williams                    0.80 Telephone conference with S. Buckna and
                                                 team on closure filing timeline.
01/31/19 Matthew S. Arenson, P.C.           2.50 Telephone conference with K&E team,
                                                 Houlihan and Company re restructuring plan,
                                                 sale process (.8); telephone conference with
                                                 K&E team and Houlihan re sponsor auction
                                                 process (.8); telephone conference with K.
                                                 Elder and J. Turban re for asset purchase
                                                 agreement (.4); correspond re HyVee sublease
                                                 (.4); draft form of asset purchase agreement
                                                 (.1).
01/31/19 Travis M. Bayer                    1.00 Telephone conferences with Houlihan, K&E
                                                 team re sale process (.6); review and analyze
                                                 same (.2); correspond with Company re
                                                 pharmacy sale issues (.1); telephone
                                                 conference with Company re related contracts
                                                 (.1).
01/31/19 Kyle P. Elder                      1.10 Telephone conference with Houlihan and
                                                 K&E team re sponsor auction process (.7);
                                                 telephone conference with M. Arenson and J.
                                                 Turban re asset purchase agreement (.4).
01/31/19 Julia R. Foster                    0.80 Research precedent re bidding procedures.
01/31/19 Jeremy S. Liss, P.C.               0.80 Review and analyze sponsor auction
                                                 transaction issues (.4); telephone conference
                                                 with M. Arenson re same (.4).
01/31/19 Robert McLellarn                   1.30 Telephone conference with K&E team re sale
                                                 strategy (.5); telephone conference with K&E
                                                 team, BRG, Company, and Houlihan re sale
                                                 strategy (.8).
01/31/19 Kimberly Pageau                    2.10 Review and revise bidding procedures.



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Use, Sale & Disposition of Property

Date     Name                              Hours Description
01/31/19 Daniel Rudewicz                    5.50 Telephone conference with Houlihan, M.
                                                 Arenson, S. Serajeddini re plan sponsor
                                                 bidding procedures (1.1); review and revise
                                                 bidding procedures re updates (2.4);
                                                 correspond with K. Pageau re same (.2);
                                                 review and revise equity commitment letter
                                                 (1.7); correspond with K&E team re same
                                                 (.1).
01/31/19 Steven N. Serajeddini              2.70 Correspond and conference with K&E team
                                                 re plan sponsor issues (1.1); review and
                                                 analyze issues re same (1.0); review and
                                                 revise documents re same (.6).
01/31/19 Jordan Turban                      0.40 Prepare for and participate in telephone
                                                 conference with M. Arenson and K. Elder re
                                                 plan sponsor bidding procedures (.2); draft
                                                 auction asset purchase agreement (.2).
01/31/19 Jordan Turban                      0.50 Prepare for and participate in telephone
                                                 conference with K&E team re all groups
                                                 status call.
01/31/19 Jordan Turban                      1.80 Draft auction asset purchase agreement.
01/31/19 Jordan Turban                      0.50 Prepare for and participate in telephone
                                                 conference with K&E team, Houlihan re plan
                                                 sponsor bidding procedures.
01/31/19 Dennis Williams                    1.40 Prepare for telephone conference with Lewis
                                                 Drugs re Iowa regulations and correspond
                                                 with regulators to date (.8); telephone
                                                 conference with Lewis Drugs re regulatory
                                                 questions and notices to patients (.4);
                                                 telephone conference with K&E team and
                                                 Company team re same (.2).

Total                                      499.80




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                                                                  300 North LaSalle
                                                                  Chicago, IL 60654

                                                                   FEIN XX-XXXXXXX




February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025799
                                                                                         Client Matter: 26313-29

In the Matter of Utilities




For legal services rendered through January 31, 2019
(see attached Description of Legal Services for detail)                                                                         $ 2,495.50
Total legal services rendered                                                                                                   $ 2,495.50




  Beijing   Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-29
Utilities




                                      Summary of Hours Billed

Name                                                      Hours      Rate           Amount
Robert McLellarn                                           3.10    805.00           2,495.50

TOTALS                                                      3.10                  $ 2,495.50




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-29
Utilities



                                    Description of Legal Services

Date     Name                              Hours Description
01/23/19 Robert McLellarn                   0.60 Correspond with BRG re utility provider
                                                 deposit (.3); telephone conference with BRG
                                                 re same (.3).
01/24/19 Robert McLellarn                   0.50 Telephone conference re amendment to utility
                                                 agent agreement with Company and utility
                                                 agent counsel.
01/29/19 Robert McLellarn                   1.00 Telephone conference with BRG re electricity
                                                 provider.
01/31/19 Robert McLellarn                   1.00 Correspond with BRG and K&E team re
                                                 electricity provider (.5); prepare for and
                                                 attend telephone conference with Company
                                                 and BRG re electricity provider (.5).

Total                                        3.10




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                                                                  Chicago, IL 60654

                                                                   FEIN XX-XXXXXXX




February 28, 2019

Specialty Retail Shops Holding Corp.
700 Pilgrim Way
Green Bay, WI 54304

Attn: Peter G. Vandenhouten

                                                                                       Invoice Number: 1010025798
                                                                                         Client Matter: 26313-30

In the Matter of Expenses


For expenses incurred through January 31, 2019
(see attached Description of Expenses for detail)                                                                              $ 11,637.89
Total expenses incurred                                                                                                        $ 11,637.89




  Beijing   Boston   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   New York   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-30
Expenses




                                      Description of Expenses

Third Party Telephone Charges

Date         Description                                                            Amount
01/31/19     WEST UNIFIED COMMUNICATIONS SERVICES INC -                               16.07
             Teleconference Services
             Total                                                                     16.07




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Specialty Retail Shops Holding Corp.                                  Matter Number:   26313-30
Expenses


Standard Copies or Prints

Date         Description                                                            Amount
01/16/19     Standard Copies or Prints                                                 0.32
01/17/19     Standard Copies or Prints                                                 0.16
01/17/19     Standard Copies or Prints                                                45.44
01/17/19     Standard Copies or Prints                                                 0.16
01/17/19     Standard Copies or Prints                                                 0.16
01/18/19     Standard Copies or Prints                                                 0.80
01/18/19     Standard Copies or Prints                                                 1.60
01/18/19     Standard Copies or Prints                                                 6.40
01/18/19     Standard Copies or Prints                                                 0.16
01/18/19     Standard Copies or Prints                                               230.56
01/18/19     Standard Copies or Prints                                                 1.76
01/18/19     Standard Copies or Prints                                               190.08
01/18/19     Standard Copies or Prints                                                 1.60
01/18/19     Standard Copies or Prints                                                 0.48
01/19/19     Standard Copies or Prints                                                 1.60
01/19/19     Standard Copies or Prints                                                 9.76
01/21/19     Standard Copies or Prints                                                 6.24
01/21/19     Standard Copies or Prints                                                13.92
01/22/19     Standard Copies or Prints                                                 1.12
01/22/19     Standard Copies or Prints                                                 8.96
01/22/19     Standard Copies or Prints                                                 2.24
01/22/19     Standard Copies or Prints                                                 1.28
01/22/19     Standard Copies or Prints                                                 1.12
01/22/19     Standard Copies or Prints                                                 2.24
01/22/19     Standard Copies or Prints                                                 0.64
01/22/19     Standard Copies or Prints                                                 0.32
01/22/19     Standard Copies or Prints                                                 8.32
01/22/19     Standard Copies or Prints                                                 0.32
01/22/19     Standard Copies or Prints                                                14.88
01/22/19     Standard Copies or Prints                                                 1.28
01/22/19     Standard Copies or Prints                                                 4.00
01/22/19     Standard Copies or Prints                                                 3.20
01/22/19     Standard Copies or Prints                                                 6.08
01/22/19     Standard Copies or Prints                                                 9.12
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01/22/19     Standard Copies or Prints                                                  1.60
01/22/19     Standard Copies or Prints                                                 12.48
01/23/19     Standard Copies or Prints                                                 44.32
01/23/19     Standard Copies or Prints                                                 55.52
01/23/19     Standard Copies or Prints                                                  8.00
01/23/19     Standard Copies or Prints                                                 11.36
01/23/19     Standard Copies or Prints                                                 25.92
01/23/19     Standard Copies or Prints                                                  0.16
01/23/19     Standard Copies or Prints                                                 20.48
01/23/19     Standard Copies or Prints                                                 12.96
01/23/19     Standard Copies or Prints                                                  2.24
01/23/19     Standard Copies or Prints                                                  8.64
01/23/19     Standard Copies or Prints                                                  1.92
01/23/19     Standard Copies or Prints                                                 50.24
01/23/19     Standard Copies or Prints                                                  1.12
01/23/19     Standard Copies or Prints                                                 14.72
01/24/19     Standard Copies or Prints                                                  4.32
01/24/19     Standard Copies or Prints                                                  8.00
01/24/19     Standard Copies or Prints                                                 92.64
01/24/19     Standard Copies or Prints                                                  1.12
01/24/19     Standard Copies or Prints                                                  0.16
01/24/19     Standard Copies or Prints                                                  0.80
01/24/19     Standard Copies or Prints                                                  2.56
01/24/19     Standard Copies or Prints                                                  1.12
01/24/19     Standard Copies or Prints                                                 10.40
01/24/19     Standard Copies or Prints                                                  2.24
01/24/19     Standard Copies or Prints                                                  0.96
01/24/19     Standard Copies or Prints                                                  1.28
01/25/19     Standard Copies or Prints                                                  1.12
01/25/19     Standard Copies or Prints                                                  8.64
01/25/19     Standard Copies or Prints                                                  1.12
01/25/19     Standard Copies or Prints                                                  0.48
01/25/19     Standard Copies or Prints                                                  0.48
01/25/19     Standard Copies or Prints                                                  0.96
01/28/19     Standard Copies or Prints                                                  1.28
01/29/19     Standard Copies or Prints                                                  0.48
01/29/19     Standard Copies or Prints                                                  0.64

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01/29/19     Standard Copies or Prints                                                  4.16
01/29/19     Standard Copies or Prints                                                  1.60
01/30/19     Standard Copies or Prints                                                  4.00
01/30/19     Standard Copies or Prints                                                  1.92
01/30/19     Standard Copies or Prints                                                 32.80
01/30/19     Standard Copies or Prints                                                  0.32
01/31/19     Standard Copies or Prints                                                  0.48
             Total                                                                  1,034.08




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Binding

Date         Description                                                            Amount
01/18/19     Binding                                                                  2.10
01/23/19     Binding                                                                  0.70
             Total                                                                    2.80




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Tabs/Indexes/Dividers

Date         Description                                                            Amount
01/18/19     Tabs/Indexes/Dividers                                                    5.59
             Total                                                                    5.59




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Color Copies or Prints

Date         Description                                                            Amount
01/17/19     Color Copies or Prints                                                   10.45
01/17/19     Color Copies or Prints                                                    2.75
01/18/19     Color Copies or Prints                                                   11.55
01/18/19     Color Copies or Prints                                                  207.90
01/18/19     Color Copies or Prints                                                   13.20
01/18/19     Color Copies or Prints                                                   47.85
01/18/19     Color Copies or Prints                                                    0.55
01/18/19     Color Copies or Prints                                                    0.55
01/18/19     Color Copies or Prints                                                    9.35
01/22/19     Color Copies or Prints                                                    2.20
01/22/19     Color Copies or Prints                                                   41.25
01/22/19     Color Copies or Prints                                                   44.55
01/22/19     Color Copies or Prints                                                    7.70
01/22/19     Color Copies or Prints                                                   72.60
01/22/19     Color Copies or Prints                                                    4.40
01/22/19     Color Copies or Prints                                                   13.75
01/22/19     Color Copies or Prints                                                    6.60
01/22/19     Color Copies or Prints                                                   27.50
01/23/19     Color Copies or Prints                                                   65.45
01/23/19     Color Copies or Prints                                                   18.15
01/23/19     Color Copies or Prints                                                  244.75
01/23/19     Color Copies or Prints                                                   78.10
01/23/19     Color Copies or Prints                                                   20.35
01/23/19     Color Copies or Prints                                                   14.30
01/23/19     Color Copies or Prints                                                    6.60
01/23/19     Color Copies or Prints                                                   23.10
01/24/19     Color Copies or Prints                                                    2.20
01/24/19     Color Copies or Prints                                                   28.05
01/24/19     Color Copies or Prints                                                   16.50
01/24/19     Color Copies or Prints                                                    0.55
01/25/19     Color Copies or Prints                                                    1.10
01/25/19     Color Copies or Prints                                                   10.45
01/25/19     Color Copies or Prints                                                    6.60
01/28/19     Color Copies or Prints                                                    2.20
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01/29/19     Color Copies or Prints                                                     0.55
01/30/19     Color Copies or Prints                                                     5.50
             Total                                                                  1,069.20




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Scanned Images

Date         Description                                                            Amount
01/22/19     Scanned Images                                                           0.80
01/23/19     Scanned Images                                                           0.48
01/24/19     Scanned Images                                                           2.24
01/24/19     Scanned Images                                                           0.48
01/24/19     Scanned Images                                                           0.32
01/28/19     Scanned Images                                                           3.52
01/30/19     Scanned Images                                                           0.80
             Total                                                                    8.64




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Closing/Mini Books

Date         Description                                                            Amount
01/18/19     Closing/Mini Books                                                      216.00
             Total                                                                   216.00




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Local Transportation

Date         Description                                                            Amount
01/16/19     Jamie Rose Netznik - Jamie Netznik, Taxi, Chapter 11 filing              6.05
             01/16/2019
01/16/19     Jamie Rose Netznik - Jamie Netznik, Taxi, Chapter 11 filing               10.95
             01/16/2019
01/16/19     Davion Chism - Davion Chism, Taxi, Chapter 11 filing.                     11.05
             01/16/2019
01/16/19     Jamie Rose Netznik - Jamie Netznik, Taxi, Chapter 11 filing                6.05
             01/16/2019
01/16/19     Davion Chism - Davion Chism, Taxi, Chapter 11 filing.                      8.51
             01/16/2019
01/16/19     Shanan Terale Essick - Shanan Essick, Taxi, Chapter 11 filing.             8.61
             01/16/2019
             Total                                                                     51.22




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Travel Expense

Date         Description                                                            Amount
01/16/19     Shanan Terale Essick - Shanan Essick, Lodging, Omaha, NE                352.14
             01/07/2019 to 01/16/2019, Chapter 11 filing
01/16/19     Jamie Rose Netznik - Jamie Netznik, Lodging, Omaha, NE                   427.76
             01/14/2019 to 01/16/2019, Chapter 11 filing
01/16/19     Madeleine C. Parish - Madeleine Parish, Lodging, Omaha, NE               218.96
             01/14/2019 to 01/16/2019, Chapter 11 filing
01/16/19     Ryan Besaw - Ryan Besaw, Lodging, Omaha, NE 01/14/2019 to                257.60
             01/16/2019, Chapter 11 filing
01/16/19     Uzo Dike - Uzo Dike, Lodging, Omaha, NE 01/15/2019 to                    277.80
             01/16/2019, Chapter 11 filing
             Total                                                                  1,534.26




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Airfare

Date         Description                                                            Amount
01/16/19     Robert McLellarn - Robert McLellarn, Agency Fee, Chapter 11              58.00
             filing, 01/16/2019
01/16/19     Robert McLellarn - Robert McLellarn, Airfare, Chicago, IL              (254.41)
             01/16/2019 to 01/16/2019, Chapter 11 filing
01/16/19     Ryan Besaw - Ryan Besaw, Airfare, Chicago, IL 01/14/2019 to            (254.41)
             01/16/2019, Chapter 11 filing
01/16/19     Robert McLellarn - Robert McLellarn, Airfare, Chicago, IL                251.66
             01/16/2019 to 01/16/2019, Chapter 11 filing
01/16/19     Ryan Besaw - Ryan Besaw, Airfare, Chicago, IL 01/14/2019 to              251.66
             01/16/2019, Chapter 11 filing
01/16/19     Madeleine C. Parish - Madeleine Parish, Baggage Fee, Chapter 11           30.00
             filing, 01/16/2019
01/16/19     Ryan Besaw - Ryan Besaw, Agency Fee, Chapter 11 filing,                   58.00
             01/16/2019
01/16/19     Shanan Terale Essick - Shanan Essick, Taxi, Chapter 11 filing              7.25
             01/16/2019
01/24/19     Amanda Mitchell - Amanda Mitchell, Agency Fee, Agency fee,                35.00
             01/24/2019
             Total                                                                    182.75




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Transportation to/from airport

Date         Description                                                            Amount
01/16/19     Jamie Rose Netznik - Jamie Netznik, Transportation To/From               73.51
             Airport, Chapter 11 filing 01/16/2019
01/16/19     Uzo Dike - Uzo Dike, Transportation To/From Airport, Assist               23.90
             attorneys in preparing for First Day hearing on January 16, 2019
             01/16/2019
01/16/19     Robert McLellarn - Robert McLellarn, Transportation To/From               50.00
             Airport, Attend hearings. 01/16/2019
01/16/19     Robert McLellarn - Robert McLellarn, Transportation To/From               11.48
             Airport, Attend hearings. 01/16/2019
01/16/19     Madeleine C. Parish - Madeleine Parish, Transportation To/From             9.02
             Airport, Attend First Day Hearing, Filing and preparation.
             01/16/2019
01/16/19     Stephen C. Hackney, P.C. - Stephen Hackney, Transportation                13.29
             To/From Airport, Court filings. 01/16/2019
01/16/19     Madeleine C. Parish - Madeleine Parish, Transportation To/From            58.26
             Airport, Attend First Day Hearing, Filing and preparation.
             01/16/2019
01/16/19     Shanan Terale Essick - Shanan Essick, Transportation To/From              45.93
             Airport, Restructuring 01/16/2019
01/18/19     BOSTON COACH CORPORATION - ROBERT BERNARDO                               130.04
             MCLELLARN pick up at Eppley Airfield Omaha NE and drop off
             at OMAHA 222 NORTH 10TH STREET OMAHA NE
01/18/19     BOSTON COACH CORPORATION - Stephen C Hackney pick                        130.04
             up at Eppley Airfield Omaha NE and drop off at OMAHA 1601
             DODGE ST OMAHA NE
01/18/19     BOSTON COACH CORPORATION - JAMIE ROSE NETZNIK                            130.04
             pick up at Eppley Airfield Omaha NE and drop off at OMAHA
             1001 CASS STREET OMAHA NE
01/18/19     BOSTON COACH CORPORATION - LAURA LYNN ROQUE                              130.04
             pick up at Eppley Airfield Omaha NE and drop off at OMAHA
             1615 HOWARD STREET OMAHA NE
01/18/19     BOSTON COACH CORPORATION - DANIEL JOHN VARN                              508.50
             pick up at Eppley Airfield Omaha NE and drop off at OMAHA
             222 NORTH 10TH STREET OMAHA NE
01/18/19     BOSTON COACH CORPORATION - KEVIN SCOTT                                   130.04
             MCCLELLAND pick up at Eppley Airfield Omaha NE and drop
             off at OMAHA 1616 Dodge St OMAHA NE




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01/18/19     BOSTON COACH CORPORATION - Shanan Essick pick up at                      130.04
             Eppley Airfield Omaha NE and drop off at OMAHA 1615 Howard
             St OMAHA NE
             Total                                                                  1,574.13




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Travel Meals

Date           Description                                                          Amount
01/16/19       Jamie Rose Netznik - Jamie Netznik, Travel Meals, Omaha, NE            6.78
               Chapter 11 filing Jamie Netznik 01/16/2019
01/16/19       Jamie Rose Netznik - Jamie Netznik, Travel Meals, Omaha, NE             18.94
               Chapter 11 filing Jamie Netznik 01/16/2019
01/16/19       Jamie Rose Netznik - Jamie Netznik, Travel Meals, Omaha, NE              7.25
               Chapter 11 filing Jamie Netznik 01/16/2019
01/16/19       Davion Chism - Davion Chism, Travel Meals, Omaha, NE Chapter            32.00
               11 filing. Davion Chism 01/16/2019
01/16/19       Davion Chism - Davion Chism, Travel Meals, Omaha, NE Chapter          (20.00)
               11 filing. Davion Chism 01/16/2019
01/16/19       Davion Chism - Davion Chism, Travel Meals, Omaha, NE Chapter             4.00
               11 filing. Davion Chism 01/16/2019
01/16/19       Ryan Besaw - Ryan Besaw, Travel Meals, Omaha, NE                         9.77
               Restructuring Ryan Besaw 01/16/2019
01/16/19       Jenna Marie Stupar - Jenna Stupar, Travel Meals, Omaha, NE              43.26
               Attend hearing and witness preparation Jenna Stupar 01/16/2019
01/16/19       Jenna Marie Stupar - Jenna Stupar, Travel Meals, Omaha, NE              30.00
               Attend hearing and witness preparation Jenna Stupar 01/16/2019
01/16/19       Davion Chism - Davion Chism, Travel Meals, Omaha, NE Chapter            70.09
               11 filing. Davion Chism, Shanan Essick, Kimberly Pageau, Travis
               Bayer, Jack Murray, Dan Varn, Laura Saal, Kevin McClelland
               01/16/2019
01/16/19       Davion Chism - Davion Chism, Travel Meals, Omaha, NE Chapter             8.00
               11 filing. Davion Chism 01/16/2019
01/16/19       Davion Chism - Davion Chism, Travel Meals, Omaha, NE Chapter             3.38
               11 filing. Davion Chism 01/16/2019
01/16/19       Jack Murray - Jack Murray, Travel Meals, Omaha, NE Specialty            21.61
               Retail Shops Holding Corp - travel meal Jack Murray 01/16/2019
01/16/19       Laura Saal - Laura Saal, Travel Meals, Omaha, NE Business travel        38.05
               for client filing in Omaha, NE - 01/16/2019
01/16/19       Stephen C. Hackney, P.C. - Stephen Hackney, Travel Meals,               10.40
               Omaha, NE Court filing. Stephen Hackney 01/16/2019
01/16/19       Madeleine C. Parish - Madeleine Parish, Travel Meals, Omaha, NE          7.02
               Attend First Day Hearing, Filing and preparation. Madeleine
               Parish 01/16/2019
01/16/19       Madeleine C. Parish - Madeleine Parish, Travel Meals, Omaha, NE          8.98
               Attend First Day Hearing, Filing and preparation. Madeleine
               Parish 01/16/2019

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01/16/19     Ryan Besaw - Ryan Besaw, Travel Meals, Omaha, NE                          10.69
             Restructuring Ryan Besaw 01/16/2019
01/16/19     Uzo Dike - Uzo Dike, Travel Meals, Omaha, NE Assist attorneys              5.58
             in preparing for First Day hearing on January 16, 2019 Uzo Dike
             01/16/2019
01/16/19     Uzo Dike - Uzo Dike, Travel Meals, Omaha, NE Assist attorneys              3.92
             in preparing for First Day hearing on January 16, 2019 Uzo Dike
             01/16/2019
01/16/19     Uzo Dike - Uzo Dike, Travel Meals, Omaha, NE Assist attorneys             30.77
             in preparing for First Day hearing on January 16, 2019 Uzo Dike
             01/16/2019
             Total                                                                    350.49




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Filing Fees

Date          Description                                                           Amount
01/16/19      Ryan Besaw - Ryan Besaw, Filing Fees, Shopko filing fees from          100.00
              January 16. 01/16/2019
01/16/19      Ryan Besaw - Ryan Besaw, Filing Fees, Shopko filing fees from           100.00
              January 16. 01/16/2019
01/16/19      Ryan Besaw - Ryan Besaw, Filing Fees, Shopko filing fees from           100.00
              January 16. 01/16/2019
01/16/19      Ryan Besaw - Ryan Besaw, Filing Fees, Shopko filing fees from           100.00
              January 16. 01/16/2019
01/16/19      Ryan Besaw - Ryan Besaw, Filing Fees, Shopko filing fees from           100.00
              January 16. 01/16/2019
01/16/19      Ryan Besaw - Ryan Besaw, Filing Fees, Shopko filing fees from           100.00
              January 16. 01/16/2019
01/16/19      Ryan Besaw - Ryan Besaw, Filing Fees, Shopko filing fees from           100.00
              January 16. 01/16/2019
01/16/19      Ryan Besaw - Ryan Besaw, Filing Fees, Shopko filing fees from           100.00
              January 16. 01/16/2019
              Total                                                                   800.00




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Other Court Costs and Fees

Date         Description                                                            Amount
01/25/19     US LEGAL SUPPORT - Video of court hearing                                753.75
01/25/19     US LEGAL SUPPORT - Transcript                                          1,456.25
             Total                                                                  2,210.00




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Outside Retrieval Service

Date         Description                                                            Amount
01/16/19     CT LIEN SOLUTIONS - outside retrieval service                            608.00
01/16/19     CT LIEN SOLUTIONS - outside retrieval service                            608.00
01/17/19     CT LIEN SOLUTIONS - outside retrieval service                          1,216.00
             Total                                                                  2,432.00




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Overtime Transportation

Date         Description                                                            Amount
01/17/19     Jack Murray - Jack Murray, Taxi, Overtime Transportation                 17.16
             01/17/2019
01/19/19     Jack Murray - Jack Murray, Taxi, Overtime Transportation                  21.95
             01/19/2019
01/20/19     Jack Murray - Jack Murray, Taxi, Overtime Transportation                  19.55
             01/20/2019
01/21/19     Robert McLellarn - Robert McLellarn, Taxi, Overtime expense.              11.75
             01/21/2019
01/22/19     Robert McLellarn - Robert McLellarn, Taxi, Overtime expense.              12.25
             01/22/2019
01/23/19     Robert McLellarn - Robert McLellarn, Taxi, Overtime expense.              13.00
             01/23/2019
01/24/19     Robert McLellarn - Robert McLellarn, Taxi, Overtime expense.              15.00
             01/24/2019
             Total                                                                    110.66




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Overtime Meals - Attorney

Date         Description                                                            Amount
01/21/19     Robert McLellarn - Robert McLellarn, Overtime Meals - Attorney,          20.00
             Chicago, IL Overtime expense. Robert McLellarn 01/21/2019
01/23/19     Robert McLellarn - Robert McLellarn, Overtime Meals - Attorney,           20.00
             Chicago, IL Overtime expense. Robert McLellarn 01/23/2019
             Total                                                                     40.00

TOTAL EXPENSES                                                                   $ 11,637.89




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